Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 1 of 178 PageID #: 1788




                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF MISSOURI



     IN RE BLUE BUFFALO COMPANY, LTD.                         Case No. 14-md-02562-RWS
     MARKETING AND SALES PRACTICES
     LITIGATION                                               DECLARATION OF JEANNE C.
                                                              FINEGAN, APR CONCERNING
                                                              IMPLEMENTATION AND
                                                              ADEQUACY OF CLASS
                                                              MEMBER NOTICE PROGRAM
                                                              AND ADMINISTRATIVE
                                                              REPORTING



           DECLARATION OF JEANNE C. FINEGAN, APR, CONCERNING
         IMPLEMENTATION AND ADEQUACY OF CLASS MEMBER NOTICE
               PROGRAM AND ADMINISTRATIVE REPORTING

     I, JEANNE C. FINEGAN, declare as follows:

                                        INTRODUCTION

        1.    I am President and Chief Media Officer of HF Media, LLC, Inc. (“HF”) a
     division of Heffler Claims Group (“HCG” or “Heffler”).

        2.    Pursuant to the Conditional Class Certification and Preliminary Approval Order,
     (“Order”) Dated December 18, 2015, paragraph 6, the Court appointed Heffler Claims
     Group as Settlement Administrator. Heffler’s duties in this action include: (a) sending
     notice of the Litigation to the appropriate State official of each State in which a Class
     Member resides and the appropriate Federal official, as required by the Class Action
     Fairness Act of 2005, 28 U.S.C. §1715(b) (“CAFA”); (b) establishing a post office box
     for receipt of mail and claim forms; (c) receiving and analyzing the Class List; (d)
     establishing a Settlement website; (e) establishing a toll-free number for the Settlement;
     (f) formatting and sending Notice via email and first class U.S. Mail; (g) receiving and
     processing Claim Forms; (h) receiving and processing requests for exclusion and

                                                            Declaration of Jeanne C. Finegan, APR   1
                             Concerning Implementation and Adequacy of Class Member Notification
                                                                      Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 2 of 178 PageID #: 1789




     objections; and for any other tasks that Counsel mutually agree or the Court orders
     Heffler to perform.

         3.    Additionally, in accordance with the provisions of Paragraph 1.23 of the
     Settlement Agreement, Heffler was to develop and implement a legal notice program
     (“Notice Program”) in this matter.

         4.    This Notice Program was designed to inform class members (“the Class”) of the
     proposed class action Settlement between Plaintiffs and Defendant. Membership in the
     Class is defined by the Preliminary Approval Order as follows:

              All residents of the United States of America who, from May 7, 2008
              through the Preliminary Approval Date, purchased any of the Blue Buffalo
              Products [listed on Ex.1 to the Settlement Agreement]. Specifically
              excluded from the Settlement Class are the following: a) Released
              Persons; b) The Court and its personnel; c) All persons who have timely
              elected to exclude themselves from the Settlement, pursuant to the
              procedures set forth in Paragraph 5.4 of the Settlement Agreement who,
              thereupon, shall no longer be Settlement Class Members, shall not be
              bound by this Settlement Agreement or eligible to make a claim for any
              benefit under the terms of the Settlement Agreement. d) Class Counsel and
              Supporting Counsel.

         5.    I submit this Declaration in order to provide the Court and the parties to the
     Action a report regarding the successful implementation of the Notice Program as it
     relates to the Publication and Internet/Media Notice portion (herein referred to for
     simplicity as “Media Notice”), the overall reach of the Notice Program and claims
     administration, in accordance with the Court’s Order.

         6.     In compliance with this Court’s Order, paragraphs 7 through 11, the Due
     Process Media Notice1 Program commenced on or before the January 15, 2016 Notice
     Date set by the Court, and finally concluded on February 14, 2016.




     1
      “Due Process Notice Program” means the notice program preliminarily approved by this Court,
     which meets all F.R.C.P Rule 23 requirements and is consistent with the Federal Judicial Center
     Guidelines for adequate notice. As further described herein, the Claim Stimulation Notice
     supplements, but is not required for, the notice program to satisfy due process.
                                                              Declaration of Jeanne C. Finegan, APR   2
                               Concerning Implementation and Adequacy of Class Member Notification
                                                                        Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 3 of 178 PageID #: 1790




           7.    While the due process notice program approved by this Court was robust, at the
     direction of the parties, HF Media implemented a supplemental and highly effective
     Claim Stimulation Program.2

           8.     This Claim Stimulation Program was designed to significantly leverage on the
     Due Process Notice and to promote the highest degree of class participation for this case.
     The money that was spent was budgeted dollars. These dollars were part of the overall
     Settlement administration cost.

           9.    The Claim Stimulation Program launched on February 25, 2016 and extended
     the active notification period to April 5, 2016.

           10.   Importantly, this Declaration explains how this Media Notice program was
     greatly enhanced during the program, through HF Media’s contemporary approach to
     notice, which actively monitored class member response and adjusted the online media
     program, on a daily basis, to effectively reach and engage class members to maximize
     class participation. Further, during the Claim Stimulation Program, HF Media employed
     best-in-class creative design techniques, which included among other tactics, specific
     audience targeting of Blue Buffalo pet food purchasers, and employing multiple creative
     banner ads, to grab attention of online browsers and minimize audience wear-out.

           11.   As a result of these highly effective efforts, the Notice Program far exceeded
     our original projections to reach an estimated 80 percent of all Dog or Cat Owners, and
     more specifically, 87 percent of all Blue Buffalo users, who are targeted class members,
     with an average frequency of 4.0 times. Importantly, between the commencement of the
     outreach effort, to the claim filing deadline of April 14, these efforts resulted in over
     526,800 users3 visiting the Settlement website with nearly 20 percent of those visitors
     converting those visits to more than 101,000 claims filed. To place the success of this


     2
         Claims Stimulation Program is a program designed to maximize Class Member participation.
     3
       Google Analytics defines a user as those people who have had at least one session within the
     selected date range (reported above). The user metric can include some overlap of both new and
     returning users.

                                                                Declaration of Jeanne C. Finegan, APR   3
                                 Concerning Implementation and Adequacy of Class Member Notification
                                                                          Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 4 of 178 PageID #: 1791




     Key Performance Indicator (“KPI”) response into context, conversion rates for digital
     display advertising marketing campaigns across various industry segments (retail, travel,
     e-commerce, etc.), on average, report conversion rates of only 3 to 10 percent.4

                                           QUALIFICATIONS

           12.   A comprehensive description of my credentials and experience that qualify me
     to provide expert opinions on the adequacy of class action notice programs was
     previously filed with this Court on December 18, 2015.

           13.   In summary, I have served as an expert directly responsible for the design and
     implementation of hundreds of class action notice programs, including Federal Trade
     Commission Enforcement actions, some of which are the largest and most complex
     programs ever implemented in both the United States and in Canada. My work includes a
     wide range of class actions and regulatory and consumer matters that include product
     liability, construction defect, antitrust, asbestos, medical pharmaceutical, human rights,
     civil rights, telecommunications, media, environmental, securities, banking, insurance
     and bankruptcy.

           14.   Further, I have been at the forefront of modern notice, integrating new media,
     social, and mobile media into court approved legal notice programs such as In re:
     TracFone Unlimited Service Plan Litigation, No. C-13-3440 EMC (N.D.CA), In re:
     Reebok Easytone Litigation, No. 10-CV-11977 (D. MA), and In re: Skechers Toning
     Shoes Products Liability Litigation, No. 3:11-MD-2308-TBR (W.D. KY.).

           15.   As detailed below, courts have repeatedly recognized my work as an expert:

                   a.   For example, in his order granting the Motion for Settlement in In re:
                 Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-2308-TBR
                 (W.D. KY 2012), the Honorable Thomas B. Russell stated:




     4
         See: http://www.marketingsherpa.com/article/chart/average-website-conversion-rates-industry#


                                                                Declaration of Jeanne C. Finegan, APR   4
                                 Concerning Implementation and Adequacy of Class Member Notification
                                                                          Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 5 of 178 PageID #: 1792




                 … The comprehensive nature of the class notice leaves little doubt
                 that, upon receipt, class members will be able to make an informed
                 and intelligent decision about participating in the settlement.


              b. Quinn v. Walgreen Co., 12 Civ 8187- VB (SDNY 2015) (Jt Hearing for
            Final App, March. 5, 2015, transcript page 40-41). During the Hearing on
            Final Approval of Class Action, the Honorable Vincent L. Briccetti praised my
            notice plan, noting:
                 “The    notice    plan   was    the   best    practicable    under    the
                 circumstances.    … [and] the proof is in the pudding.” This
                 settlement has resulted in more than 45,000 claims which is 10,000
                 more than the Pearson case and more than 40,000 more than in
                 a glucosamine case pending in the Southern District of
                 California I've been advised about. So the notice has reached a lot
                 of people and a lot of people have made claims.


              c. Brody v. Merck & Co., Inc., et al., No. 3:12-cv-04774-PGS-DEA (NJ) (Jt.
            Hearing for Prelim. App., Sept. 27, 2012, transcript page 34).            During the
            Hearing on the Joint Application for Preliminary Approval of Class Action, the
            Honorable Peter G. Sheridan praised my work, noting:
                 Ms. Finegan did a great job in testifying as to what the class
                 administrator will do. So, I'm certain that all the class members or
                 as many that can be found, will be given some very adequate
                 notice in which they can perfect their claim.


              d. DeHoyos, et al. v. Allstate Ins. Co., No. 01-CA-1010 (W.D. TX).
            Similarly, in the Amended Final Order and Judgment Approving Class Action
            Settlement, the Honorable Fred Biery stated:
                 [T]he undisputed evidence shows the notice program in this case
                 was developed and implemented by a nationally recognized expert
                                                          Declaration of Jeanne C. Finegan, APR   5
                           Concerning Implementation and Adequacy of Class Member Notification
                                                                    Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 6 of 178 PageID #: 1793




                   in class action notice programs. … This program was vigorous and
                   specifically structured to reach the African-American and Hispanic
                   class members.      Additionally, the program was based on a
                   scientific methodology which is used throughout the advertising
                   industry and which has been routinely embraced routinely [sic] by
                   the Courts.
        16.   Additionally, I have published extensively on various aspects of legal noticing,
     and I have lectured or presented numerous times on various aspects of legal noticing.

        17.   A comprehensive description of my credentials and experience that qualify me
     to provide expert opinions on the adequacy of class action notice programs is attached as
     Exhibit A.

                                 NOTICE PROGRAM SUMMARY

        18.   In compliance with the Court’s Order, the Notice Program in this case included
     the following components:

                   • CAFA Notice to all appropriate state and federal officials;
                   • Direct mail notice by first-class U.S. mail to Class Members where a
                     mailing address was available;
                   • Direct email notice to Class Member where an email address was
                     available;
                   • The Media Notice program which has included:
                          o Publication of a short-form notice (“Summary Settlement
                              Notice”) in a nationally circulated consumer magazine;
                          o Internet banner advertising specifically targeted to reach class
                              members;
                          o Search on Google AdWords;
                          o Mobile and App advertising specifically targeted to reach class
                              members;
                          o A press release through PR Newswire’s USA 1 Newsline;
                   • An informational website (www.petfoodsettlement.com) on which the
                      notices and other important Court documents are posted;
                   • A toll-free information line 1.844.245.3772, where class members can
                      call 24/7 for more information about the Settlement, including but not
                      limited to requesting copies of the claim form.
                                                          Declaration of Jeanne C. Finegan, APR 6
                             Concerning Implementation and Adequacy of Class Member Notification
                                                                    Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 7 of 178 PageID #: 1794




         19.   In order to appropriately reach class members for both the Due Process Notice
     Program and the Claim Stimulation Program, HF Media employed specific online
     audience targeting5 and contextual targeting6 to reach potential class members with a
     focus on purchasers of Natural Pet Food, who are Dog and Cat Owners, and those who
     have specifically expressed an interest in Blue Buffalo. By combining the most
     sophisticated data targeting (offline purchase Data and behavioral Data) while actively
     monitoring the notice program response and actions, we were able to cast an
     appropriately wide net of dog and cat owners who may be past and present purchasers of
     Blue Buffalo Pet Food.

         20.   For the purpose of appropriately selecting media best suited to reach members
     of this class who may be current and former purchasers of Blue Buffalo, we have
     calculated the overall media delivery against the broader media target definition, “Dog
     and Cat Owners” as well as the more specific definition of “Blue Buffalo users.”

         21.   Importantly, this program has used audience measurement tools reasonably
     relied upon in the advertising industry to calculate the combined reach and frequency of
     this effort, including GfK Mediamark Research and Intelligence and comScore.

                                          DIRECT NOTICE

         22.   Pursuant to my last Declaration, I was informed by Counsel that the Class
     consists of approximately 3.5 million households.7 Additionally, I was initially informed
     that Blue Buffalo had loyalty name and address records for approximately 1,800,000

     5
      Audience targeting and contextual targeting are now used by major brands such as AT&T,
     Proctor & Gamble, and Toyota, among many others. Audience targeting means that online
     banners are served based on specific target audience criteria and browsing behaviors.
     6
       Contextual targeting means that banner ads will be served to websites with surrounding content
     that is specific to the audience characteristics of the class such as visiting certain fashion
     shopping websites.
     7
      In addition, I am informed by counsel that the 3.5 million household estimate includes
     households that made only a single purchase of Blue Buffalo products, as well as households that
     were repeat purchasers. As a conservative measure, the calculations are based on the estimated
     number of households.
                                                              Declaration of Jeanne C. Finegan, APR   7
                               Concerning Implementation and Adequacy of Class Member Notification
                                                                        Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 8 of 178 PageID #: 1795




     potential class members. After receiving the data from the Defendant and removing
     duplicate records, the file actually contained 1,971,682 records.

        23.   On or about January 5, 2016, Heffler opened and continues to use the mailing
     address of: In re: Blue Buffalo Company, Ltd. Marketing and Sales Practices Litigation,
     Settlement Administrator, c/o Heffler Claims Group, P.O. Box 58730 Philadelphia, PA
     19102-8730 to receive claim forms, opt-outs, and other communications about the
     Settlement. Putative Class Members were directed to use this address for any claims,
     objections, or opt-outs sent via the mail.

        24.   Pursuant to the terms of the Settlement Agreement section 4, paragraph 4.4
     Heffler sent the Class Notice by email. As directed under the terms of the Settlement
     Agreement, the Email Notice commenced on January 15th, 2016 (27 days after the
     Preliminary Approval Order to Settlement Class Members). A copy of the Email Notice
     is attached as Exhibit B.

        25.   Upon completion of the first round of Email Notice, Heffler identified 519,262
     undeliverable emails.

        26.   On or about February 22, 2016 Heffler performed a search using a national data
     provider for email addresses for any of the Class Members whose email Notice was
     returned as undeliverable. Heffler searched for email addresses for 519,262 Class
     Members. This search returned multiple email addresses for some class members,
     yielding a total of 976,511 new potential email addresses for the 519,262 previously
     identified Class Members whose emails were undeliverable.

        27.   On or about March 21, 2016 Heffler sent out 976,511 e-mail Notices to the new
     addresses that were located for the Class Members. The form and format of the email
     Notice was consistent with initial email Notice. Upon completion of the second round of




                                                                Declaration of Jeanne C. Finegan, APR   8
                                 Concerning Implementation and Adequacy of Class Member Notification
                                                                          Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 9 of 178 PageID #: 1796




     the email Notice, 178,047 were successfully delivered to a total of 134,665
     Class Members.8

         28.   On or about February 29, 2016 for those class members whose Email Notice
     was not deliverable, a Post-Card Notice was mailed by U.S. First Class Mail within 50
     days of the Preliminary Approval Order. A copy of the Post-Card Notice is attached as
     Exhibit C.

         29.   Heffler received back 329 notices from the United States Postal Service that had
     a forwarding request. On or about April 4, 2016, 329 notices with the forwarding
     addresses were mailed out by Heffler. Additionally, during the notice process Heffler
     received 43,613 notices from the United States Postal Service that were returned
     as undeliverable.

         30.   Combining the results of both Email Notice programs and the Post-Card Notice,
     the direct notice program reached an estimated 56 percent of the class.

                                           CAFA NOTICE

         31.   On December 18, 2015, Heffler sent the required CAFA Notice, on behalf of
     the Defendant, to the United States Attorney General and All “Appropriate” Federal and
     State Officials. None of the foregoing CAFA Notices were returned as undeliverable.
     Attached as Exhibit D are true and correct copies of the foregoing CAFA Notices
     Heffler served.

                              DUE PROCESS NOTICE PROGRAM

         32.   Pursuant to this Court’s Order, paragraph 10, a black and white ½-page ad was
     published in People Magazine on February 5, 2016.                People Magazine reports a




     8
       The results from the locator service returned more than one email address for a number of the
     Class Members. Email Notice was sent to all of the email addresses that were acquired from the
     locator service.
                                                              Declaration of Jeanne C. Finegan, APR   9
                               Concerning Implementation and Adequacy of Class Member Notification
                                                                        Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 10 of 178 PageID #:
                                   1797



   circulation of 3,537,318, with over 42,058,000 readers.9 Attached as Exhibit E is a true
   and correct copy of the ad as it appeared in People.

       33.   Pursuant to the Order, online banner ads were served over a 30-day period
   commencing on January 15, 2016 on highly targeted online networks: Conversant,
   Yahoo, and a premium mobile and app network. Additionally, HF Media incorporated
   search terms and words on Google AdWords. Combined, the banner ads were served
   across more than 5,467 websites. The online campaign portion of the Due Process Notice
   Program was completed on February 14, 2016.                In total, more than 78,500,000
   impressions were served for the Due Process Notice.

       34.   Importantly, the Banner ads provided information for visitors to self-identify
   themselves as potential Settlement Class Members, where they may “click” on the banner
   and then link directly to the official website where they may register online, or seek
   additional information including frequently asked questions and important court
   deadlines and documents. Attached as Exhibit F are sample screen shots as the banner
   ads appeared during the Notice Program.

                            CLAIM STIMULATION PROGRAM

       35.   At the direction of the parties, HF Media employed a highly effective
   supplemental Claim Stimulation Program, that includes tools, tactics and technology
   which actively and continuously monitors claims trends and response, adjusting the
   notice program based upon digital traffic trends and real time claim analysis. The Claim
   Stimulation Program consisted of a second round of email notice, one additional online
   network, Xaxis, and the addition of two social media channels; Facebook and Twitter.
   The highly targeted online and social media effort increased the total impression delivery
   to over 126,000,000.




   9
    Readers are defined as those who read a magazine in addition to the subscriber. Readers are
   calculated based on a pass along factor. People Magazine’s pass along factor is 11.89. Source:
   GfK MRI 2015 Doublebase.

                                                           Declaration of Jeanne C. Finegan, APR   10
                            Concerning Implementation and Adequacy of Class Member Notification
                                                                     Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 11 of 178 PageID #:
                                   1798



      36.   As part of this strategy, the appearance of the banner ads were slightly modified
   to refresh the creative appearance and to promote a greater degree of class member
   engagement and claim filing. Attached as Exhibit G is the round two banner ads and
   email notice.

      37.   The success of the Claim Stimulation Program from February 25, 2016 to April
   5, 2016 is clearly evident. The average daily website user traffic increased by more than
   100 percent. Importantly, as a result of the highly targeted online outreach, the daily
   claim filing increased by more than 104 percent.

                                      PRESS RELEASE

      38.   Pursuant to the Order, a press release was issued on January 15, 2016 through
   PR News Wire’s USA 1 network. My staff and I closely monitored various media for
   resulting articles and news mentions and social media shares. As of April 14, 2016 over
   182 news mentions and articles and over 10,000 social media shares across Facebook,
   Twitter, Google Plus, LinkedIn and Pinterest have appeared in the United States
   concerning the Settlement. The extensive mentions include numerous pet enthusiast
   media outlets, among others Dogington Post, iHeartDogs, and mainstream television and
   newspaper websites.     Attached as Exhibit H is the press release and an Executive
   Summary of the results. Also attached as Exhibit I is a media outlet coverage report.

                          OFFICIAL SETTLEMENT WEBSITE

      39.   Pursuant to the Order, Heffler claims launched www.petfoodsettlement.com, on
   January 14, 2016. This website served as an information hub, where interested
   individuals and class members could obtain detailed information about the class action,
   their rights, dates and deadlines and related claim information, Frequently Asked
   Questions, the Settlement Agreement, and other court documents. The website address
   was prominently displayed in the publication notice along with the toll-free number.

      40.   Evidence for the success of this robust notice combined Due Process and Claim
   Stimulation Program is found in the impressive amount of visitor traffic to this website.


                                                          Declaration of Jeanne C. Finegan, APR   11
                           Concerning Implementation and Adequacy of Class Member Notification
                                                                    Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 12 of 178 PageID #:
                                   1799



   As of April 15, 2016, the website has received over 615,500 sessions from over 526,000
   users (people).

                        TOLL-FREE TELEPHONE INFORMATION LINE

         41.    Further, Heffler established and maintains a 24-hour toll-free telephone line,
   844-245-3772, where callers may obtain information about the class action. As of April
   14, 2016, a total of 4,069 calls have been made to the IVR. The IVR is the interactive
   voice response system that provides prerecorded answers to frequently asked questions
   that callers can navigate through using the number pad on a telephone.

                                  CLASS MEMBER RESPONSE

         42.    As of May 9, 2016 a total of 100,892 timely Claim Forms had been received
   from purported Class Members.10 Heffler has reviewed and will continue to review the
   claims for validity as they are processed. As of May 9, 2016 Heffler has received a total
   of 4,281 additional Claim Forms that were submitted after April 14, 2016.11 Upon the
   review of these claims Heffler has asked the parties to accept any valid claim that was
   filed prior to May 9, 2016. Extending the claims period did not materially change the
   amount of the pro rata adjustment to each claim received. In total, as of May 9, 2016,
   105,172 Claim Forms were received.

         43.    Heffler performed an initial review of the top 600 claims for fraud and errors.
   Claims identified as fraudulent or with errors were not included in these figures. The
   valid Option 1 claims had a total valid claimed purchase amount of $7,700,598.26.12 The
   valid       Option    2   claims    had    a    total    valid    claimed     purchase     amount
   of $12,529,199.72.13 The total valid claimed purchase amount for all Claimants is
   $20,228,797.98. The total fund available for payments to the class, assuming the Court


   10
     Of the 100,892 Claim Forms received by May 9, 2016, 93,468 were submitted through the
   website and 7,423 were submitted by mail.
   11
    Of the 4,281 claims that were submitted after April 14, 2016, 2,725 were submitted through the
   website and 1,556 submitted by mail.
   12
        Claim amounts that exceeded the maximum valid amount of $100 were normalized to $100.
   13
        Claim amounts that exceeded the maximum valid amount of $2000 were normalized to $2000.
                                                              Declaration of Jeanne C. Finegan, APR   12
                               Concerning Implementation and Adequacy of Class Member Notification
                                                                        Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 13 of 178 PageID #:
                                   1800



   approves the full amount of attorneys’ fees, is $22,600,000. Thus, a pro rata increase over
   the valid claimed amount of purchases of approximately 11% will be required to exhaust
   all funds available to class members.

      44.   Heffler utilizes a proprietary database of known fraudulent filers, used the list of
   known purchasers, among other techniques to identify fraudulent claims. Additionally,
   we review the proof-of-purchase documentation provided by class members. The claims
   review has largely been completed. There is some ongoing claims review but any claims
   being flagged will not materially change the overall amount that each class member will
   receive in this settlement.

      45.   Heffler has completed the calculations for the distribution. These figures are
   subject to minor changes based upon the number of claims that are ultimately determined
   to be valid. Pursuant to the terms of the Settlement Agreement section 2, paragraph 2.8
   Heffler made Pro Rata Adjustments to the claim amounts. The same pro rata increase was
   applied to Option 1 and Option 2 claims.

      46.   Under the conservative assumptions of the notice prior to any necessary Pro
   Rata Adjustment each class member would have been paid 10 percent of their purchase
   price. This would have yielded a maximum payment of $10.00 for Option 1 Claimants
   and $200 for Option 2 Claimants. Based upon the actual claims experience, all valid
   Claimants will now be paid their full valid/normalized claim amount, plus an
   approximate pro rata increase of 11 percent over their full valid/normalized claimed
   purchase amount.

      47.   Currently Heffler has billed a total of $1,275,918.88. Based upon the amount of
   claims received, the rates provided in the estimate and work required to complete the
   Settlement Administration, the final administration costs would be $1,546,212. Pursuant
   to the Settlement Agreement Heffler will reduce the Settlement Administration bills to
   stay within the maximum of $1,400,000.




                                                            Declaration of Jeanne C. Finegan, APR   13
                             Concerning Implementation and Adequacy of Class Member Notification
                                                                      Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 14 of 178 PageID #:
                                   1801



      48.   As of May 9, 2016, Heffler has received eight (8) requests for exclusion. A
   listing of the eight opt-outs requesting exclusion (redacted for privacy) is attached as
   Exhibit J.

                                        CONCLUSION

      49.   In my opinion, the outreach efforts employed for this Notice Program
   incorporated the highest communication standards, and in my experience, I would rank
   its overall reach as one of the most robust in the last few years. This program reflected a
   particularly appropriate, highly targeted and contemporary way to provide notice to this
   Settlement Class, which was mindful of class member response. As described above,
   class notice occurred though traditional media, online media, mobile media, social media
   and through earned media, with the media campaign alone reaching approximately
   estimated 80 percent of all Dog or Cat Owners, and more specifically, 87 percent of all
   Blue Buffalo users, who are targeted class members, with an average frequency of 4.0
   times. When combined with the other methods of notice, the overall effort, which
   includes over 182 news mentions and over 10,000 social media shares of these news
   mentions, no doubt achieved an even greater reach of the target audience. In my opinion,
   the robust and multifaceted efforts used in this Notice Program are of the highest modern
   communication standards, are reasonably calculated to provide notice, and are consistent
   with best practicable court approved notice programs in similar matters and the Federal
   Judicial Center’s guidelines concerning appropriate reach.

      50.   I declare under the penalty of perjury under the laws of the United States of
   America that the foregoing is true and correct.

        Executed this 12th day of May, 2016 in Tigard, Oregon.




                                          _______________________________________

                                          Jeanne C. Finegan, APR


                                                           Declaration of Jeanne C. Finegan, APR   14
                            Concerning Implementation and Adequacy of Class Member Notification
                                                                     Case No. 14-md-02562-RWS
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 15 of 178 PageID #:
                                   1802




                  Exhibit A
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 16 of 178 PageID #:
                                   1803




                                JEANNE C. FINEGAN, APR
                                                  BIOGRAPHY

                    Jeanne Finegan, APR, is President and Chief Media Officer of HF Media,
                    LLC. (a division of Heffler Claims Group), named by Diversity Journal as one
                    of the “Top 100 Women Worth Watching,” has more than 30 years of
                    communications and advertising experience and is a distinguished legal
                    notice and communications expert. During her tenure, she has planned
                    and implemented hundreds of high profile, complex legal notice
                    communication programs. She is a recognized notice expert in both the
                    United States and in Canada, with extensive international notice
experience spanning more than 140 countries and over 40 languages.

Ms. Finegan has lectured, published and has been cited extensively on various aspects of legal
noticing, product recall and crisis communications. She has served the Consumer Product
Safety Commission (CPSC) as an expert to determine ways in which the Commission can
increase the effectiveness of its product recall campaigns. Further, she has planned and
implemented large-scale government enforcement notice programs for the Federal Trade
Commission (FTC) and the Securities and Exchange Commission (SEC).

Ms. Finegan is accredited in Public Relations (APR) by the Universal Accreditation Board, which
is a program administered by the Public Relations Society of America (PRSA), and has served on
examination panels for APR candidates. Additionally, she has served as a judge for prestigious
PRSA awards.

Ms. Finegan has provided expert testimony before Congress on issues of notice, and expert
testimony in both state and federal courts regarding notification campaigns. She has
conducted numerous media audits of proposed notice programs to assess the adequacy of
those programs under Fed R. Civ. P. 23(c)(2) and similar state class action statutes.

She was an early pioneer of plain language in notice (as noted in a RAND study,1) and continues
to set the standard for modern outreach as the first notice expert to integrate social and mobile
media into court approved legal notice programs.

In the course of her class action experience, courts have recognized the merits of, and admitted
expert testimony based on, her scientific evaluation of the effectiveness of notice plans. She
has designed legal notices for a wide range of class actions and consumer matters that include
product liability, construction defect, antitrust, medical/pharmaceutical, human rights, civil
rights, telecommunication, media, environment, government enforcement actions, securities,
banking, insurance, mass tort, restructuring and product recall.


1 Deborah R. Hensler et al., CLASS ACTION DILEMAS, PURSUING PUBLIC GOALS FOR PRIVATE GAIN. RAND (2000).




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 17 of 178 PageID #:
                                   1804




                            JUDICIAL COMMENTS AND LEGAL NOTICE CASES

       In evaluating the adequacy and effectiveness of Ms. Finegan’s notice campaigns, courts
have repeatedly recognized her excellent work. The following excerpts provide some examples
of such judicial approval.

In re: Skechers Toning Shoes Products Liability Litigation, No. 3:11-MD-2308-TBR (W.D. Ky.
2012). In his Final Order and Judgement granting the Motion for Preliminary Approval of
Settlement, the Honorable Thomas B. Russell stated:

        … The comprehensive nature of the class notice leaves little doubt that, upon receipt,
        class members will be able to make an informed and intelligent decision about
        participating in the settlement.

Brody v. Merck & Co., Inc., et al, No. 3:12-cv-04774-PGS-DEA (N.J.) (Jt Hearing for Prelim App,
Sept. 27, 2012, transcript page 34). During the Hearing on Joint Application for Preliminary
Approval of Class Action, the Honorable Peter G. Sheridan praised Ms. Finegan, noting:

        Ms. Finegan did a great job in testifying as to what the class administrator will do. So,
        I'm certain that all the class members or as many that can be found, will be given
        some very adequate notice in which they can perfect their claim.

Quinn v. Walgreen Co., Wal-Mart Stores Inc., 7:12 CV-8187-VB (NYSD) (Jt Hearing for Final
App, March. 5, 2015, transcript page 40-41). During the Hearing on Final Approval of Class
Action, the Honorable Vincent L. Briccetti gave accolades to Ms. Finegan, noting:

        "The notice plan was the best practicable under the circumstances. … [and] “the proof
        is in the pudding. This settlement has resulted in more than 45,000 claims which is
        10,000 more than the Pearson case and more than 40,000 more than in a glucosamine
        case pending in the Southern District of California I've been advised about. So the
        notice has reached a lot of people and a lot of people have made claims.”

In Re: TracFone Unlimited Service Plan Litigation, No. C-13-3440 EMC (ND Ca). In the Final
Order and Judgment Granting Class Settlement, July 2, 2015, the Honorable Edward M. Chen
noted:
        “…[D]epending on the extent of the overlap between those class members who will
        automatically receive a payment and those who filed claims, the total claims rate is
        estimated to be approximately 25-30%. This is an excellent result...

DeHoyos, et al. v. Allstate Ins. Co., No. SA-01-CA-1010 (W.D.Tx. 2001). In the Amended Final
Order and Judgment Approving Class Action Settlement, the Honorable Fred Biery stated:



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 18 of 178 PageID #:
                                   1805



        [T]he undisputed evidence shows the notice program in this case was developed and
        implemented by a nationally recognized expert in class action notice programs. … This
        program was vigorous and specifically structured to reach the African-American and
        Hispanic class members. Additionally, the program was based on a scientific
        methodology which is used throughout the advertising industry and which has been
        routinely embraced routinely [sic] by the Courts. Specifically, in order to reach the
        identified targets directly and efficiently, the notice program utilized a multi-layered
        approach which included national magazines; magazines specifically appropriate to
        the targeted audiences; and newspapers in both English and Spanish.

In re: Reebok Easytone Litigation, No. 10-CV-11977 (D. MA. 2011). The Honorable F. Dennis
Saylor IV stated in the Final Approval Order:

        The Court finds that the dissemination of the Class Notice, the publication of the
        Summary Settlement Notice, the establishment of a website containing settlement-
        related materials, the establishment of a toll-free telephone number, and all other
        notice methods set forth in the Settlement Agreement and [Ms. Finegan’s] Declaration
        and the notice dissemination methodology implemented pursuant to the Settlement
        Agreement and this Court’s Preliminary Approval Order… constituted the best
        practicable notice to Class Members under the circumstances of the Actions.

Bezdek v. Vibram USA and Vibram FiveFingers LLC, No 12-10513 (D. MA) The Honorable
Douglas P. Woodlock stated in the Final Memorandum and Order:
      …[O]n independent review I find that the notice program was robust, particularly in its
      online presence, and implemented as directed in my Order authorizing notice. …I find
      that notice was given to the Settlement class members by the best means “practicable
      under the circumstances.” Fed.R.Civ.P. 23(c)(2).

Gemelas v. The Dannon Company Inc., No. 08-cv-00236-DAP (N.D. Ohio). In granting final
approval for the settlement, the Honorable Dan A. Polster stated:

        In accordance with the Court's Preliminary Approval Order and the Court-approved
        notice program, [Ms. Finegan] caused the Class Notice to be distributed on a
        nationwide basis in magazines and newspapers (with circulation numbers exceeding
        81 million) specifically chosen to reach Class Members. … The distribution of Class
        Notice constituted the best notice practicable under the circumstances, and fully
        satisfied the requirements of Federal Rule of Civil Procedure 23, the requirements of
        due process, 28 U.S.C. 1715, and any other applicable law.

Pashmova v. New Balance Athletic Shoes, Inc., 1:11-cv-10001-LTS (D. Mass.). The Honorable
Leo T. Sorokin stated in the Final Approval Order:

        The Class Notice, the Summary Settlement Notice, the web site, and all other notices in
        the Settlement Agreement and the Declaration of [Ms Finegan], and the notice


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 19 of 178 PageID #:
                                   1806



        methodology implemented pursuant to the Settlement Agreement: (a) constituted the
        best practicable notice under the circumstances; (b) constituted notice that was
        reasonably calculated to apprise Class Members of the pendency of the Actions, the
        terms of the Settlement and their rights under the settlement … met all applicable
        requirements of law, including, but not limited to, the Federal Rules of Civil Procedure,
        28 U.S.C. § 1715, and the Due Process Clause(s) of the United States Constitution, as
        well as complied with the Federal Judicial Center’s illustrative class action notices.

Hartless v. Clorox Company, No. 06-CV-2705 (CAB) (S.D.Cal.). In the Final Order Approving
Settlement, the Honorable Cathy N. Bencivengo found:

        The Class Notice advised Class members of the terms of the settlement; the Final
        Approval Hearing and their right to appear at such hearing; their rights to remain in or
        opt out of the Class and to object to the settlement; the procedures for exercising such
        rights; and the binding effect of this Judgment, whether favorable or unfavorable, to
        the Class. The distribution of the notice to the Class constituted the best notice
        practicable under the circumstances, and fully satisfied the requirements of Federal
        Rule of Civil Procedure 23, the requirements of due process, 28 U.S.C. §1715, and any
        other applicable law.

McDonough et al v. Toys 'R' Us et al, No. 09:-cv-06151-AB (E.D. Pa.). In the Final Order and
Judgment Approving Settlement, the Honorable Anita Brody stated:

        The Court finds that the Notice provided constituted the best notice practicable under
        the circumstances and constituted valid, due and sufficient notice to all persons
        entitled thereto.

In re: Pre-Filled Propane Tank Marketing & Sales Practices Litigation, No. 4:09-md-02086-GAF
(W.D. Mo.) In granting final approval to the settlement, the Honorable Gary A. Fenner stated:

        The notice program included individual notice to class members who could be
        identified by Ferrellgas, publication notices, and notices affixed to Blue Rhino propane
        tank cylinders sold by Ferrellgas through various retailers. ... The Court finds the notice
        program fully complied with Federal Rule of Civil Procedure 23 and the requirements
        of due process and provided to the Class the best notice practicable under the
        circumstances.

Stern v. AT&T Mobility Wireless, No. 09-cv-1112 CAS-AGR (C.D.Cal. 2009). In the Final Approval
Order, the Honorable Christina A. Snyder stated:

        [T]he Court finds that the Parties have fully and adequately effectuated the Notice
        Plan, as required by the Preliminary Approval Order, and, in fact, have achieved better
        results than anticipated or required by the Preliminary Approval Order.



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 20 of 178 PageID #:
                                   1807



In re: Processed Egg Prods. Antitrust Litig., MDL No. 08-md-02002 (E.D.P.A.). In the Order
Granting Final Approval of Settlement , Judge Gene E.K. Pratter stated:

        The Notice appropriately detailed the nature of the action, the Class claims, the
        definition of the Class and Subclasses, the terms of the proposed settlement
        agreement, and the class members’ right to object or request exclusion from the
        settlement and the timing and manner for doing so.… Accordingly, the Court
        determines that the notice provided to the putative Class Members constitutes
        adequate notice in satisfaction of the demands of Rule 23.

In re Polyurethane Foam Antitrust Litigation, 10- MD-2196 (N.D. OH). In the Order Granting
Final Approval of Voluntary Dismissal and Settlement of Defendant Domfoam and Others, the
Honorable Jack Zouhary stated:

        The notice program included individual notice to members of the Class who could be
        identified through reasonable effort, as well as extensive publication of a summary
        notice. The Notice constituted the most effective and best notice practicable under the
        circumstances of the Settlement Agreements, and constituted due and sufficient notice
        for all other purposes to all persons and entities entitled to receive notice.

Rojas v Career Education Corporation, No. 10-cv-05260 (N.D.E.D. IL) In the Final Approval Order
dated October 25, 2012, the Honorable Virgina M. Kendall stated:

        The Court Approved notice to the Settlement Class as the best notice practicable under
        the circumstance including individual notice via U.S. Mail and by email to the class
        members whose addresses were obtained from each Class Member’s wireless carrier
        or from a commercially reasonable reverse cell phone number look-up service,
        nationwide magazine publication, website publication, targeted on-line advertising,
        and a press release. Notice has been successfully implemented and satisfies the
        requirements of the Federal Rule of Civil Procedure 23 and Due Process.

Golloher v Todd Christopher International, Inc. DBA Vogue International (Organix), No. C
1206002 N.D CA. In the Final Order and Judgment Approving Settlement, the Honorable
Richard Seeborg stated:

        The distribution of the notice to the Class constituted the best notice practicable
        under the circumstances, and fully satisfied the requirements of Federal Rule of Civil
        Procedure 23, the requirements of due process, 28 U.S.C. §1715, and any other
        applicable law.

Stefanyshyn v. Consolidated Industries, No. 79 D 01-9712-CT-59 (Tippecanoe County Sup. Ct.,
Ind.). In the Order Granting Final Approval of Settlement, Judge Randy Williams stated:




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 21 of 178 PageID #:
                                   1808



        The long and short form notices provided a neutral, informative, and clear explanation
        of the Settlement. … The proposed notice program was properly designed,
        recommended, and implemented … and constitutes the “best practicable” notice of
        the proposed Settlement. The form and content of the notice program satisfied all
        applicable legal requirements. … The comprehensive class notice educated Settlement
        Class members about the defects in Consolidated furnaces and warned them that the
        continued use of their furnaces created a risk of fire and/or carbon monoxide. This
        alone provided substantial value.

McGee v. Continental Tire North America, Inc. et al, No. 06-6234-(GEB) (D.N.J.).

        The Class Notice, the Summary Settlement Notice, the web site, the toll-free telephone
        number, and all other notices in the Agreement, and the notice methodology
        implemented pursuant to the Agreement: (a) constituted the best practicable notice
        under the circumstances; (b) constituted notice that was reasonably calculated to
        apprise Class Members of the pendency of the Action, the terms of the settlement and
        their rights under the settlement, including, but not limited to, their right to object to
        or exclude themselves from the proposed settlement and to appear at the Fairness
        Hearing; (c) were reasonable and constituted due, adequate and sufficient notice to all
        persons entitled to receive notification; and (d) met all applicable requirements of law,
        including, but not limited to, the Federal Rules of Civil Procedure, 20 U.S.C. Sec. 1715,
        and the Due Process Clause(s) of the United States Constitution, as well as complied
        with the Federal Judicial Center’s illustrative class action notices,


Varacallo, et al. v. Massachusetts Mutual Life Insurance Company, et al., No. 04-2702 (JLL)
(D.N.J.). The Court stated that:

        [A]ll of the notices are written in simple terminology, are readily understandable by
        Class Members, and comply with the Federal Judicial Center's illustrative class action
        notices. … By working with a nationally syndicated media research firm, [Finegan’s
        firm] was able to define a target audience for the MassMutual Class Members, which
        provided a valid basis for determining the magazine and newspaper preferences of the
        Class Members. (Preliminary Approval Order at p. 9). . . . The Court agrees with Class
        Counsel that this was more than adequate. (Id. at § 5.2).

In re: Nortel Network Corp., Sec. Litig., No. 01-CV-1855 (RMB) Master File No. 05 MD 1659
(LAP) (S.D.N.Y.). Ms. Finegan designed and implemented the extensive United States and
Canadian notice programs in this case. The Canadian program was published in both French
and English, and targeted virtually all investors of stock in Canada. See
www.nortelsecuritieslitigation.com. Of the U.S. notice program, the Honorable Loretta A.
Preska stated:




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 22 of 178 PageID #:
                                   1809



        The form and method of notifying the U.S. Global Class of the pendency of the action
        as a class action and of the terms and conditions of the proposed Settlement …
        constituted the best notice practicable under the circumstances, and constituted due
        and sufficient notice to all persons and entities entitled thereto.

Regarding the B.C. Canadian Notice effort: Jeffrey v. Nortel Networks, [2007] BCSC 69 at para.
50, the Honourable Mr. Justice Groberman said:

        The efforts to give notice to potential class members in this case have been thorough.
        There has been a broad media campaign to publicize the proposed settlement and the
        court processes. There has also been a direct mail campaign directed at probable
        investors. I am advised that over 1.2 million claim packages were mailed to persons
        around the world. In addition, packages have been available through the worldwide
        web site nortelsecuritieslitigation.com on the Internet. Toll-free telephone lines have
        been set up, and it appears that class counsel and the Claims Administrator have
        received innumerable calls from potential class members. In short, all reasonable
        efforts have been made to ensure that potential members of the class have had notice
        of the proposal and a reasonable opportunity was provided for class members to
        register their objections, or seek exclusion from the settlement.

Mayo v. Walmart Stores and Sam’s Club, No. 5:06 CV-93-R (W.D.Ky.). In the Order Granting
Final Approval of Settlement, Judge Thomas B. Russell stated:

        According to defendants’ database, the Notice was estimated to have reached over
        90% of the Settlement Class Members through direct mail.
        The Settlement Administrator … has classified the parties’ database as ‘one of the
        most reliable and comprehensive databases [she] has worked with for the purposes of
        legal notice.’… The Court thus reaffirms its findings and conclusions in the Preliminary
        Approval Order that the form of the Notice and manner of giving notice satisfy the
        requirements of Fed. R. Civ. P. 23 and affords due process to the Settlement Class
        Members.

Fishbein v. All Market Inc., (d/b/a Vita Coco) No. 11-cv-05580 (S.D.N.Y.). In granting final
approval of the settlement, the Honorable J. Paul Oetken stated:

        "The Court finds that the dissemination of Class Notice pursuant to the Notice
        Program…constituted the best practicable notice to Settlement Class Members under
        the circumstances of this Litigation … and was reasonable and constituted due,
        adequate and sufficient notice to all persons entitled to such notice, and fully satisfied
        the requirements of the Federal Rules of Civil Procedure, including Rules 23(c)(2) and
        (e), the United States Constitution (including the Due Process Clause), the Rules of this
        Court, and any other applicable laws."




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 23 of 178 PageID #:
                                   1810



Lucas, et al. v. Kmart Corp., No. 99-cv-01923 (D.Colo.), wherein the Court recognized Jeanne
Finegan as an expert in the design of notice programs, and stated:

        The Court finds that the efforts of the parties and the proposed Claims Administrator
        in this respect go above and beyond the "reasonable efforts" required for identifying
        individual class members under F.R.C.P. 23(c)(2)(B).

In re: Johns-Manville Corp. (Statutory Direct Action Settlement, Common Law Direct Action
and Hawaii Settlement), No 82-11656, 57, 660, 661, 665-73, 75 and 76 (BRL) (Bankr. S.D.N.Y.).
The nearly half-billion dollar settlement incorporated three separate notification programs,
which targeted all persons who had asbestos claims whether asserted or unasserted, against
the Travelers Indemnity Company. In the Findings of Fact and Conclusions of a Clarifying Order
Approving the Settlements, slip op. at 47-48 (Aug. 17, 2004), the Honorable Burton R. Lifland,
Chief Justice, stated:

        As demonstrated by Findings of Fact (citation omitted), the Statutory Direct Action
        Settlement notice program was reasonably calculated under all circumstances to
        apprise the affected individuals of the proceedings and actions taken involving their
        interests, Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950), such
        program did apprise the overwhelming majority of potentially affected claimants and
        far exceeded the minimum notice required. . . . The results simply speak for
        themselves.

Pigford v. Glickman and U.S. Department of Agriculture, No. 97-1978. 98-1693 (PLF) (D.D.C.).
This matter was the largest civil rights case to settle in the United States in over 40 years. The
highly publicized, nationwide paid media program was designed to alert all present and past
African-American farmers of the opportunity to recover monetary damages against the U.S.
Department of Agriculture for alleged loan discrimination. In his Opinion, the Honorable Paul L.
Friedman commended the parties with respect to the notice program, stating;

        The parties also exerted extraordinary efforts to reach class members through a
        massive advertising campaign in general and African American targeted publications
        and television stations. . . . The Court concludes that class members have received
        more than adequate notice and have had sufficient opportunity to be heard on the
        fairness of the proposed Consent Decree.

In re: Louisiana-Pacific Inner-Seal Siding Litig., Nos. 879-JE, and 1453-JE (D.Or.). Under the
terms of the Settlement, three separate notice programs were to be implemented at three-year
intervals over a period of six years. In the first notice campaign, Ms. Finegan implemented the
print advertising and Internet components of the Notice program. In approving the legal notice
communication plan, the Honorable Robert E. Jones stated:




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 24 of 178 PageID #:
                                   1811



        The notice given to the members of the Class fully and accurately informed the Class
        members of all material elements of the settlement…[through] a broad and extensive
        multi-media notice campaign.

Additionally, with regard to the third-year notice program for Louisiana-Pacific, the Honorable
Richard Unis, Special Master, commented that the notice was:

        …well formulated to conform to the definition set by the court as adequate and
        reasonable notice. Indeed, I believe the record should also reflect the Court's
        appreciation to Ms. Finegan for all the work she's done, ensuring that noticing was
        done correctly and professionally, while paying careful attention to overall costs. Her
        understanding of various notice requirements under Fed. R. Civ. P. 23, helped to insure
        that the notice given in this case was consistent with the highest standards of
        compliance with Rule 23(d)(2).

In re: Expedia Hotel Taxes and Fees Litigation, No. 05-2-02060-1 (SEA) (Sup. Ct. of Wash. in and
for King County). In the Order Granting Final Approval of Class Action Settlement, Judge
Monica Benton stated:

        The Notice of the Settlement given to the Class … was the best notice practicable
        under the circumstances. All of these forms of Notice directed Class Members to a
        Settlement Website providing key Settlement documents including instructions on how
        Class Members could exclude themselves from the Class, and how they could object to
        or comment upon the Settlement. The Notice provided due and adequate notice of
        these proceeding and of the matters set forth in the Agreement to all persons entitled
        to such notice, and said notice fully satisfied the requirements of CR 23 and due
        process.

Rene Rosales v. Fortune Ins. Co., No. 99-04588 CA (41) (11th Judicial Dist. Ct. of Miami-Dade
County, Fla.). Ms. Finegan provided expert testimony in this matter. She conducted an audit
on behalf of intervening attorneys for the proposed notification to individuals insured with
personal injury insurance.
Based upon the audit, Ms. Finegan testified that the proposed notice program was inadequate.
The Court agreed and signed an Order Granting Intervenors’ Objections to Class Action
Settlement, stating:

        The Court finds that Ms. Finegan is qualified as an expert on class notice and effective
        media campaigns. The Court finds that her testimony is credible and reliable.

Thomas A. Foster and Linda E. Foster v. ABTco Siding Litigation, No. 95-151-M (Cir. Ct.,
Choctaw County, Ala.). This litigation focused on past and present owners of structures sided
with Abitibi-Price siding. The notice program that Ms. Finegan designed and implemented was
national in scope and received the following praise from the Honorable J. Lee McPhearson:



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 25 of 178 PageID #:
                                   1812



        The Court finds that the Notice Program conducted by the Parties provided individual
        notice to all known Class Members and all Class Members who could be identified
        through reasonable efforts and constitutes the best notice practicable under the
        circumstances of this Action. This finding is based on the overwhelming evidence of
        the adequacy of the notice program. … The media campaign involved broad national
        notice through television and print media, regional and local newspapers, and the
        Internet (see id. ¶¶9-11) The result: over 90 percent of Abitibi and ABTco owners are
        estimated to have been reached by the direct media and direct mail campaign.

Wilson v. Massachusetts Mut. Life Ins. Co., No. D-101-CV 98-02814 (First Judicial Dist. Ct.,
County of Santa Fe, N.M.). This was a nationwide notification program that included all persons
in the United States who owned, or had owned, a life or disability insurance policy with
Massachusetts Mutual Life Insurance Company and had paid additional charges when paying
their premium on an installment basis. The class was estimated to exceed 1.6 million
individuals. www.insuranceclassclaims.com. In granting preliminary approval to the settlement,
the Honorable Art Encinias found:

        [T]he Notice Plan [is] the best practicable notice that is reasonably calculated, under
        the circumstances of the action. …[and] meets or exceeds all applicable requirements
        of the law, including Rule 1-023(C)(2) and (3) and 1-023(E), NMRA 2001, and the
        requirements of federal and/or state constitutional due process and any other
        applicable law.

Sparks v. AT&T Corp., No. 96-LM-983 (Third Judicial Cir., Madison County, Ill.). The litigation
concerned all persons in the United States who leased certain AT&T telephones during the
1980’s. Ms. Finegan designed and implemented a nationwide media program designed to
target all persons who may have leased telephones during this time period, a class that
included a large percentage of the entire population of the United States.
In granting final approval to the settlement, the Court found:

         The Court further finds that the notice of the proposed settlement was sufficient and
        furnished Class Members with the information they needed to evaluate whether to
        participate in or opt out of the proposed settlement. The Court therefore concludes
        that the notice of the proposed settlement met all requirements required by law,
        including all Constitutional requirements.

In re: Georgia-Pacific Toxic Explosion Litig., No. 98 CVC05-3535 (Ct. of Common Pleas, Franklin
County, Ohio). Ms. Finegan designed and implemented a regional notice program that included
network affiliate television, radio and newspaper. The notice was designed to alert adults living
near a Georgia-Pacific plant that they had been exposed to an air-born toxic plume and their
rights under the terms of the class action settlement. In the Order and Judgment finally
approving the settlement, the Honorable Jennifer L. Bunner stated:




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 26 of 178 PageID #:
                                   1813



        [N]otice of the settlement to the Class was the best notice practicable under the
        circumstances, including individual notice to all members who can be identified
        through reasonable effort. The Court finds that such effort exceeded even reasonable
        effort and that the Notice complies with the requirements of Civ. R. 23(C).

In re: American Cyanamid, No. CV-97-0581-BH-M (S.D.Al.). The media program targeted
Farmers who had purchased crop protection chemicals manufactured by American Cyanamid.
In the Final Order and Judgment, the Honorable Charles R. Butler Jr. wrote:

        The Court finds that the form and method of notice used to notify the Temporary
        Settlement Class of the Settlement satisfied the requirements of Fed. R. Civ. P. 23 and
        due process, constituted the best notice practicable under the circumstances, and
        constituted due and sufficient notice to all potential members of the Temporary Class
        Settlement.

In re: First Alert Smoke Alarm Litig., No. CV-98-C-1546-W (UWC) (N.D.Al.). Ms. Finegan
designed and implemented a nationwide legal notice and public information program. The
public information program ran over a two-year period to inform those with smoke alarms of
the performance characteristics between photoelectric and ionization detection. The media
program included network and cable television, magazine and specialty trade publications. In
the Findings and Order Preliminarily Certifying the Class for Settlement Purposes, Preliminarily
Approving Class Settlement, Appointing Class Counsel, Directing Issuance of Notice to the Class,
and Scheduling a Fairness Hearing, the Honorable C.W. Clemon wrote that the notice plan:

        …constitutes due, adequate and sufficient notice to all Class Members; and (v) meets
        or exceeds all applicable requirements of the Federal Rules of Civil Procedure, the
        United States Constitution (including the Due Process Clause), the Alabama State
        Constitution, the Rules of the Court, and any other applicable law.

In re: James Hardie Roofing Litig., No. 00-2-17945-65SEA (Sup. Ct. of Wash., King County). The
nationwide legal notice program included advertising on television, in print and on the Internet.
The program was designed to reach all persons who own any structure with JHBP roofing
products. In the Final Order and Judgment, the Honorable Steven Scott stated:

        The notice program required by the Preliminary Order has been fully carried out… [and
        was] extensive. The notice provided fully and accurately informed the Class Members
        of all material elements of the proposed Settlement and their opportunity to
        participate in or be excluded from it; was the best notice practicable under the
        circumstances; was valid, due and sufficient notice to all Class Members; and complied
        fully with Civ. R. 23, the United States Constitution, due process, and other applicable
        law.

Barden v. Hurd Millwork Co. Inc., et al, No. 2:6-cv-00046 (LA) (E.D.Wis.) ("The Court approves,
as to form and content, the notice plan and finds that such notice is the best practicable under


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 27 of 178 PageID #:
                                   1814



the circumstances under Federal Rule of Civil Procedure 23(c)(2)(B) and constitutes notice in a
reasonable manner under Rule 23(e)(1).")

Altieri v. Reebok, No. 4:10-cv-11977 (FDS) (D.C.Mass.) ("The Court finds that the notices …
constitute the best practicable notice….. The Court further finds that all of the notices are
written in simple terminology, are readily understandable by Class Members, and comply
with the Federal Judicial Center’s illustrative class action notices.")

Marenco v. Visa Inc., No. CV 10-08022 (DMG) (C.D.Cal.) ("[T]he Court finds that the notice
plan…meets the requirements of due process, California law, and other applicable precedent.
The Court finds that the proposed notice program is designed to provide the Class with the
best notice practicable, under the circumstances of this action, of the pendency of this
litigation and of the proposed Settlement’s terms, conditions, and procedures, and shall
constitute due and sufficient notice to all persons entitled thereto under California law, the
United States Constitution, and any other applicable law.")

Palmer v. Sprint Solutions, Inc., No. 09-cv-01211 (JLR) (W.D.Wa.) ("The means of notice were
reasonable and constitute due, adequate, and sufficient notice to all persons entitled to be
provide3d with notice.")

In re: Tyson Foods, Inc., Chicken Raised Without Antibiotics Consumer Litigation, No. 1:08-md-
01982 RDB (D. Md. N. Div.) (“The notice, in form, method, and content, fully complied with the
requirements of Rule 23 and due process, constituted the best notice practicable under the
circumstances, and constituted due and sufficient notice to all persons entitled to notice of
the settlement.”)

Sager v. Inamed Corp. and McGhan Medical Breast Implant Litigation, No. 01043771 (Sup. Ct.
Cal., County of Santa Barbara) (“Notice provided was the best practicable under the
circumstances.”).

Deke, et al. v. Cardservice Internat’l, Case No. BC 271679, slip op. at 3 (Sup. Ct. Cal., County of
Los Angeles) (“The Class Notice satisfied the requirements of California Rules of Court 1856
and 1859 and due process and constituted the best notice practicable under the
circumstances.”).

Levine, et al. v. Dr. Philip C. McGraw, et al., Case No. BC 312830 (Los Angeles County Super.
Ct., Cal.) (“[T]he plan for notice to the Settlement Class … constitutes the best notice
practicable under the circumstances and constituted due and sufficient notice to the members
of the Settlement Class … and satisfies the requirements of California law and federal due
process of law.”).

In re: Canadian Air Cargo Shipping Class Actions, Court File No. 50389CP, Ontario Superior
Court of Justice, Supreme Court of British Columbia, Quebec Superior Court (“I am satisfied the



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 28 of 178 PageID #:
                                   1815



proposed form of notice meets the requirements of s. 17(6) of the CPA and the proposed
method of notice is appropriate.”).

Fischer et al v. IG Investment Management, Ltd. et al, Court File No. 06-CV-307599CP, Ontario
Superior Court of Justice.

In re: Vivendi Universal, S.A. Securities Litigation, No. 02-cv-5571 (RJH)(HBP) (S.D.N.Y.).

In re: Air Cargo Shipping Services Antitrust Litigation, No. 06-MD-1775 (JG) (VV) (E.D.N.Y.).

Berger, et al., v. Property ID Corporation, et al., No. CV 05-5373-GHK (CWx) (C.D.Cal.).

Lozano v. AT&T Mobility Wireless, No. 02-cv-0090 CAS (AJWx) (C.D.Cal.).

Howard A. Engle, M.D., et al., v. R.J. Reynolds Tobacco Co., Philip Morris, Inc., Brown &
Williamson Tobacco Corp., No. 94-08273 CA (22) (11th Judicial Dist. Ct. of Miami-Dade County,
Fla.).

In re: Royal Dutch/Shell Transport Securities Litigation, No. 04 Civ. 374 (JAP) (Consolidated
Cases) (D. N.J.).

In re: Epson Cartridge Cases, Judicial Council Coordination Proceeding, No. 4347 (Sup. Ct. of
Cal., County of Los Angeles).

UAW v. General Motors Corporation, No: 05-73991 (E.D.MI).

Wicon, Inc. v. Cardservice Intern’l, Inc., BC 320215 (Sup. Ct. of Cal., County of Los Angeles).

In re: SmithKline Beecham Clinical Billing Litig., No. CV. No. 97-L-1230 (Third Judicial Cir.,
Madison County, Ill.). Ms. Finegan designed and developed a national media and Internet site
notification program in connection with the settlement of a nationwide class action concerning
billings for clinical laboratory testing services.

MacGregor v. Schering-Plough Corp., No. EC248041 (Sup. Ct. Cal., County of Los Angeles). This
nationwide notification program was designed to reach all persons who had purchased or used
an aerosol inhaler manufactured by Schering-Plough. Because no mailing list was available,
notice was accomplished entirely through the media program.

In re: Swiss Banks Holocaust Victim Asset Litig., No. CV-96-4849 (E.D.N.Y.). Ms. Finegan
managed the design and implementation of the Internet site on this historic case. The site was
developed in 21 native languages. It is a highly secure data gathering tool and information hub,
central to the global outreach program of Holocaust survivors. www.swissbankclaims.com.




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 29 of 178 PageID #:
                                   1816



In re: Exxon Valdez Oil Spill Litig., No. A89-095-CV (HRH) (Consolidated) (D. Alaska). Ms.
Finegan designed and implemented two media campaigns to notify native Alaskan residents,
trade workers, fisherman, and others impacted by the oil spill of the litigation and their rights
under the settlement terms.

In re: Johns-Manville Phenolic Foam Litig., No. CV 96-10069 (D. Mass). The nationwide multi-
media legal notice program was designed to reach all Persons who owned any structure,
including an industrial building, commercial building, school, condominium, apartment house,
home, garage or other type of structure located in the United States or its territories, in which
Johns-Manville PFRI was installed, in whole or in part, on top of a metal roof deck.

Bristow v Fleetwood Enters Litig., No Civ 00-0082-S-EJL (D. Id). Ms. Finegan designed and
implemented a legal notice campaign targeting present and former employees of Fleetwood
Enterprises, Inc., or its subsidiaries who worked as hourly production workers at Fleetwood’s
housing, travel trailer, or motor home manufacturing plants. The comprehensive notice
campaign included print, radio and television advertising.

In re: New Orleans Tank Car Leakage Fire Litig., No 87-16374 (Civil Dist. Ct., Parish of Orleans,
LA) (2000). This case resulted in one of the largest settlements in U.S. history. This campaign
consisted of a media relations and paid advertising program to notify individuals of their rights
under the terms of the settlement.

Garria Spencer v. Shell Oil Co., No. CV 94-074(Dist. Ct., Harris County, Tex.). The nationwide
notification program was designed to reach individuals who owned real property or structures
in the United States which contained polybutylene plumbing with acetyl insert or metal insert
fittings.

In re: Hurd Millwork Heat Mirror™ Litig., No. CV-772488 (Sup. Ct. of Cal., County of Santa
Clara). This nationwide multi-media notice program was designed to reach class members with
failed heat mirror seals on windows and doors, and alert them as to the actions that they
needed to take to receive enhanced warranties or window and door replacement.

Laborers Dist. Counsel of Alabama Health and Welfare Fund v. Clinical Lab. Servs., Inc, No.
CV–97-C-629-W (N.D. Ala.). Ms. Finegan designed and developed a national media and Internet
site notification program in connection with the settlement of a nationwide class action
concerning alleged billing discrepancies for clinical laboratory testing services.

In re: StarLink Corn Prods. Liab. Litig., No. 01-C-1181 (N.D. Ill).. Ms. Finegan designed and
implemented a nationwide notification program designed to alert potential class members of
the terms of the settlement.

In re: MCI Non-Subscriber RatePayers Litig., MDL Docket No. 1275, 3:99-cv-01275 (S.D.Ill.). The
advertising and media notice program, found to be “more than adequate” by the Court, was
designed with the understanding that the litigation affected all persons or entities who were


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 30 of 178 PageID #:
                                   1817



customers of record for telephone lines presubscribed to MCI/World Com, and were charged
the higher non-subscriber rates and surcharges for direct-dialed long distance calls placed on
those lines. www.rateclaims.com.

In re: Albertson’s Back Pay Litig., No. 97-0159-S-BLW (D.Id.). Ms. Finegan designed and
developed a secure Internet site, where claimants could seek case information confidentially.

In re: Georgia Pacific Hardboard Siding Recovering Program, No. CV-95-3330-RG (Cir. Ct.,
Mobile County, Ala.). Ms. Finegan designed and implemented a multi-media legal notice
program, which was designed to reach class members with failed G-P siding and alert them of
the pending matter. Notice was provided through advertisements, which aired on national
cable networks, magazines of nationwide distribution, local newspaper, press releases and
trade magazines.

In re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., Nos. 1203,
99-20593. Ms. Finegan worked as a consultant to the National Diet Drug Settlement
Committee on notification issues. The resulting notice program was described and
complimented at length in the Court’s Memorandum and Pretrial Order 1415, approving the
settlement,

In re: Diet Drugs (Phentermine, Fenfluramine, Dexfenfluramine) Prods. Liab. Litig., 2000 WL
1222042, Nos. 1203, 99-20593 (E.D.Pa. Aug. 28, 2002).

Ms. Finegan designed the Notice programs for multiple state antitrust cases filed against the
Microsoft Corporation. In those cases, it was generally alleged that Microsoft unlawfully used
anticompetitive means to maintain a monopoly in markets for certain software, and that as a
result, it overcharged consumers who licensed its MS-DOS, Windows, Word, Excel and Office
software. The multiple legal notice programs designed by Jeanne Finegan and listed below
targeted both individual users and business users of this software. The scientifically designed
notice programs took into consideration both media usage habits and demographic
characteristics of the targeted class members.

In re: Florida Microsoft Antitrust Litig. Settlement, No. 99-27340 CA 11 (11th Judicial Dist.
Ct. of Miami-Dade County, Fla.).

In re: Montana Microsoft Antitrust Litig. Settlement, No. DCV 2000 219 (First Judicial Dist. Ct.,
Lewis & Clark Co., Mt.).

In re: South Dakota Microsoft Antitrust Litig. Settlement, No. 00-235(Sixth Judicial Cir., County
of Hughes, S.D.).

In re: Kansas Microsoft Antitrust Litig. Settlement, No. 99C17089 Division No. 15 Consolidated
Cases (Dist. Ct., Johnson County, Kan.) (“The Class Notice provided was the best notice



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 31 of 178 PageID #:
                                   1818



practicable under the circumstances and fully complied in all respects with the requirements of
due process and of the Kansas State. Annot. §60-22.3.”).

In re: North Carolina Microsoft Antitrust Litig. Settlement, No. 00-CvS-4073 (Wake) 00-CvS-
1246 (Lincoln) (General Court of Justice Sup. Ct., Wake and Lincoln Counties, N.C.).

In re: ABS II Pipes Litig., No. 3126 (Sup. Ct. of Cal., Contra Costa County). The Court approved
regional notification program designed to alert those individuals who owned structures with
the pipe that they were eligible to recover the cost of replacing the pipe.

In re: Avenue A Inc. Internet Privacy Litig., No: C00-1964C (W.D. Wash.).

In re: Lorazepam and Clorazepate Antitrust Litig., No. 1290 (TFH) (D.C.C.).

In re: Providian Fin. Corp. ERISA Litig., No C-01-5027 (N.D. Cal.).

In re: H & R Block., et al Tax Refund Litig., No. 97195023/CC4111 (MD Cir. Ct., Baltimore City).

In re: American Premier Underwriters, Inc, U.S. Railroad Vest Corp., No. 06C01-9912 (Cir. Ct.,
Boone County, Ind.).

In re: Sprint Corp. Optical Fiber Litig., No: 9907 CV 284 (Dist. Ct., Leavenworth County, Kan).

In re: Shelter Mutual Ins. Co. Litig., No. CJ-2002-263 (Dist.Ct., Canadian County. Ok).

In re: Conseco, Inc. Sec. Litig., No: IP-00-0585-C Y/S CA (S.D. Ind.).

In re: Nat’l Treasury Employees Union, et al., 54 Fed. Cl. 791 (2002).

In re: City of Miami Parking Litig., Nos. 99-21456 CA-10, 99-23765 – CA-10 (11th Judicial Dist.
Ct. of Miami-Dade County, Fla.).

In re: Prime Co. Incorporated D/B/A/ Prime Co. Personal Comm., No. L 1:01CV658 (E.D. Tx.).

Alsea Veneer v. State of Oregon A.A., No. 88C-11289-88C-11300.


                        SEC ENFORCEMENT NOTICE PROGRAM EXPERIENCE

SEC v. Vivendi Universal, S.A., et al., Case No. 02 Civ. 5571 (RJH) (HBP) (S.D.N.Y.).
The Notice program included publication in 11 different countries and eight different
languages.

SEC v. Royal Dutch Petroleum Company, No.04-3359 (S.D. Tex.)


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 32 of 178 PageID #:
                                   1819




                    FEDERAL TRADE COMMISSION NOTICE PROGRAM EXPERIENCE

FTC v. TracFone Wireless, Inc., Case No. 15-cv-00392-EMC.

FTC v. Skechers U.S.A., Inc., No. 1:12-cv-01214-JG (N.D. Ohio).

FTC v. Reebok International Ltd., No. 11-cv-02046 (N.D. Ohio)

FTC v. Chanery and RTC Research and Development LLC [Nutraquest], No :05-cv-03460 (D.N.J.)

                                   BANKRUPTCY EXPERIENCE

      Ms. Finegan has designed and implemented hundreds of domestic and international
bankruptcy notice programs. A sample case list includes the following:

In re AMR Corporation [American Airlines], et al., No. 11-15463 (SHL) (Bankr. S.D.N.Y.) ("due
and proper notice [was] provided, and … no other or further notice need be provided.")

In re Jackson Hewitt Tax Service Inc., et al., No 11-11587 (Bankr. D.Del.) (2011). The debtors
sought to provide notice of their filing as well as the hearing to approve their disclosure
statement and confirm their plan to a large group of current and former customers, many of
whom current and viable addresses promised to be a difficult (if not impossible) and costly
undertaking. The court approved a publication notice program designed and implemented by
Finegan and the administrator, that included more than 350 local newspaper and television
websites, two national online networks (24/7 Real Media, Inc. and Microsoft Media Network), a
website notice linked to a press release and notice on eight major websites, including CNN and
Yahoo. These online efforts supplemented the print publication and direct-mail notice provided
to known claimants and their attorneys, as well as to the state attorneys general of all 50
states. The Jackson Hewitt notice program constituted one of the first large chapter 11 cases to
incorporate online advertising.

In re: Nutraquest Inc., No. 03-44147 (Bankr. D.N.J.)

In re: General Motors Corp. et al, No. 09-50026 (Bankr. S.D.N.Y.). This case is the 4th largest
bankruptcy in U.S. history. Ms. Finegan and her team worked with General Motors
restructuring attorneys to design and implement the legal notice program.

In re: ACandS, Inc., No. 0212687 (Bankr. D.Del.) (2007) (“Adequate notice of the Motion and of
the hearing on the Motion was given.”).

In re: United Airlines, No. 02-B-48191 (Bankr. N.D Ill.). Ms. Finegan worked with United and its
restructuring attorneys to design and implement global legal notice programs. The notice was


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 33 of 178 PageID #:
                                   1820



published in 11 countries and translated into 6 languages. Ms. Finegan worked closely with
legal counsel and UAL’s advertising team to select the appropriate media and to negotiate the
most favorable advertising rates. www.pd-ual.com.

In re: Enron, No. 01-16034 (Bankr. S.D.N.Y.). Ms. Finegan worked with Enron and its
restructuring attorneys to publish various legal notices.

In re: Dow Corning, No. 95-20512 (Bankr. E.D. Mich.). Ms. Finegan originally designed the
information website. This Internet site is a major information hub that has various forms in 15
languages.

In re: Harnischfeger Inds., No. 99-2171 (RJW) Jointly Administered (Bankr. D. Del.). Ms. Finegan
designed and implemented 6 domestic and international notice programs for this case. The
notice was translated into 14 different languages and published in 16 countries.

In re: Keene Corp., No. 93B 46090 (SMB), (Bankr. E.D. MO.). Ms. Finegan designed and
implemented multiple domestic bankruptcy notice programs including notice on the plan of
reorganization directed to all creditors and all Class 4 asbestos-related claimants and counsel.

In re: Lamonts, No. 00-00045 (Bankr. W.D. Wash.). Ms. Finegan designed an implemented
multiple bankruptcy notice programs.

In re: Monet Group Holdings, Nos. 00-1936 (MFW) (Bankr. D. Del.). Ms. Finegan designed and
implemented a bar date notice.

In re: Laclede Steel Co., No. 98-53121-399 (Bankr. E.D. MO.). Ms. Finegan designed and
implemented multiple bankruptcy notice programs.

In re: Columbia Gas Transmission Corp., No. 91-804 (Bankr. S.D.N.Y.). Ms. Finegan developed
multiple nationwide legal notice notification programs for this case.

In re: U.S.H. Corp. of New York, et al. (Bankr. S.D.N.Y). Ms. Finegan designed and implemented
a bar date advertising notification campaign.

In re: Best Prods. Co., Inc., No. 96-35267-T, (Bankr. E.D. Va.). Ms. Finegan implemented a
national legal notice program that included multiple advertising campaigns for notice of sale,
bar date, disclosure and plan confirmation.

In re: Lodgian, Inc., et al., No. 16345 (BRL) Factory Card Outlet – 99-685 (JCA), 99-686 (JCA)
(Bankr. S.D.N.Y).

In re: Internat’l Total Servs, Inc., et al., Nos. 01-21812, 01-21818, 01-21820, 01-21882, 01-
21824, 01-21826, 01-21827 (CD) Under Case No: 01-21812 (Bankr. E.D.N.Y).



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 34 of 178 PageID #:
                                   1821



In re: Decora Inds., Inc. and Decora, Incorp., Nos. 00-4459 and 00-4460 (JJF) (Bankr. D. Del.).

In re: Genesis Health Ventures, Inc., et al, No. 002692 (PJW) (Bankr. D. Del.).

In re: Tel. Warehouse, Inc., et al, No. 00-2105 through 00-2110 (MFW) (Bankr. D. Del.).

In re: United Cos. Fin. Corp., et al, No. 99-450 (MFW) through 99-461 (MFW) (Bankr. D. Del.).

In re: Caldor, Inc. New York, The Caldor Corp., Caldor, Inc. CT, et al., No. 95-B44080 (JLG)
(Bankr. S.D.N.Y).

In re: Physicians Health Corp., et al., No. 00-4482 (MFW) (Bankr. D. Del.).

In re: GC Cos., et al., Nos. 00-3897 through 00-3927 (MFW) (Bankr. D. Del.).

In re: Heilig-Meyers Co., et al., Nos. 00-34533 through 00-34538 (Bankr. E.D. Va.).


                            PRODUCT RECALL AND CRISIS COMMUNICATION EXPERIENCE

Reser’s Fine Foods. Reser’s is a nationally distributed brand and manufacturer of food products
through giants such as Albertsons, Costco, Food Lion, WinnDixie, Ingles, Safeway and Walmart.
Ms. Finegan designed an enterprise-wide crisis communication plan that included
communications objectives, crisis team roles and responsibilities, crisis response procedures,
regulatory protocols, definitions of incidents that require various levels of notice, target
audiences, and threat assessment protocols. Ms. Finegan worked with the company through
two nationwide, high profile recalls, conducting extensive media relations efforts.

Gulf Coast Claims Facility Notice Campaign. Finegan coordinated a massive outreach effort
throughout the Gulf Coast region to notify those who have claims as a result of damages caused
by the Deep Water Horizon Oil spill. The notice campaign includes extensive advertising in
newspapers throughout the region, Internet notice through local newspaper, television and
radio websites and media relations. The Gulf Coast Claims Facility (GCCF) is an independent
claims facility, funded by BP, for the resolution of claims by individuals and businesses for
damages incurred as a result of the oil discharges due to the Deepwater Horizon incident on
April 20, 2010.

City of New Orleans Tax Revisions, Post-Hurricane Katrina. In 2007, the City of New Orleans
revised property tax assessments for property owners. As part of this process, it received
numerous appeals to the assessments. An administration firm served as liaison between the
city and property owners, coordinating the hearing schedule and providing important
information to property owners on the status of their appeal. Central to this effort was the
comprehensive outreach program designed by Ms. Finegan, which included a website and a



Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 35 of 178 PageID #:
                                   1822



heavy schedule of television, radio and newspaper advertising, along with the coordination of
key news interviews about the project picked up by local media.


                                          ARTICLES

Author, Why Class Members Should See An Online Ad More Than Once – Law360.com, New
York (December 3, 2015, 2:52 PM ET).

Author, ‘Being 'Media-Relevant' — What It Means And Why It Matters - Law360.com, New York
(September 11, 2013, 2:50 PM ET).

Co-Author, “New Media Creates New Expectations for Bankruptcy Notice Programs,” ABI
Journal, Vol. XXX, No 9, November 2011.

Quoted Expert, “Effective Class Action Notice Promotes Access to Justice: Insight from a New
U.S. Federal Judicial Center Checklist,” Canadian Supreme Court Law Review, (2011), 53 S.C.L.R.
(2d).

Co-Author, with Hon. Dickran Tevrizian – “Expert Opinion: It’s More Than Just a Report…Why
Qualified Legal Experts Are Needed to Navigate the Changing Media Landscape,” BNA Class
Action Litigation Report, 12 CLASS 464, 5/27/11.

Co-Author, with Hon. Dickran Tevrizian, Your Insight, "Expert Opinion: It's More Than Just a
Report -Why Qualified Legal Experts Are Needed to Navigate the Changing Media Landscape,"
TXLR, Vol. 26, No. 21, 5/26/2011.

Quoted Expert, “Analysis of the FJC’s 2010 Judges’ Class Action Notice and Claims Process
Checklist and Guide: A New Roadmap to Adequate Notice and Beyond,” BNA Class Action
Litigation Report, 12 CLASS 165, 2/25/11.

Author, Five Key Considerations for a Successful International Notice Program, BNA Class Action
Litigation Report, 4/9/10 Vol. 11, No. 7 p. 343.

Quoted Expert, “Communication Technology Trends Pose Novel Notification Issues for Class
Litigators,” BNA Electronic Commerce and Law, 15 ECLR 109 1/27/2010.

Author, “Legal Notice: R U ready 2 adapt?” BNA Class Action Report, Vol. 10 Class 702,
7/24/2009.

Author, “On Demand Media Could Change the Future of Best Practicable Notice,” BNA Class
Action Litigation Report, Vol. 9, No. 7, 4/11/2008, pp. 307-310.




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 36 of 178 PageID #:
                                   1823



Quoted Expert, “Warranty Conference: Globalization of Warranty and Legal Aspects of
Extended Warranty,” Warranty Week, warrantyweek.com/archive/ww20070228.html/
February 28, 2007.

Co-Author, “Approaches to Notice in State Court Class Actions,” For The Defense, Vol. 45, No.
11, November, 2003.

Citation, “Recall Effectiveness Research: A Review and Summary of the Literature on Consumer
Motivation and Behavior,” U.S. Consumer Product Safety Commission, CPSC-F-02-1391, p.10,
Heiden Associates, July 2003.

Author, “The Web Offers Near, Real-Time Cost Efficient Notice,” American Bankruptcy Institute,
ABI Journal, Vol. XXII, No. 5., 2003.

Author, “Determining Adequate Notice in Rule 23 Actions,” For The Defense, Vol. 44, No. 9
September, 2002.

Author, “Legal Notice, What You Need To Know and Why,” Monograph, July 2002.

Co-Author, “The Electronic Nature of Legal Noticing,” The American Bankruptcy Institute
Journal, Vol. XXI, No. 3, April 2002.

Author, “Three Important Mantras for CEO’s and Risk Managers,” - International Risk
Management Institute, irmi.com, January 2002.

Co-Author, “Used the Bat Signal Lately,” The National Law Journal, Special Litigation Section,
February 19, 2001.

Author, “How Much is Enough Notice,” Dispute Resolution Alert, Vol. 1, No. 6. March 2001.

Author, “Monitoring the Internet Buzz,” The Risk Report, Vol. XXIII, No. 5, Jan. 2001.

Author, “High-Profile Product Recalls Need More Than the Bat Signal,” - International Risk
Management Institute, irmi.com, July 2001.

Co-Author, “Do You Know What 100 Million People are Buzzing About Today?” Risk and
Insurance Management, March 2001.

Quoted Article, “Keep Up with Class Action,” Kentucky Courier Journal, March 13, 2000.

Author, “The Great Debate - How Much is Enough Legal Notice?” American Bar Association –
Class Actions and Derivatives Suits Newsletter, winter edition 1999.




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 37 of 178 PageID #:
                                   1824




                            SPEAKER/EXPERT PANELIST/PRESENTER

ABA National Symposium       Faculty Panelist, “Ethical Considerations in Settling Class Actions,”
                             New Orleans, LA March 2016.

SF Banking Attorney Assn.    Speaker, “How a Class Action Notice can Make or Break your
                             Client’s Settlement,” San Francisco, CA May 2015.

Perrin Class Action Conf.    Faculty Panelist, “Being Media Relevant, What It Means and Why
                             It Matters – The Social Media Evolution: Trends, Challenges and
                             Opportunities,” Chicago, IL May 2015.

Bridgeport Continuing Ed.    Speaker, Webinar “Media Relevant in the Class Notice Context.”
                             July, 2014.

Bridgeport Continuing Ed.    Faculty Panelist, “Media Relevant in the Class Notice Context.”
                             Los Angeles, California, April 2014.

CASD 5th Annual              Speaker, “The Impact of Social Media on Class Action Notice.”
                             Consumer Attorneys of San Diego Class Action Symposium, San
                             Diego, California, September 2012.

Law Seminars International Speaker, “Class Action Notice: Rules and Statutes Governing FRCP
                           (b)(3) Best Practicable… What constitutes a best practicable
                           notice? What practitioners and courts should expect in the new
                           era of online and social media.” Chicago, IL, October 2011.
                           *Voted by attendees as one of the best presentations given.

CASD 4th Annual              Faculty Panelist, “Reasonable Notice - Insight for practitioners on
                             the FJC’s Judges’ Class Action Notice and Claims Process Checklist
                             and Plain Language Guide. Consumer Attorneys of San Diego Class
                             Action Symposium, San Diego, California, October 2011.

CLE International            Faculty Panelist, Building a Workable Settlement Structure, CLE
                             International, San Francisco, California May, 2011.

CASD                         Faculty Panelist, “21st Century Class Notice and Outreach.” 3nd
                             Annual Class Action Symposium CASD Symposium, San Diego,
                             California,
                             October 2010.

CASD                         Faculty Panelist, “The Future of Notice.” 2nd Annual Class Action
                             Symposium CASD Symposium, San Diego California, October 2009.


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 38 of 178 PageID #:
                                   1825




American Bar Association      Speaker, 2008 Annual Meeting, “Practical Advice for Class Action
                              Settlements: The Future of Notice In the United States and
                              Internationally – Meeting the Best Practicable Standard.”

                              Section of Business Law Business and Corporate Litigation
                              Committee – Class and Derivative Actions Subcommittee, New
                              York, NY, August 2008.

Women Lawyers Assn.           Faculty Panelist, Women Lawyers Association of Los Angeles
                              of Los Angeles, 2008.

(WLALA) CLE Presentation, “The Anatomy of a Class Action.” Los Angeles, CA, February, 2008.

Warranty Chain Mgmt.          Faculty Panelist, Presentation Product Recall Simulation. Tampa,
                              Florida, March 2007.

Practicing Law Institute (PLI) Faculty Panelist, CLE Presentation, 11th Annual Consumer
                               Financial Services Litigation. Presentation: Class Action Settlement
                               Structures – Evolving Notice Standards in the Internet Age. New
                               York/Boston (simulcast), NY March 2006; Chicago, IL April 2006
                               and San Francisco, CA, May 2006.

U.S. Consumer Product         Ms. Finegan participated as an expert panelist to the Consumer
                              Product
Safety Commission             Safety Commission to discuss ways in which the CPSC could
                              enhance and measure the recall process. As a panelist, Ms
                              Finegan discussed how the CPSC could better motivate consumers
                              to take action on recalls and how companies could scientifically
                              measure and defend their outreach efforts. Bethesda MD,
                              September 2003.

Weil, Gotshal & Manges       Presenter, CLE presentation, “A Scientific Approach to Legal Notice
                             Communication.” New York, June 2003.

Sidley & Austin               Presenter, CLE presentation, “A Scientific Approach to Legal
                              Notice Communication.” Los Angeles, May 2003.

Kirkland & Ellis              Speaker to restructuring group addressing “The Best Practicable
                              Methods to Give Notice in a Tort Bankruptcy.” Chicago, April
                              2002.

Georgetown University Law Faculty, CLE White Paper: “What are the best practicable methods
                          to Center Mass Tort Litigation give notice? Dispelling the


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 39 of 178 PageID #:
                                   1826



                             communications myth – A notice Institute disseminated is a
                             notice communicated,” Mass Tort Litigation Institute. Washington
                             D.C., November, 2001.

American Bar Association     Presenter, “How to Bullet-Proof Notice Programs and What
                             Communication Barriers Present Due Process Concerns in Legal
                             Notice,” ABA Litigation Section Committee on Class Actions &
                             Derivative Suits. Chicago, IL, August 6, 2001.

McCutchin, Doyle, Brown      Speaker to litigation group in San Francisco and simulcast to four
                             other & Enerson McCutchin locations, addressing the definition of
                             effective notice and barriers to communication that affect due
                             process in legal notice. San Francisco, CA, June 2001.

Marylhurst University        Guest lecturer on public relations research methods. Portland,
                             OR, February 2001.

University of Oregon         Guest speaker to MBA candidates on quantitative and qualitative
                             research for marketing and communications programs. Portland,
                             OR, May 2001.

Judicial Arbitration &       Speaker on the definition of effective notice. San Francisco and Los
Mediation Services (JAMS)    Angeles, CA, June 2000.

International Risk           Past Expert Commentator on Crisis and Litigation Communications.
Management Institute         www.irmi.com.

The American Bankruptcy      Past Contributing Editor – Beyond the Quill. www.abi.org.
Institute Journal (ABI)

                                            BACKGROUND

        Ms Finegan’s past experience includes working in senior management for leading Class
Action Administration firms including The Garden City Group (“GCG”) and Poorman-Douglas
Corp., (“EPIQ”). Ms. Finegan co-founded Huntington Advertising, a nationally recognized leader
in legal notice communications. After Fleet Bank purchased her firm in 1997, she grew the
company into one of the nation’s leading legal notice communication agencies.
        Prior to that, Ms. Finegan spearheaded Huntington Communications, (an Internet
development company) and The Huntington Group, Inc., (a public relations firm). As a partner
and consultant, she has worked on a wide variety of client marketing, research, advertising,
public relations and Internet programs. During her tenure at the Huntington Group, client
projects included advertising (media planning and buying), shareholder meetings, direct mail,
public relations (planning, financial communications) and community outreach programs. Her
past client list includes large public and privately held companies: Code-A-Phone Corp., Thrifty-


Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 40 of 178 PageID #:
                                   1827



Payless Drug Stores, Hyster-Yale, The Portland Winter Hawks Hockey Team, U.S. National Bank,
U.S. Trust Company, Morley Capital Management, and Durametal Corporation.
        Prior to Huntington Advertising, Ms. Finegan worked as a consultant and public relations
specialist for a West Coast-based Management and Public Relations Consulting firm.
        Additionally, Ms. Finegan has experience in news and public affairs. Her professional
background includes being a reporter, anchor and public affairs director for KWJJ/KJIB radio in
Portland, Oregon, as well as reporter covering state government for KBZY radio in Salem,
Oregon. Ms. Finegan worked as an assistant television program/promotion manager for KPDX
directing $50 million in programming. She was also the program/promotion manager at KECH-
22 television.
         Ms. Finegan's multi-level communication background gives her a thorough, hands-on
understanding of media, the communication process, and how it relates to creating effective
and efficient legal notice campaigns.

                            MEMBERSHIPS, PROFESSIONAL CREDENTIALS

APR - The Universal Board of Accreditation Public Relations Society of America – Accredited.
Member of the Public Relations Society of America
Member Canadian Public Relations Society


Also see LinkedIn page.




Jeanne C. Finegan, APR CV
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 41 of 178 PageID #:
                                   1828




                  Exhibit B
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 42 of 178 PageID #:
                                    1829

Class Member ID: <<refnum>>


                                       LEGAL NOTICE
 If you purchased Blue Buffalo pet foods, you may be entitled to a Cash Refund
                        from a class action settlement.
A proposed settlement has been reached in a class action lawsuit claiming Blue Buffalo Company,
Ltd. (“Blue Buffalo”) pet foods (the “Products”) labeling was false and deceptive and that it
breached its ‘True Blue Promise’ that the Products do not include chicken/poultry by-product
meals, corn, wheat or soy, or artificial preservatives. Blue Buffalo stands by its labeling and denies
it did anything wrong. However, Blue Buffalo has settled to avoid the cost and distraction of
litigation.
Who is a Class Member? You’re a Class Member if you purchased any of the Blue Buffalo
Products in the United States from May 7, 2008 through December 18, 2015. A complete list of
eligible Blue Buffalo Products is found on the website below.
What does the settlement provide? Settlement funds of up to $32,000,000 will be made available
to partially reimburse Class Members for the Products they purchased and to pay legal fees of not
more than $8,000,000, and expenses and administrative costs of not more than $1,400,000. Blue
Buffalo has also agreed to review specifications for all Blue Buffalo Products to ensure that they
are consistent with all packaging claims found on the product and representations regarding the
products found on the Blue Buffalo Website, and to review its supplier relationships and institute
practices designed to ensure that all materials provided by its suppliers comply with the applicable
product specifications.
Class Members may choose one of the following options:
Option 1: Settlement Class Members must complete a Claim Form. If you do not have valid Proof
of Purchase you must (i) confirm under penalty of perjury that you purchased one or more Blue
Buffalo Products during the Settlement Class Period and (ii) state the total amount of money that
you spent on Blue Buffalo Products during the Settlement Class Period. For each $50 in purchases,
eligible Class Members will receive $5.00 in the form of a cash payment up to a total of $10. A
Settlement Class Member who confirms that they purchased one or more Blue Buffalo Products
but did not spend at least $50 will be entitled to receive a $5.00 cash payment;
Option 2: Settlement Class Members who complete the Claim Form and provide valid Proof of
Purchase, shall receive $5.00 in the form of a cash payment for each $50 in purchases of the Blue
Buffalo Products up to a total of $200.
If the total value of claims submitted exceeds or falls short of the balance remaining in the
Settlement Fund, then the compensation provided to each Settlement Class Member shall be
reduced or increased pro rata.
Class members must mail or submit                        a    completed     claim     form     online
www.petfoodsettlement.com by April 14, 2016.
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 43 of 178 PageID #:
                                    1830

What are my Options?
Do nothing: you will not receive money but you will be bound by the decisions of the court
regarding these claims, including certain releases of Blue Buffalo. Exclude yourself: you will
maintain your right to sue Blue Buffalo about the legal claims in this case. To exclude yourself,
you must do so in writing by April 16, 2016. If you exclude yourself you will not receive money
from this settlement. Object: you may write to the court and say why you don’t like the
Settlement. The objection deadline is April 14, 2016.
The Court will hold a fairness hearing at 10:30 a.m. on May 19, 2016, in the United States District
Court for the Eastern District of Missouri, 111 South 10th Street, St. Louis, Missouri 63102 in
Courtroom 16 South to determine the fairness, adequacy, and reasonableness of the settlement, to
consider whether to approve the settlement, and to consider a request by Class Counsel for
payment of attorneys’ fees and costs and class representative incentive awards. The motion for
attorneys’ fees and costs and plaintiff incentive awards will be posted on the website after they are
filed. You may appear at the hearing, but you don’t have to.
This is only a summary. For complete details, including a list of affected products, a claim form,
and detailed court documents and other information, call toll-free 1-844-245-3772, visit online
www.petfoodsettlement.com by April 14, 2016, or write to: Blue Buffalo Settlement, c/o Heffler
Claims Group, P.O. Box 58730, Philadelphia, PA 19102-8730.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 44 of 178 PageID #:
                                   1831




                  Exhibit C
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 45 of 178 PageID #:
                                   1832



   Class Member ID: 30844019XD6WQ



                                                           LEGAL NOTICE

   If you purchased Blue Buffalo pet food or treats, you may be
   entitled to a Cash Refund from a class action settlement.
   A proposed settlement has been reached in a class action lawsuit claiming Blue Buffalo Company, Ltd. ("Blue Buffalo") pet foods (the "Products")
   labeling was false and deceptive and that falsely claimed that the Products do not include chicken/poultry by-product meals, corn, wheat or soy, or
   artificial preservatives. Blue Buffalo stands by its labeling and denies it did anything wrong. However, Blue Buffalo has settled to avoid the cost and
   distraction of litigation.

   Who is a Class Member? You're a Class Member if you purchased any of the Blue Buffalo Products in the United States from May 7, 2008 through
   December 18, 2015. A complete list of eligible Blue Buffalo Products is found on the website below.

   What does the settlement provide? Settlement funds of up to $32,000,000 will be made available to partially reimburse Class Members for the Products
   they purchased and to pay legal fees of not more than $8,000,000, and expenses and administrative costs of not more than $1,400,000. Blue Buffalo has
   also agreed to review specifications for all Blue Buffalo Products to ensure that they are consistent with all packaging claims found on the product and
   representations regarding the products found on the Blue Buffalo Website, and to review its supplier relationships and institute practices designed to
   ensure that all materials provided by its suppliers comply with the applicable product specifications.

   Class Members may choose one of the following options:

   Option 1: Settlement Class Members must complete a Claim Form. If you do not have valid Proof of Purchase you must (i) confirm under penalty of
   perjury that you purchased one or more Blue Buffalo Products during the Settlement Class Period and (ii) state the total amount of money that you spent
   on Blue Buffalo Products during the Settlement Class Period. For each $50 in purchases, eligible Class Members will receive $5.00 in the form of a cash
   payment up to a total of $10. A Settlement Class Member who confirms that they purchased one or more Blue Buffalo Products but did not spend at least
   $50 will be entitled to receive a $5.00 cash payment;

   Option 2: Settlement Class Members who complete the Claim Form and provide valid Proof of Purchase, shall receive $5.00 in the form of a cash
   payment for each $50 in purchases of the Blue Buffalo Products up to a total recovery of $200.

   If the total value of claims submitted exceeds or falls short of the balance remaining in the Settlement Fund, then the compensation provided to each
   Settlement Class Member shall be reduced or increased pro rata.

   Class members must mail or submit a completed claim form. Claim forms are available online at www.petfoodsettlement.com or by writing to
   Blue Buffalo Settlement, c/o Heffler Claims Group, P.O. Box 58730, Philadelphia, PA 19102-8730. Claim forms are due by April 14, 2016.

   What are my Options?

   Do nothing: you will not receive money but you will be bound by the decisions of the court regarding these claims, including certain releases of Blue
   Buffalo. Exclude yourself: you will maintain your right to sue Blue Buffalo about the legal claims in this case. To exclude yourself, you must do so in
   writing by April 14, 2016. If you exclude yourself you will not receive money from this settlement. Object: you may write to the court and say why
   you don't like the Settlement. You must also send a copy of your objections to class counsel and counsel for Blue Buffalo. Visit
   www.petfoodsettlement.com for more information on how to object to the Settlement. The objection deadline is April 14, 2016.

   The Court will hold a fairness hearing at 10:30 a.m. on May 19, 2016, in the United States District Court for the Eastern District of Missouri, 111 South
   10th Street, St. Louis, Missouri 63102 in Courtroom 16 South to determine the fairness, adequacy, and reasonableness of the settlement, to consider
   whether to approve the settlement, and to consider a request by Class Counsel for payment of attorneys' fees and costs and class representative incentive
   awards. The motion for attorneys' fees and costs and plaintiff incentive awards will be posted on the website after they are filed. You may appear at the
   hearing, but you don't have to.

   This is only a summary. For complete details, including a list of affected products, a claim form, and detailed court documents and other information, call
   toll-free 1-844-245-3772, visit www.petfoodsettlement.com by April 14, 2016, or write to: Blue Buffalo Settlement, c/o Heffler Claims Group, P.O. Box
   58730, Philadelphia, PA 19102-8730.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 46 of 178 PageID #:
                                   1833




                  Exhibit D
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 47 of 178 PageID #:
                                   1834


                  Patterson Belknap Webb & Tyler                                             LIP


        1133 Avenue of the Americas New York, NY 10036-6710 212.336.2000 fax 212.336.2222 www.pbwt.com




 December 17, 2015                                                               Steven A. Zalesin
                                                                                 Partner
                                                                                 (212) 336-2110
                                                                                 Direct Fax: (212) 336-2111
 By First Class Certified Mail                                                   sazalesin@pbwt.com




 To: State and Federal Officials pursuant to 28 U.S.C. § 1715 (see enclosed distribution list)

                  Re:      CAFA Notices for the Proposed Settlement in In re Blue Buffalo
                           Marketing and Sales Practices Litigation, 4:14-md-2562 (E.D. Mo.)

 Ladies and Gentlemen:

                 Pursuant to Section 3 of the Class Action Fairness Act ("CAFA"), 28 U.S.C. §
 1715, Defendant Blue Buffalo Company, Ltd. ("Defendant" or "Blue Buffalo") hereby notifies
 you of the proposed settlement of the above-captioned action ("MDL No. 2562") currently
 pending in the United States District Court for the Eastern District of Missouri. MDL No. 2562
 includes the Consolidated Class Action Complaint (Dkt. No. 36) and all individual actions
 consolidated into MDL No. 2562 by the Judicial Panel on Multi-District Litigation (collectively,
 the "Individual Actions"), specifically:

                   Dc/re v. Blue Bu/jlo Company, Lid.,           3:14-00768 (D. Conn)
                   Renna v. Blue Bu/ft,lo Company, Ltd., 3:14-00833 (D. Conn.)
                   MacKenzie v. Blue Bufftilo Company, Lid.,           9:14-80634 (S.D. Fla.)
                        Stone v. Blue Buffalo Company, Lid.,     3:13-cv-00520 (S.D. Ill.)
                   Keil v. Blue Btjjilo C’ompany, Lid., 4:14-00880 (E.D. Mo.)
                   Hutch/son, ci’ al. v. Blue Buffalo Company, Lid.,        4:14-01070 (E.D. Mo.)
                   Andacky, ci al. v. Blue Bufflulo Company, Lid.,         2:14-02938 (E.D.N.Y.)
                   Fisher v. The Blue Buffalo Company, Ltd.,           14-05937 (CD. Cal.)
                        Teperson v. The Blue Bufflulo Company, Ltd et al,      14-01682 (S.D. Cal.)
                        Cox v. Blue Buffalo Co., Lid., 14-00435 (S.D. Ohio)
                   Douglas v. Blue BufJulo Company, Ltd.,           15-02891 (E.D. La.)
                  Lyman v. Blue Bufftulo Company, Lid.,           15-02870 (DS.C.)
                   Jacobs v. Blue BuffiTulo Pet Products, Inc.,       16-13417 (D. Mass.)




84108 1 Ov.1
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 48 of 178 PageID #:
                                   1835



 Stale and Federal Officials
 December 17, 2015
 Page 2

                 In MDL No. 2562, Plaintiffs allege that Blue Buffalo breached its "True Blue
 Promise." The True Blue Promise states that Blue Buffalo Products contain only the finest
 natural ingredients with "NO Chicken or Poultry By-Product Meals," "NO Corn, Wheat or Soy,"
 and "NO Artificial Preservatives, Colors or Flavors." Plaintiffs allege that the "True Blue
 Promise" was false, and bring claims for, inter alia, violations of the Magnuson-Moss Warranty
 Act, breach of express warranty, breach of implied warranty of merchantability, unjust
 enrichment, and violation of the consumer protection statutes of several states.

                  Blue Buffalo denies Plaintiffs’ material allegations and any and all liability with
 respect to all facts and claims alleged therein, and further denies that Plaintiffs or anyone else has
 suffered any harm or damage or is entitled to any monetary or other relief whatsoever in
 connection with MDL No. 2562. However, as a result of discovery conducted in another
 lawsuit, Blue Buffalo recently learned that, for a period of time ending in May 2014, in violation
 of Blue Buffalo’s procurement contracts and ingredient specifications, a major supplier of
 ingredients to Blue Buffalo and many other pet food companies sent mislabeled ingredients to
 manufacturing facilities that produce certain Blue Buffalo pet food products. As a result of this
 misconduct, which was not previously known to or detected by Blue Buffalo or, to Blue
 Buffalo’s knowledge, by any other customer of this supplier, some Blue Buffalo pet food
 products manufactured using the mislabeled ingredients contained poultry by-product meal.
 Based on this information, on June 12, 2015, Blue Buffalo filed a third party complaint in this
 MDL No. 2562 against Wilbur-Ellis Company and Diversified Ingredients, Inc. seeking
 indemnification and/or contribution for any liability that Blue Buffalo may have on account of
 these actions.

                  Blue Buffalo further denies that MDL No. 2562 is amenable to class certification.
 Blue Buffalo is entering into this settlement to avoid burdensome and costly litigation. Counsel
 for Plaintiffs and counsel for Defendant engaged in arms-length negotiations concerning a
 possible settlement, including a full-day mediation in Chicago before an experienced mediator,
 Retired United Stated District Judge Wayne Andersen. Following that mediation, and multiple
 additional communications between counsel for Plaintiffs and Defendant, with the continued
 assistance of Judge Andersen, the parties executed a Stipulation of Settlement and Release on
 December 9, 2015. Plaintiff filed a motion for preliminary approval of the class settlement with
 the Court that day.

                CAFA sets forth eight items that must be provided to you in connection with any
 proposed class action settlement. Each of these items is addressed below.

          1. 28 U.S.C. § 1715 (b)(l) - a copy of the complaint and any materials filed with the
              complaint and any amended complaints.


                 The Consolidated Class Action Complaint and the complaints in each of the
                 Individual Actions are provided in electronic form on the enclosed CD as Exhibits



 8410810v.1
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 49 of 178 PageID #:
                                   1836



 State and Federal Officials
 December 17, 2015
 Page 3

                A1A14. In connection with their Motion for Preliminary Approval of the Class
                Settlement, Plaintiffs also moved for Leave to File a First Amended Consolidated
                Complaint. A copy of the Proposed First Amended Consolidated Complaint is
                enclosed as Exhibit A15.

          2.    28 U.S.C. § 1715 (b)(2) notice of any scheduled judicial hearing in the class
                action.

                None at this time.

          3.    28 U.S.C.      1715(b)(3) - any proposed or final notification to class members.

                A copy of the Proposed Notice informing class members of the settlement and
                their legal rights and options as settlement class members will be available in
                substantially similar form on the website created for the administration of this
                matter. A copy of that Notice is also provided to you on the enclosed CD as
                Exhibit B. This Notice describes the class member’s right to exclude themselves
                from the class. Also enclosed, as Exhibit C, is the Declaration of Jeanne C.
                Finegan concerning the Proposed Class Member Notice Program which sets forth
                how the Settlement Administrator will publish notice to at least 70% of the
                Settlement Class Members through a combination of direct email notifications
                and online and print advertisements,

          4.    28 U.S.C. 6 1715(b)(4) -any uronosed or final class action settlement.

                The proposed class action settlement is set forth in the Settlement Agreement
                and Release (with exhibits), a copy of which is provided on the enclosed CD as
                Exhibit D.

          5.    28 U.S.C. § 1715(b)(5) - any settlement or other agreement contemporaneously
                made between class counsel and counsel for defendants.

                In connection with the Settlement Agreement and Media Plan, Class Counsel, the
                Settlement Administrator, and Defendant executed an Addendum to the Media
                Plan. A copy of that document is enclosed as Exhibit E.

          6.    28 U.S.C. 1715(b)(6) - any final judgment or notice of dismissal.

                There has been no final judgment or notice of dismissal. Accordingly, no such
                document is presently available.

          7.    28 U.S.C. § 1715(b)(7) - (A) If feasible, the names of class members who reside
                in each State and the estimated proportionate share of the claims of such members
                to the entire settlement to that State’s appropriate State official; or (B) if the


 8410810v.1
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 50 of 178 PageID #:
                                   1837



 State and Federal Officials
 December 17, 2015
 Page 4

                 provision of the information under subparagraph (A) is not feasible, a reasonable
                 estimate of the number of class members residing in each State and the estimated
                 proportionate share of the claims of such members to the entire settlement.

                 Settlement class members include all residents of the United States of America
                 who, from May 7, 2008 through the date the settlement is preliminarily approved
                 by the Court, purchased any of the Blue Buffalo Products (as set forth in Exhibit 1
                 to the Settlement Agreement, enclosed hereto as Exhibit D). Excluded from the
                 settlement class are certain people affiliated with Blue Buffalo, as defined in
                 Paragraph 1.22 of the Settlement Agreement, the Court, and its personnel.

                 Blue Buffalo currently does not know or have a means of reasonably determining
                 how many settlement class members reside in each state or the name of each such
                 class member during the class period. Consequently, at this time, Blue Buffalo’s
                 estimate of the number of class members residing in each state must necessarily
                 take the form of an estimate of the proportion of the entire class where purchasers
                 are in that state. Blue Buffalo reasonably believes that it is probable that the
                 proportion of class members in each state, and the benefits they will receive, is
                 roughly the same as that state’s share of the overall national population.

                 28 U.S.C. § 1715(b)(8) - any written judicial opinion relating to the materials
                 described in 28 U.S.C. § 1715(b) subparagraphs (3) through (6).

                 There are no written judicial opinions relating to the materials described in 28
                 U.S.C. § 1715(b) subparagraphs (3) through (6) at this time.

                 If you have any questions about this notice, the Action, or the enclosed materials,
 please contact the undersigned counsel for Defendants listed below.

                                                            Sincerely,


                                                         /fW( ott
                                                            Steven A. Zalesin

 Enclosures




 8410810v.1
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 51 of 178 PageID #:
                                   1838




                  Exhibit E
ROMANTIC
                       Insi              eo’             e Now
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 52 of 178 PageID #:
VALENTINE’S
DAY TREATS!
                                         1839




                                                                           February 15, 2016

                                                                            TRUE CRIME
                                                                         MANSON’S


A REBEL
                                                                          WOMEN
                                                                         Where Are
                                                                         They Now?


DUGGAR
TELLS         ALL!
‘I play by my own rules’
                                                                     KATE
                                                                    HUDSON
                                                                      HOW I
                                                                      GOT MY
                                                                     BEST BODY
The famous megafamily’s cousin Amy reveals                             EVER!
everything about growing up Duggar, surviving
the scandals and her wild & sexy newlywed life
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 53 of 178 PageID #:
                                   1840
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 54 of 178 PageID #:
                                   1841




                   Exhibit F
            Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 55 of 178 PageID #:
                                               1842




HF Me d i a L L C

HF Media | Blue Buffalo

F e b r u a r y 1 3 th , 2 0 1 6
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 56 of 178 PageID #:
                                                                 1843

    Dog Owners_300x250




2    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 57 of 178 PageID #:
                                                                 1844

    Dog Owners_160x600




3    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 58 of 178 PageID #:
                                                                 1845

    Dog Owners_728x90




4    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 59 of 178 PageID #:
                                                                 1846


    Cat Owners_300x250




5    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 60 of 178 PageID #:
                                                                 1847

    Cat Owners_160x600




6    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 61 of 178 PageID #:
                                                                 1848

    Cat Owners_728x90




7    Yahoo Confidential & Proprietary
                                 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 62 of 178 PageID #:
                                                                    1849




        CONVERSANT SCREENSHOTS
        HF Media – Blue Buffalo Dog Food Buyers




                                            PRESENTED BY

                                            CONVERSANT
                                            May 3, 2016

© 2014, Conversant, Inc. All rights reserved.
                                           300X250                                                 320X480
                                     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 63 of 178 PageID #:
                                                                        1850




2   © 2014, Conversant, Inc. All rights reserved.
    160X600                          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 64 of 178 PageID #:
                                                                        1851




3   © 2014, Conversant, Inc. All rights reserved.
    300X250                          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 65 of 178 PageID #:
                                                                        1852




4   © 2014, Conversant, Inc. All rights reserved.
    728X90                           Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 66 of 178 PageID #:
                                                                        1853




5   © 2014, Conversant, Inc. All rights reserved.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 67 of 178 PageID #:
                                   1854




                  Exhibit G
       Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 68 of 178 PageID #:
                                          1855




HF Me d i a L L C

HF Me d i a | Bl u e Bu ffa l o Rd 2

Ap r i l 1 3 th , 2 0 1 6
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 69 of 178 PageID #:
                                                                 1856

    Blue Buffalo RTG_US_160x600




2    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 70 of 178 PageID #:
                                                                 1857

    Blue Buffalo RTG_US_300x250




3    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 71 of 178 PageID #:
                                                                 1858

    Blue Buffalo RTG_US_728x90




4    Yahoo Confidential & Proprietary
                               Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 72 of 178 PageID #:
                                                                  1859

    Blue Buffalo RTG_US (opti)_728x90




5     Yahoo Confidential & Proprietary
                               Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 73 of 178 PageID #:
                                                                  1860

    Blue Buffalo RTG_US (opti)_300x250




6     Yahoo Confidential & Proprietary
                               Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 74 of 178 PageID #:
                                                                  1861

    Blue Buffalo RTG_US (opti)_160x600




7     Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 75 of 178 PageID #:
                                                                 1862

    Dog Owners_300x250




1    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 76 of 178 PageID #:
                                                                 1863

    Dog Owners_160x600




2    Yahoo Confidential & Proprietary
                              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 77 of 178 PageID #:
                                                                 1864

    Dog Owners_728x90




3    Yahoo Confidential & Proprietary
                                 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 78 of 178 PageID #:
                                                                    1865




        CONVERSANT SCREENSHOTS
        Blue-Buffalo – Screenshots




                                            PRESENTED BY

                                           CONVERSANT
                                           April 18, 2016

© 2014, Conversant, Inc. All rights reserved.
    160X600                          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 79 of 178 PageID #:
                                                                        1866




2   © 2014, Conversant, Inc. All rights reserved.
    300X250                          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 80 of 178 PageID #:
                                                                        1867




3   © 2014, Conversant, Inc. All rights reserved.
    728X90                           Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 81 of 178 PageID #:
                                                                        1868




4   © 2014, Conversant, Inc. All rights reserved.
    320X480/480X320       MOBILE
            Case: 4:14-md-02562-RWS Doc. #:         198-2 Filed: 05/12/16 Page: 82 of 178 PageID #:
                                                       1869




5   © 2014, Conversant, Inc. All rights reserved.
    300X250 MOBILE
            Case: 4:14-md-02562-RWS                 Doc. #: 198-2 Filed: 05/12/16 Page: 83 of 178 PageID #:
                                                               1870




6   © 2014, Conversant, Inc. All rights reserved.
  Facebook
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 84 of 178 PageID #:
                                   1871
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 85 of 178 PageID #:
                                   1872
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 86 of 178 PageID #:
                                   1873
            Twitter
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 87 of 178 PageID #:
                                   1874
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 88 of 178 PageID #:
                                   1875
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 89 of 178 PageID #:
                                   1876




                            Blue Buffalo
                               Screenshots
Blue Buffalo : 160x600
                        Case:
Site : Goodhousekeeping.com     4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 90 of 178 PageID #:
                                                             1877
Blue Buffalo : 300x250
Site : Everydayfamily.com Case:   4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 91 of 178 PageID #:
                                                               1878
Blue Buffalo : 728x90
Site : Marthastewart.com   Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 92 of 178 PageID #:
                                                              1879
Blue Buffalo : 160x600
Site : Dogster.com       Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 93 of 178 PageID #:
                                                            1880
Blue Buffalo : 300x250
Site : Doggies.com       Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 94 of 178 PageID #:
                                                            1881
Blue Buffalo : 728x90
Site : Fidoseofreality.com   Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 95 of 178 PageID #:
                                                                1882
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 96 of 178 PageID #:
                                    1883

Class Member ID: <<refnum>>


                                       LEGAL NOTICE
 If you purchased Blue Buffalo pet foods, you may be entitled to a Cash Refund
                        from a class action settlement.
A proposed settlement has been reached in a class action lawsuit claiming Blue Buffalo Company,
Ltd. (“Blue Buffalo”) pet foods (the “Products”) labeling was false and deceptive and that it
breached its ‘True Blue Promise’ that the Products do not include chicken/poultry by-product
meals, corn, wheat or soy, or artificial preservatives. Blue Buffalo stands by its labeling and denies
it did anything wrong. However, Blue Buffalo has settled to avoid the cost and distraction of
litigation.
Who is a Class Member? You’re a Class Member if you purchased any of the Blue Buffalo
Products in the United States from May 7, 2008 through December 18, 2015. A complete list of
eligible Blue Buffalo Products is found on the website below.
What does the settlement provide? Settlement funds of up to $32,000,000 will be made available
to partially reimburse Class Members for the Products they purchased and to pay legal fees of not
more than $8,000,000, and expenses and administrative costs of not more than $1,400,000. Blue
Buffalo has also agreed to review specifications for all Blue Buffalo Products to ensure that they
are consistent with all packaging claims found on the product and representations regarding the
products found on the Blue Buffalo Website, and to review its supplier relationships and institute
practices designed to ensure that all materials provided by its suppliers comply with the applicable
product specifications.
Class Members may choose one of the following options:
Option 1: Settlement Class Members must complete a Claim Form. If you do not have valid Proof
of Purchase you must (i) confirm under penalty of perjury that you purchased one or more Blue
Buffalo Products during the Settlement Class Period and (ii) state the total amount of money that
you spent on Blue Buffalo Products during the Settlement Class Period. For each $50 in purchases,
eligible Class Members will receive $5.00 in the form of a cash payment up to a total of $10. A
Settlement Class Member who confirms that they purchased one or more Blue Buffalo Products
but did not spend at least $50 will be entitled to receive a $5.00 cash payment;
Option 2: Settlement Class Members who complete the Claim Form and provide valid Proof of
Purchase, shall receive $5.00 in the form of a cash payment for each $50 in purchases of the Blue
Buffalo Products up to a total of $200.
If the total value of claims submitted exceeds or falls short of the balance remaining in the
Settlement Fund, then the compensation provided to each Settlement Class Member shall be
reduced or increased pro rata.
Class members must mail or submit                        a    completed     claim     form     online
www.petfoodsettlement.com by April 14, 2016.
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 97 of 178 PageID #:
                                    1884

What are my Options?
Do nothing: you will not receive money but you will be bound by the decisions of the court
regarding these claims, including certain releases of Blue Buffalo. Exclude yourself: you will
maintain your right to sue Blue Buffalo about the legal claims in this case. To exclude yourself,
you must do so in writing by April 16, 2016. If you exclude yourself you will not receive money
from this settlement. Object: you may write to the court and say why you don’t like the
Settlement. The objection deadline is April 14, 2016.
The Court will hold a fairness hearing at 10:30 a.m. on May 19, 2016, in the United States District
Court for the Eastern District of Missouri, 111 South 10th Street, St. Louis, Missouri 63102 in
Courtroom 16 South to determine the fairness, adequacy, and reasonableness of the settlement, to
consider whether to approve the settlement, and to consider a request by Class Counsel for
payment of attorneys’ fees and costs and class representative incentive awards. The motion for
attorneys’ fees and costs and plaintiff incentive awards will be posted on the website after they are
filed. You may appear at the hearing, but you don’t have to.
This is only a summary. For complete details, including a list of affected products, a claim form,
and detailed court documents and other information, call toll-free 1-844-245-3772, visit online
www.petfoodsettlement.com by April 14, 2016, or write to: Blue Buffalo Settlement, c/o Heffler
Claims Group, P.O. Box 58730, Philadelphia, PA 19102-8730.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 98 of 178 PageID #:
                                   1885




                  Exhibit H
                           Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 99 of 178 PageID #:
                                                              1886




If you purchased Blue Buffalo pet foods or treats, you may be entitled to a Cash
Refund from a class action settlement
          ()


NEW YORK, Jan. 15, 2016 /PRNewswire/ -- The following statement is being issued by Patterson Belknap Webb & Tyler LLP regarding the Blue
Buffalo class action settlement.

LEGAL NOTICE

If you purchased Blue Buffalo pet foods, you may be entitled to a Cash Refund from a class action settlement.

A proposed settlement has been reached in a class action lawsuit claiming Blue Buffalo Company, Ltd. ("Blue Buffalo") pet foods (the "Products")
labeling was false and deceptive and that it falsely claimed that the Products do not include chicken/poultry by-product meals, corn, wheat or soy,
or artificial preservatives. Blue Buffalo stands by its labeling and denies it did anything wrong. However, Blue Buffalo has settled to avoid the cost
and distraction of litigation.

Who is a Class Member? You're a Class Member if you purchased any of the Blue Buffalo Products in the United States from May 7, 2008 through
December 18, 2015. A complete list of eligible Blue Buffalo Products is found on the website below.
                          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 100 of 178 PageID #:
                                                              1887

What does the settlement provide? Settlement funds of up to $32,000,000 will be made available to partially reimburse Class Members for the
Products they purchased and to pay legal fees of not more than $8,000,000, and expenses and administrative costs of not more than $1,400,000.
Blue Buffalo has also agreed to review specifications for all Blue Buffalo Products to ensure that they are consistent with all packaging claims found
on the product and representations regarding the products found on the Blue Buffalo Website, and to review its supplier relationships and institute
practices designed to ensure that all materials provided by its suppliers comply with the applicable product specifications.

Class Members may choose one of the following options:

Option 1: Settlement Class Members must complete a Claim Form. If you do not have valid Proof of Purchase you must (i) confirm under penalty of
perjury that you purchased one or more Blue Buffalo Products during the Settlement Class Period and (ii) state the total amount of money that you
spent on Blue Buffalo Products during the Settlement Class Period. For each $50 in purchases, eligible Class Members will receive $5.00 in the
form of a cash payment up to a total of $10. A Settlement Class Member who confirms that they purchased one or more Blue Buffalo Products but
did not spend at least $50 will be entitled to receive a $5.00 cash payment;

Option 2: Settlement Class Members who complete the Claim Form and provide valid Proof of Purchase, shall receive $5.00 in the form of a cash
payment for each $50 in purchases of the Blue Buffalo Products up to a total recovery of $200.

If the total value of claims submitted exceeds or falls short of the balance remaining in the Settlement Fund, then the compensation provided to
each Settlement Class Member shall be reduced or increased pro rata.

Class Members must mail or submit a completed claim form online www.petfoodsettlement.com (http://www.petfoodsettlement.com/) by
April 14, 2016.

What are my Options?

Do nothing: you will not receive money but you will be bound by the decisions of the Court regarding these claims, including certain releases of
Blue Buffalo. Exclude yourself: you will maintain your right to sue Blue Buffalo about the legal claims in this case. To exclude yourself, you must do
so in writing by April 14, 2016. If you exclude yourself you will not receive money from this settlement. Object: you may write to the Court and
say why you don't like the Settlement. The objection deadline is April 14, 2016.

The Court will hold a fairness hearing at 10:30 a.m. on Thursday, May 19, 2016, in the United States District Court for the Eastern District of
Missouri, 111 South 10th Street, St. Louis, Missouri 63102 in Courtroom 16 South to determine the fairness, adequacy, and reasonableness of the
Settlement, to consider whether to approve the Settlement, and to consider a request by Class Counsel for payment of attorneys' fees and costs
and class representative incentive awards. The motion for attorneys' fees and costs and plaintiff incentive awards will be posted on the website
after they are filed. You may appear at the hearing, but you don't have to.
                         Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 101 of 178 PageID #:
                                                             1888

This is only a summary. For complete details, including a list of affected products, a claim form, and detailed court documents and other
information, call toll-free 1(844) 245-3772, visit www.petfoodsettlement.com (http://www.petfoodsettlement.com/) by April 14, 2016, or write to Blue
Buffalo Settlement c/o Heffler Claims Group, P.O. Box 58730, Philadelphia, PA 19102-8730.



SOURCE Patterson Belknap Webb & Tyler LLP



RELATED LINKS
https://www.petfoodsettlement.com (https://www.petfoodsettlement.com)
    Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 102 of 178 PageID #:
                                        1889




If you purchased Blue Buffalo pet foods or treats,
you may be entitled to a Cash Refund from a class
action settlement
English   Story Number: SF98651   Clear Time Jan 15, 2016 9:13 AM ET

View Release 




                                                Distribution
                                     Where did my release appear online?
                                         172             89,543,386




                                                     Traffic
                                     What traffic did my release generate?
                                          11,708              16,346




                                                  Audience
                                  Who are the audiences viewing my release?
                                             86                 988






    Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 103 of 178 PageID #:
                                        1890
                                         Engagement
                            How are people engaging with my release?

                                                    2,195


                                        4              139             2,052




                                 Industry Benchmarks
       On a scale of 1 - 100, how this release performed compared to other similar releases.

                                                       55
                                                 total visibility


                                       41               96             28
                                   distribution        traffic       audience



                                                      100
                                                  engagement
  Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 104 of 178 PageID #:
                                      1891




Distribution

                              172                                                   89,543,386
                              Websites                                            Total Potential Audience



 Distribution Summary
 See the types of websites your release posted to, and the industries they cover.



 Media Type                                                      Website Industry




            Broadcast Media               Newspaper                          Media & Information        Financial
            News & Information Service                                       Policy & Public Interest
            Trade Publications                                               Business Services
            Online News Sites & Other Influencers                            Multicultural & Demographic
            The rest                                                         The rest


  Media Type                                          Websites   Website Industry                              Websites


  Broadcast Media                                          89    Media & Information                                154


  Newspaper                                                48    Financial                                           11


  News & Information Service                               26    Policy & Public Interest                             4


  Trade Publications                                        3    Business Services                                    1


  Online News Sites & Other Influencers                     2    Multicultural & Demographic                          1


  Portal                                                    2    Retail & Consumer                                    1


  Blog-Parental Influencers                                 1    Total Number of Websites                           172


  PR Newswire                                               1
  Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 105 of 178 PageID #:
                                      1892
   Media Type                                     Websites


   Total Number of Websites                            172




 Distribution Details
 The details of each component of your online distribution.




Online Distribution
The details of each site that posted your release.
172 postings to websites on our network have been found, with a total potential
audience of 89,543,386  unique visitors per day.


   Logo         Outlet or Website Name            Location    Media Type           Industry      Visitors Per Day


                Yahoo!                            global      Portal               Media &             76,000,231
                View Release                                                       Information


                Reuters                           global      News & Information   Media &                672,795
                View Release                                  Service              Information


                MarketWatch                       United      News & Information   Financial              608,836
                View Release                      States      Service


                Yahoo! Singapore                  Singapore   Portal               Media &                605,608
                View Release                                                       Information


                International Business Times      United      Newspaper            Media &                406,636
                View Release                      States                           Information


                Boston Globe                      United      Newspaper            Media &                326,197
                View Release                      States                           Information


                TheStreet.com                     United      Trade Publications   Financial              323,278
                View Release                      States


                Wichita Business Journal          United      Newspaper            Media &                204,256
                View Release                      States                           Information


                Washington Business Journal       United      Newspaper            Media &                204,256
                View Release                      States                           Information


                Minneapolis / St. Paul Business   United      Newspaper            Media &                204,256
                Journal                           States                           Information
                View Release


                Triangle Business Journal         United      Newspaper            Media &                204,256
                View Release                      States                           Information


                Business Journal of the Greater   United      Newspaper            Media &                204,256
                Triad Area                        States                           Information
                View Release
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 106 of 178 PageID #:
                                    1893
Logo    Outlet or Website Name           Location   Media Type   Industry      Visitors Per Day


        Tampa Bay Business Journal       United     Newspaper    Media &                204,256
        View Release                     States                  Information


        St. Louis Business Journal       United     Newspaper    Media &                204,256
        View Release                     States                  Information


        South Florida Business Journal   United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Puget Sound Business Journal     United     Newspaper    Media &                204,256
        View Release                     States                  Information


        San Jose Business Journal        United     Newspaper    Media &                204,256
        View Release                     States                  Information


        San Francisco Business Times     United     Newspaper    Media &                204,256
        View Release                     States                  Information


        San Antonio Business Journal     United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Sacramento Business Journal      United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Bizjournals.com, Inc.            United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Portland Business Journal        United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Pittsburgh Business Times        United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Business Journal of Phoenix      United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Philadelphia Business Journal    United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Pacific Business News            United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Orlando Business Journal         United     Newspaper    Media &                204,256
        View Release                     States                  Information


        New York Business Journal        United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Nashville Business Journal       United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Business Journal of Greater      United     Newspaper    Media &                204,256
        Milwaukee                        States                  Information
        View Release


        Memphis Business Journal         United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Business First of Louisville     United     Newspaper    Media &                204,256
        View Release                     States                  Information


        Los Angeles Business from        United     Newspaper    Media &                204,256
        bizjournals                      States                  Information
        View Release
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 107 of 178 PageID #:
                                    1894
Logo    Outlet or Website Name          Location   Media Type           Industry          Visitors Per Day


        Kansas City Business Journal    United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Jacksonville Business Journal   United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Houston Business Journal        United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Denver Business Journal         United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Dayton Business Journal         United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Dallas Business Journal         United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Business First of Columbus      United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Cincinnati Business Courier     United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Chicago Business News           United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Charlotte Business Journal      United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Business First of Buffalo       United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Boston Business Journal         United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Birmingham Business Journal     United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Baltimore Business Journal      United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Austin Business Journal         United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Atlanta Business Chronicle      United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        New Mexico Business Weekly      United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        Business Review (Albany)        United     Newspaper            Media &                    204,256
        View Release                    States                          Information


        PR Newswire                     United     PR Newswire          Media &                    181,146
        View Release                    States                          Information


        FindLaw Legal News              United     Trade Publications   Policy & Public            146,675
        View Release                    States                          Interest


        KWTV-TV CBS-9 (Oklahoma City,   United     Broadcast Media      Media &                     64,586
        OK)                             States                          Information
        View Release
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 108 of 178 PageID #:
                                    1895
Logo    Outlet or Website Name              Location   Media Type           Industry      Visitors Per Day


        KOTV-TV CBS-6 (Tulsa, OK)           United     Broadcast Media      Media &                 62,387
        View Release                        States                          Information


        WISTV NBC-10 (Columbia, SC)         United     Broadcast Media      Media &                 47,788
        View Release                        States                          Information


        WFMZ-TV IND-69 (Allentown, PA)      United     Broadcast Media      Media &                 43,673
        View Release                        States                          Information


        WSFA NBC-12 (Montgomery, AL)        United     Broadcast Media      Media &                 40,826
        View Release                        States                          Information


        KHNL-TV NBC-8 (Honolulu, HI)        United     Broadcast Media      Media &                 39,926
        View Release                        States                          Information


        WAFF NBC-48 (Huntsville, AL)        United     Broadcast Media      Media &                 39,290
        View Release                        States                          Information


        WWBT NBC-12 (Richmond, VA)          United     Broadcast Media      Media &                 38,460
        View Release                        States                          Information


        KHQ-TV NBC-6 (Spokane, WA)          United     Broadcast Media      Media &                 37,017
        View Release                        States                          Information


        WXIX FOX-19 (Cincinnati, OH)        United     Broadcast Media      Media &                 30,346
        View Release                        States                          Information


        WMC NBC-5 (Memphis, TN)             United     Broadcast Media      Media &                 30,263
        View Release                        States                          Information


        WLOX ABC-13 (Biloxi, MS)            United     Broadcast Media      Media &                 28,792
        View Release                        States                          Information


        KATV-TV ABC-7 (Little Rock, AR)     United     Broadcast Media      Media &                 26,889
        View Release                        States                          Information


        WAFB CBS-9 (Baton Rouge, LA)        United     Broadcast Media      Media &                 26,708
        View Release                        States                          Information


        KSLA CBS-12 (Shreveport, LA)        United     Broadcast Media      Media &                 25,734
        View Release                        States                          Information


        WFIE NBC-14 (Evansville, IN)        United     Broadcast Media      Media &                 25,380
        View Release                        States                          Information


        KAUZ-TV CBS-6 (Wichita Falls, TX)   United     Broadcast Media      Media &                 25,329
        View Release                        States                          Information


        WOIO CBS-19 (Cleveland, OH)         United     Broadcast Media      Media &                 24,737
        View Release                        States                          Information


        WAVE NBC-3 (Louisville, KY)         United     Broadcast Media      Media &                 24,335
        View Release                        States                          Information


        WVUE-TV FOX-8 (New Orleans,         United     Broadcast Media      Media &                 23,707
        LA)                                 States                          Information
        View Release


        One News Page Global Edition        global     News & Information   Media &                 23,333
        View Release                                   Service              Information


        KPLC NBC-7 (Lake Charles-           United     Broadcast Media      Media &                 23,011
        Lafayette, LA)                      States                          Information
        View Release
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 109 of 178 PageID #:
                                    1896
Logo    Outlet or Website Name            Location   Media Type           Industry      Visitors Per Day


        KAIT ABC-8 (Jonesboro, AR)        United     Broadcast Media      Media &                 22,125
        View Release                      States                          Information


        KLTV ABC-7 (Tyler, TX)            United     Broadcast Media      Media &                 22,061
        View Release                      States                          Information


        WCSC CBS-5 (Charleston, SC)       United     Broadcast Media      Media &                 21,991
        View Release                      States                          Information


        WBOC CBS-16 (Salisbury, MD)       United     Broadcast Media      Media &                 21,824
        View Release                      States                          Information


        WLBT NBC-3 (Jackson, MS)          United     Broadcast Media      Media &                 21,042
        View Release                      States                          Information


        WSET-TV ABC-13 (Lynchburg, VA)    United     Broadcast Media      Media &                 20,470
        View Release                      States                          Information


        Merrill Edge                      United     News & Information   Financial               20,419
        View Release                      States     Service


        WRCB-TV NBC-3 (Chattanooga,       United     Broadcast Media      Media &                 20,404
        TN)                               States                          Information
        View Release


        WDRB FOX-41 (Louisville, KY)      United     Broadcast Media      Media &                 19,284
        View Release                      States                          Information


        KOLD CBS-13 (Tucson, AZ)          United     Broadcast Media      Media &                 18,983
        View Release                      States                          Information


        WECT NBC-6 (Wilmington, NC)       United     Broadcast Media      Media &                 18,652
        View Release                      States                          Information


        KTVN-TV CBS-2 (Reno, NV)          United     Broadcast Media      Media &                 18,039
        View Release                      States                          Information


        Ticker Technologies               United     News & Information   Financial               18,007
        View Release                      States     Service


        WALB NBC-10 (Albany, GA)          United     Broadcast Media      Media &                 17,102
        View Release                      States                          Information


        KFMB-TV CBS-8 (San Diego, CA)     United     Broadcast Media      Media &                 17,066
        View Release                      States                          Information


        KFVS CBS-12 (Cape Girardeau,      United     Broadcast Media      Media &                 16,774
        MO)                               States                          Information
        View Release


        KCBD NBC-11 (Lubbock, TX)         United     Broadcast Media      Media &                 16,636
        View Release                      States                          Information


        WTOC CBS-11 (Savannah, GA)        United     Broadcast Media      Media &                 16,571
        View Release                      States                          Information


        WDAM NBC-7 (Hattiesburg-Laurel,   United     Broadcast Media      Media &                 15,336
        MS)                               States                          Information
        View Release


        WFMJ-TV NBC-21 (Youngstown,       United     Broadcast Media      Media &                 15,176
        OH)                               States                          Information
        View Release
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 110 of 178 PageID #:
                                    1897
Logo    Outlet or Website Name               Location      Media Type           Industry            Visitors Per Day


        KTRE ABC-9 (Lufkin, TX)              United        Broadcast Media      Media &                       15,041
        View Release                         States                             Information


        WMBF NBC-32 (Myrtle Beach, SC)       United        Broadcast Media      Media &                       14,334
        View Release                         States                             Information


        WTOL CBS-11 (Toledo, OH)             United        Broadcast Media      Media &                       13,872
        View Release                         States                             Information


        Spoke                                United        News & Information   Business Services             11,569
        View Release                         States        Service


        WCIV-TV ABC-4 (Charleston, SC)       United        Broadcast Media      Media &                       10,252
        View Release                         States                             Information


        KCEN-TV NBC-9 (Temple, TX)           United        Broadcast Media      Media &                         9,403
        View Release                         States                             Information


        Press-Enterprise                     United        Newspaper            Media &                         9,216
        View Release                         States                             Information


        KBMT-TV ABC-12 (Beaumont, TX)        United        Broadcast Media      Media &                         8,569
        View Release                         States                             Information


        KSWO-TV ABC-7 (Lawton, OK)           United        Broadcast Media      Media &                         7,438
        View Release                         States                             Information


        WTVM ABC-9 (Columbus, GA)            United        Broadcast Media      Media &                         7,211
        View Release                         States                             Information


        WTRF-TV CBS-7 (Wheeling, WV)         United        Broadcast Media      Media &                         6,426
        View Release                         States                             Information


        WBOY-TV NBC-12 (Clarksburg,          United        Broadcast Media      Media &                         6,368
        WV)                                  States                             Information
        View Release


        KUSI-TV IND-51 (San Diego, CA)       United        Broadcast Media      Media &                         4,544
        View Release                         States                             Information


        WVNS-TV CBS-59 (Ghent, WV)           United        Broadcast Media      Media &                         3,649
        View Release                         States                             Information


        KYTX CBS-19 (Tyler, TX)              United        Broadcast Media      Media &                         3,589
        View Release                         States                             Information


        KFDA CBS-10 (Amarillo, TX)           United        Broadcast Media      Media &                         3,363
        View Release                         States                             Information


        KIII-TV ABC-3 (Corpus Christi, TX)   United        Broadcast Media      Media &                         3,067
        View Release                         States                             Information


        WLNE-TV ABC-6 (Providence, RI)       United        Broadcast Media      Media &                         2,873
        View Release                         States                             Information


        Journal Online Philippines           Philippines   News & Information   Media &                         2,014
        View Release                                       Service              Information


        KMEG-TV CBS-14 (Sioux City, IA)      United        Broadcast Media      Media &                         1,863
        View Release                         States                             Information


        KXXV-TV ABC-25 (Waco, TX)            United        Broadcast Media      Media &                         1,664
        View Release                         States                             Information
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 111 of 178 PageID #:
                                    1898
Logo    Outlet or Website Name               Location   Media Type                  Industry      Visitors Per Day


        KX News - KXMB / KXMC / KXMA /       United     Broadcast Media             Media &                   1,603
        KXMD                                 States                                 Information
        View Release


        KWES-TV NBC-9 (Midland, TX)          United     Broadcast Media             Media &                   1,326
        View Release                         States                                 Information


        KTEN NBC-10 (Denison, TX)            United     Broadcast Media             Media &                   1,225
        View Release                         States                                 Information


        KFRE-TV CW-59 (Fresno, CA)           United     Broadcast Media             Media &                   1,161
        View Release                         States                                 Information


        WICU-TV NBC-12 (Erie, PA)            United     Broadcast Media             Media &                     885
        View Release                         States                                 Information


        WAND-TV NBC-17 (Decatur, IL)         United     Broadcast Media             Media &                     866
        View Release                         States                                 Information


        WFXG-TV FOX-54 (Augusta, GA)         United     Broadcast Media             Media &                     850
        View Release                         States                                 Information


        Globe Advisor                        Canada     News & Information          Financial          Not available
        View Release                                    Service


        WXTX-TV FOX-54 (Columbus, GA)        United     Broadcast Media             Media &            Not available
        View Release                         States                                 Information


        WSFX-TV FOX-26 (Wilmington, NC)      United     Broadcast Media             Media &            Not available
        View Release                         States                                 Information


        WFLX FOX-29 (West Palm Beach,        United     Broadcast Media             Media &            Not available
        FL)                                  States                                 Information
        View Release


        WBCB-TV CW-21 (Youngstown,           United     Broadcast Media             Media &            Not available
        OH)                                  States                                 Information
        View Release


        KQCW CW-12/19 (Tulsa, OK)            United     Broadcast Media             Media &            Not available
        View Release                         States                                 Information


        Today's News                         global     News & Information          Media &            Not available
        View Release                                    Service                     Information


        Our Good Life                        United     Blog-Parental Influencers   Retail &           Not available
        View Release                         States                                 Consumer


        Streetwise Report                    United     News & Information          Financial          Not available
        View Release                         States     Service


        The State Journal (Charleston, WV)   United     Newspaper                   Media &            Not available
        View Release                         States                                 Information


        SImplyTraded                         United     News & Information          Financial          Not available
        View Release                         States     Service


        KFMB 100.7 Jack-FM (San Diego,       United     Broadcast Media             Media &            Not available
        CA)                                  States                                 Information
        View Release


        One News Page Unites States          United     Online News Sites &         Media &            Not available
        Edition                              States     Other Influencers           Information
        View Release
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 112 of 178 PageID #:
                                    1899
Logo    Outlet or Website Name            Location   Media Type           Industry          Visitors Per Day


        Olejniczak Advisors               United     News & Information   Financial              Not available
        View Release                      States     Service


        NebraskaTV (Kearney, NE)          United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        WGFL-TV CBS-4 (Gainesville, FL)   United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        WTLH-TV FOX-49 (Tallahassee,      United     Broadcast Media      Media &                Not available
        FL)                               States                          Information
        View Release


        WOLF-TV FOX-56 (Wilkes-Barre,     United     Broadcast Media      Media &                Not available
        PA)                               States                          Information
        View Release


        WPFO-TV FOX-23 (Portland, ME)     United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        WDSI-TV FOX-61 (Chattanooga,      United     Broadcast Media      Media &                Not available
        TN)                               States                          Information
        View Release


        Market Quote                      United     News & Information   Financial              Not available
        View Release                      States     Service


        KUAM-TV NBC-8 / CBS-11            United     Broadcast Media      Media &                Not available
        (Hagatna, Guam)                   States                          Information
        View Release


        KLKN ABC-8 (Lincoln, NE)          United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        KFVE MyNetworkTV-5 (Honolulu,     United     Broadcast Media      Media &                Not available
        HI)                               States                          Information
        View Release


        Journal of Common Stock           global     Trade Publications   Financial              Not available
        View Release


        KTVG-TV FOX-17 / KSNB-TV FOX-     United     Broadcast Media      Media &                Not available
        4 (Kearney, NE)                   States                          Information
        View Release


        WBOC-TV FOX-21 (Salisbury, MD)    United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        KFJX-TV FOX-14 (Pittsburg, KS)    United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        Foreign Press Association         United     News & Information   Media &                Not available
        View Release                      States     Service              Information


        WUPV-TV CW-65 (Ashland, VA)       United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        KXVO-TV CW-15 (Omaha, NE)         United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        WLTZ-TV CW-38 (Columbus, GA)      United     Broadcast Media      Media &                Not available
        View Release                      States                          Information


        Crowdfunding Probate              United     News & Information   Policy & Public        Not available
        View Release                      States     Service              Interest
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 113 of 178 PageID #:
                                     1900
 Logo        Outlet or Website Name              Location   Media Type            Industry          Visitors Per Day


             Crowdfunding Lawsuits               United     News & Information    Policy & Public        Not available
             View Release                        States     Service               Interest


             KAZT IND-7 (Phoenix/Prescott, AZ)   United     Broadcast Media       Media &                Not available
             View Release                        States                           Information


             KRHD-TV ABC-40 (Bryan-College       United     Broadcast Media       Media &                Not available
             Station, TX)                        States                           Information
             View Release


             KFMB 760-AM (San Diego, CA)         United     Broadcast Media       Media &                Not available
             View Release                        States                           Information


             Streaming Business News             United     News & Information    Media &                Not available
             View Release                        States     Service               Information


             Panorama Daily                      global     News & Information    Media &                Not available
             View Release                                   Service               Information


             Operation Deepdown                  United     News & Information    Media &                Not available
             View Release                        States     Service               Information


             NYCLA - New York County             United     News & Information    Policy & Public        Not available
             Lawyers' Association                States     Service               Interest
             View Release


             NorthStar News                      United     Online News Sites &   Multicultural &        Not available
             View Release                        States     Other Influencers     Demographic


             News Throttle                       United     News & Information    Media &                Not available
             View Release                        States     Service               Information


             Money.ca                            Canada     News & Information    Financial              Not available
             View Release                                   Service


             KSTC-TV IND-45 (Saint Paul, MN)     United     Broadcast Media       Media &                Not available
             View Release                        States                           Information


             Leadership for LIFE                 United     News & Information    Media &                Not available
             View Release                        States     Service               Information


             Global Newsweek                     global     News & Information    Media &                Not available
             View Release                                   Service               Information


             AssignmentEditor.com                global     News & Information    Media &                Not available
             View Release                                   Service               Information


             AP [American Press] Newswroom       United     News & Information    Media &                Not available
             View Release                        States     Service               Information


Visitors per Day data from comScore, Inc is used to provide an indication of the potential audience for your press
release. comScore, Inc does not provide data for all websites in our network.
        Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 114 of 178 PageID #:
                                            1901




Traffic

                      11,708
                     Release Views




Traffic Summary
Release Views Trends
See when the traffic to your release occured.




                                                                   Total Release Views by Day
                  1000000



                   10000   5 232
                             3 3787
                                 526
                         2 917   1 780
                                                                                     790
  Release Views




                           2 156
                                                                                                         404
                                                                                                       368  326
                                                                                                          313 289204
                                    222                         132
                                                                  135
                                                                   131  136            166180
                                                                                         164172113         30 152 196
                                                                                                                    171139 85
                                      124104
                                         104                          130
                                                                     119 111
                                                                           114                 113                    121
                     100                  1
                                              98           94
                                     74 91 6683 726459536783 5765
                                                            6 2                   60
                                                                             503845 58     4  98
                                                                                                878 84
                                                                                                   64 88         4 12 102     100
                                                                                                                              100
                                                                                                                           8583
                                                     6                                                 7                     15
                                                                              5


                               346
                       1                        81      68                                                     86           47                               96           83                 51          96           61          45
                                                                   36           22          39      29                                  27        19                                  26                                                  41 30



                     0.01
                            2016-01-15

                                         2016-01-19

                                                      2016-01-23

                                                                   2016-01-27

                                                                                     2016-01-31

                                                                                                  2016-02-04

                                                                                                               2016-02-08

                                                                                                                                 2016-02-12

                                                                                                                                                2016-02-16

                                                                                                                                                             2016-02-20

                                                                                                                                                                               2016-02-24

                                                                                                                                                                                            2016-02-28

                                                                                                                                                                                                         2016-03-03

                                                                                                                                                                                                                           2016-03-07

                                                                                                                                                                                                                                        2016-03-11




                             Cumulative                                 Web Crawler Hits                                                      Our Network                                   Our Websites
                             Mobile Websites




Traffic by Asset
Views, plays and downloads of your release and any assets you included with it. Any views, etc. of assets
that can not be linked directly to this release are shown against each other further below 
 If you purchased Blue Buffalo pet foods or treats, you may be entitled to a Cash Refund from a class action                                                                                                                                    11,708 views
 settlement                                                                                                                                                                                                                                     16,346 web crawler hits




Traffic Details
   Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 115 of 178 PageID #:
                                       1902
This release has 11,708 views and 16,346 web crawler hits across all websites & networks.




Release Views & Web Crawler Hits
                                        Websites                                 Views/Hits


                                        Views On Our Websites                        6,305


                                        Mobile Views On Our Apps & Websites          5,247


                                         Views On Our Network (25)                    156


                                            TheStreet.com                               41


                                            Bizjournals.com, Inc.                       39


                                            KFDA CBS-10 (Amarillo, TX)                  25


                                            KSWO-TV ABC-7 (Lawton, OK)                   7


                                            WRCB-TV NBC-3 (Chattanooga, TN)              6


                                            KWTV-TV CBS-9 (Oklahoma City, OK)            6
  Views on Our Websites
                                            WFMJ-TV NBC-21 (Youngstown, OH)              4
  Mobile views on our apps & websites
  Views on Our Network
                                            Not Available                                4
  Web Crawler Hits
                                            WLNE-TV ABC-6 (Providence, RI)               3


                                            WWBT NBC-12 (Richmond, VA)                   2


                                            WTOL CBS-11 (Toledo, OH)                     2


                                            WLOX ABC-13 (Biloxi, MS)                     2


                                            KWES-TV NBC-9 (Midland, TX)                  2


                                            KFMB-TV CBS-8 (San Diego, CA)                2


                                            WTOC CBS-11 (Savannah, GA)                   1


                                            WTLH-TV FOX-49 (Tallahassee, FL)             1


                                            WBOY-TV NBC-12 (Clarksburg, WV)              1


                                            The State Journal (Charleston, WV)           1


                                            New York Business Journal                    1


                                            KUSI-TV IND-51 (San Diego, CA)               1


                                            KTVN-TV CBS-2 (Reno, NV)                     1


                                            KLKN ABC-8 (Lincoln, NE)                     1


                                            KCEN-TV NBC-9 (Temple, TX)                   1


                                            KCBD NBC-11 (Lubbock, TX)                    1


                                        Total                                      28,054
    Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 116 of 178 PageID #:
                                        1903
                                       Websites                                                     Views/Hits


                                           Business Review (Albany)                                          1


                                       Web Crawler Hits                                               16,346


                                       Total                                                          28,054




Traffic Sources
See where your traffic originated, whether from search engines, social networks, or other sources, or how
many visits were directly to the release. 
 Traffic Sources                                                      Instances


 Direct                                                                  1,734


  Search Engines (5)                                                    8,937


      Google                                                             8,592


      Yahoo!                                                               280


      Ask.com                                                               56


      Bing                                                                   8


      AOL                                                                    1


  Social Media (2)                                                        452


      Facebook                                                             443    Direct
                                                                                  Search Engines
      Twitter                                                                9
                                                                                  Social Media
                                                                                  our sites        Webmail
  Our Sites (1)                                                           111
                                                                                  Other Sites
      prnewswire.com                                                       111


  Webmail (1)                                                               2


      mail.twc.com                                                           2


  Other Sites (32)                                                        230


      search.xfinity.com                                                    68


      2peasrefugees.boards.net                                              60


      finance.yahoo.com                                                     29


      search.myway.com                                                      10


      start.centurylink.net                                                  9


      fiostrending.verizon.com                                               6


      search.earthlink.net                                                   5


      wowway.net                                                             5


 Total                                                                 11,466
   Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 117 of 178 PageID #:
                                       1904
Traffic Sources                                  Instances


     search.mywebsearch.com                             3


     isearch.avg.com                                    3


     search.brighthouse.rr.com                          3


     flipboard.com                                      2


     apicdn.viglink.com                                 2


     centurylink.net                                    2


     cincinnatibell.net                                 2


     forum.purseblog.com                                2


     startjuno.com                                      2


     glassdoor.com                                      2


     newschannel10.com                                  2


     amazon.com                                         1


     bizjournals.com                                    1


     m.2peasrefugees.boards.net                         1


     news.sys-con.com                                   1


     link.tapatalk.com                                  1


     wrcbtv.com                                         1


     search.twcc.com                                    1


     websearch.rakuten.co.jp                            1


     portal.tds.net                                     1


     start.toshiba.com                                  1


     wboy.com                                           1


     inoreader.com                                      1


     searchlock.com                                     1


Total                                             11,466
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 118 of 178 PageID #:
                                    1905

                                  Search Engine Keywords
                                  The search terms that visitors to your release use to find it. Note that
                                  Google increasingly does not make this data available. 

                                  Google keywords not available: 5079
                                   Google       blue buffalo settlement claim form


                                                petfoodsettlement.com


                                                www.petfoodsettlement.com


                                                blue buffalo class action lawsuit claim form


 if you purchased blue buffa...                 blue buffalo lawsuit

 if you purchase blue buffal...
                                                blue buffalo settlement clain form
 you must visit www.petfoods...
 blue buffalo settlement cla...                 blue dog food refund
 blue wilderness lawsuit award
 The rest                                       blue settlement


                                                blue wilderness class action


                                                pet food class action


                                                www.petfoodsettlement


                                                blue buffalo lawsuit claim form


                                                pet food settlement blue buffalo


                                                blue buffalo claim form


                                                blue buffalo claim


                                                http://www.prnewswire.com/news-releases/if-you-purchased-blue-buffalo-pet-foods-or-treats-


                                                lawsuit against blue buffalo


                                                pet food class action lawsuit


                                                pet food settlement


                                   Bing         Not Available


                                                blue buffalo class action claim form


                                                blue buffalo cash refund


                                                blue buffalo refund


                                                if you purchased blue buffalo


                                   Yahoo        how to file a claim for blue buffalo class action


                                                blue buffalo class action how to join


                                   Ask Jeeves   if you purchased blue buffalo pet foods or treats


                                                if you purchase blue buffalo pet foods or treats


                                   Total
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 119 of 178 PageID #:
                                    1906
                                    you must visit www.petfoodsettlement.com


                                    blue buffalo settlement claim form


                                    blue wilderness lawsuit award


                                    blue buffalo class action lawsuit


                                    https://www.petfood settlement.com


                                    petfoodsettlement.com


                                    www.petfoodsettlement.com


                                    Not Available


                                    is there a class action suit against blue buffalo dog food and treats


                            AOL     if you purchased blue


                            Total
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 120 of 178 PageID #:
                                          1907




Audience

                                                                                 86                                                                                                      988
                                                                              Media Views                                                                                           Organization Views



Audience Summary

Media Demographics
A break down of the industries covered, the media types and the locations of the journalists & bloggers accessing your
release on PR Newswire for Journalists.


Top Industries                                                                              Top Media Types                                                                         Top Countries
 60                                                                                         50



                                                                                            40


 40
                                                                                            30



                                                                                            20

 20

                                                                                            10



                                                                                             0
  0                                                                                                                                                                                        India
                                                                                                                                           Freelance/Writer

                                                                                                                                                              Newspaper

                                                                                                                                                                          Blogger
                                                                                                                       Trade Periodicals
                                                                                                 Web/On-Line Service




                                                                                                                                                                                           United States
       Technology

                    Financial Services



                                                 Public Issues
                                         Media



                                                                 Healthcare




                                                                                                                                                                                           Germany
                                                                                                                                                                                           United Kingdom
                                                                                                                                                                                           France          The rest




Geo-segmentation
See where views of your release originated. 
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 121 of 178 PageID #:
                                      1908
                     Views by country                >0
                                                     1 - 10
                                                     10 - 30
                                                     30 - 100
                                                     100 - 300
                                                     300 - 1 000
                                                     > 1 000




                       Views by state




                                                     >0
                                                     1 - 10
                                                     10 - 30
                                                     30 - 100
                                                     100 - 300
                                                     300 - 1 000
                                                     > 1 000
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 122 of 178 PageID #:
                                            1909
                          Views by province




                                                                                                       >0
                                                                                                       1 - 10
                                                                                                       10 - 30
                                                                                                       30 - 100
                                                                                                       100 - 300
                                                                                                       300 - 1 000
                                                                                                       > 1 000



                                           Views by country




                                                                                                       >0
                                                                                                       1 - 10
                                                                                                       10 - 30
                                                                                                       30 - 100
                                                                                                       100 - 300
                                                                                                       300 - 1 000
                                                                                                       > 1 000




Audience Details

Media Views
See the details of each media outlet from PR Newswire for Journalists that viewed your release.
 Outlet                     Industry                                                    Media Type                              Country         Views 


 MMI Online                 Auto, Broadcast, Consumer Products, Energy,                 Blogger, Consumer Periodicals,          India                2
                            Entertainment, Environment, Features, Financial Services,   Freelance/Writer, Newspaper, Other,
                            General Business, Healthcare, Heavy Industry, Media,        Radio, Television, Trade Periodicals,
                            Other, Public Issues, Sports, Technology, Transportation,   Web/On-Line Service, Wire Service,
                            Travel,


 Urner Barry publications   Other,                                                      Other,                                  United States        2


 MediahawkZ India Ltd.      Auto, Broadcast, Entertainment, Environment, Healthcare,    Web/On-Line Service,                    India                2
                            Media, Public Issues, Sports, Technology, Transportation,
                            Travel,

 Total                                                                                                                                              86
    Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 123 of 178 PageID #:
                                        1910

Global Print Monitor        Auto, Consumer Products, Energy, Environment, Features,      Trade Periodicals, Web/On-Line          Germany           2
                            General Business, Heavy Industry, Media, Other,              Service,
                            Technology,


Findable.in                 Other,                                                       Web/On-Line Service,                    India             1


Login Media Publishing      Entertainment,                                               Other,                                  India             1


CouponDaddy                 Consumer Products, Financial Services, General Business,     Blogger, Freelance/Writer,              India             1
                            Media, Technology, Travel,


Black El Paso Chronicle     Consumer Products, Entertainment, Environment, General       Blogger, Freelance/Writer, Newspaper,   United States     1
                            Business, Healthcare, Media, Other, Public Issues, Sports,   Radio, Television,
                            Technology, Travel,


Coffee Everyday with        Consumer Products, Entertainment, Healthcare, Other,         Blogger,                                United States     1
Momma                       Public Issues, Technology, Travel,


Gonzo Today                 Public Issues,                                               Freelance/Writer,                       Germany           1


rajasthan patrika           Auto, Broadcast, Consumer Products, Energy,                  Blogger, Consumer Periodicals,          India             1
                            Entertainment, Environment, Features, Financial Services,    Freelance/Writer, Newspaper, Other,
                            General Business, Healthcare, Heavy Industry, Media,         Radio, Television, Trade Periodicals,
                            Other, Public Issues, Sports, Technology, Transportation,    Web/On-Line Service, Wire Service,
                            Travel,


Healtheventz                Broadcast, Environment, Healthcare,                          Blogger, Consumer Periodicals,          India             1
                                                                                         Freelance/Writer, Newspaper, Other,
                                                                                         Radio, Television, Trade Periodicals,
                                                                                         Web/On-Line Service, Wire Service,


                            ,                                                            ,                                                         1


The Boulevard               Entertainment, Environment, Features, Financial Services,    Freelance/Writer, Newspaper,            United States     1
                            General Business, Healthcare, Media, Public Issues,          Web/On-Line Service,
                            Technology,


NouvelObs, Le Petit         Auto, Broadcast, Consumer Products, Energy,                  Blogger, Consumer Periodicals,          France            1
Journal,                    Entertainment, Environment, Features, Financial Services,    Freelance/Writer, Newspaper, Other,
                            General Business, Healthcare, Heavy Industry, Media,         Radio, Trade Periodicals, Web/On-
                            Other, Public Issues, Sports, Technology, Transportation,    Line Service, Wire Service,
                            Travel,


SNL Financial               Broadcast, Energy, Financial Services, Media,                Web/On-Line Service,                    Philippines       1


Bhopal Samachar             Auto, Broadcast, Consumer Products, Energy,                  Blogger,                                India             1
                            Entertainment, Environment, Features, Financial Services,
                            General Business, Healthcare, Heavy Industry, Media,
                            Other, Public Issues, Sports, Technology, Transportation,
                            Travel,


Mergermarket                Healthcare,                                                  Web/On-Line Service,                    United States     1


HSFC                        Auto, Broadcast, Consumer Products, Energy,                  Blogger,                                United Kingdom    1
                            Entertainment, Environment, Features, Financial Services,
                            General Business, Healthcare, Heavy Industry, Media,
                            Other, Public Issues, Sports, Technology, Transportation,
                            Travel,


Dainik Bhaskar              Auto, Other,                                                 Web/On-Line Service,                    India             1


CS Direkt                   Entertainment,                                               Freelance/Writer,                       India             1


Digital Finance News        Technology,                                                  Web/On-Line Service,                    Switzerland       1


FH DORTMUND                 Other,                                                       Other,                                  Germany           1


LexisNexis                  Other,                                                       Trade Periodicals, Web/On-Line          United States     1
                                                                                         Service,


Insight Publications, LLC   Energy, Features, General Business, Healthcare, Heavy        Blogger, Trade Periodicals, Web/On-     United States     1
                            Industry, Technology, Transportation,                        Line Service,

Total                                                                                                                                             86
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 124 of 178 PageID #:
                                          1911

L'Atelier               Auto, Broadcast, Consumer Products, Energy,                   Blogger, Consumer Periodicals,          Canada           1
                        Entertainment, Environment, Features, Financial Services,     Freelance/Writer, Newspaper, Other,
                        General Business, Healthcare, Heavy Industry, Media,          Radio, Television, Trade Periodicals,
                        Other, Public Issues, Sports, Technology, Transportation,     Web/On-Line Service, Wire Service,
                        Travel,


Victoria Media          Auto, Broadcast, Consumer Products, Energy,                   Other,                                  Finland          1
                        Entertainment, Environment, Features, Financial Services,
                        General Business, Healthcare, Heavy Industry, Media,
                        Other, Public Issues, Sports, Technology, Transportation,
                        Travel,


Clearwind Media         Auto, Broadcast, Consumer Products, Energy,                   Television,                             United States    1
                        Environment, Features, Financial Services, General
                        Business, Healthcare, Heavy Industry, Media, Other,
                        Technology, Transportation, Travel,


Bridge Street Journal   Auto, Broadcast, Consumer Products, Energy,                   Blogger, Consumer Periodicals,          Australia        1
                        Entertainment, Environment, Features, Financial Services,     Freelance/Writer, Newspaper, Other,
                        General Business, Healthcare, Heavy Industry, Media,          Radio, Television, Trade Periodicals,
                        Other, Public Issues, Sports, Technology, Transportation,     Web/On-Line Service, Wire Service,
                        Travel,


NewsRx                  Auto, Broadcast, Consumer Products, Energy,                   Web/On-Line Service,                    United States    1
                        Entertainment, Environment, Features, Financial Services,
                        General Business, Healthcare, Heavy Industry, Media,
                        Other, Public Issues, Sports, Technology, Transportation,
                        Travel,


PV Solar Report         Energy,                                                       Web/On-Line Service,                    United States    1


PR Newswire             Auto, Broadcast, Consumer Products, Energy,                   Blogger, Consumer Periodicals,          Singapore        1
                        Entertainment, Environment, Features, Financial Services,     Freelance/Writer, Newspaper, Other,
                        General Business, Healthcare, Heavy Industry, Media,          Radio, Television, Trade Periodicals,
                        Other, Public Issues, Sports, Technology, Transportation,     Web/On-Line Service, Wire Service,
                        Travel,


MMP, USA                Auto, Broadcast, Consumer Products, Energy,                   Television,                             United States    1
                        Entertainment, Environment, Features, Financial Services,
                        General Business, Healthcare, Heavy Industry, Media,
                        Other, Public Issues, Sports, Technology, Transportation,
                        Travel,


Reuters                 Other,                                                        Wire Service,                           United States    1


LiveMedia360            Consumer Products, Energy, Environment, Features,             Blogger, Freelance/Writer, Other,       United States    1
                        Financial Services, General Business, Healthcare, Heavy
                        Industry, Media, Public Issues, Technology, Transportation,


www.nextfm.gr           Entertainment,                                                Radio,                                  Greece           1


N.A                     General Business,                                             Newspaper, Radio, Television, Trade     India            1
                                                                                      Periodicals, Web/On-Line Service,


xHubb | expanding       Auto, Broadcast, Consumer Products, Energy,                   Web/On-Line Service,                    Netherlands      1
networks                Entertainment, Environment, Features, Financial Services,
                        General Business, Healthcare, Heavy Industry, Media,
                        Other, Public Issues, Sports, Technology, Transportation,
                        Travel,


Clear Wind Media        Auto, Broadcast, Consumer Products, Energy,                   Freelance/Writer, Television,           United States    1
                        Entertainment, Environment, Features, Financial Services,
                        General Business, Healthcare, Heavy Industry, Media,
                        Other, Public Issues, Sports, Technology, Transportation,
                        Travel,


The Holland Sentinel    Auto, Consumer Products, Energy, General Business,            Newspaper,                              United States    1
                        Heavy Industry, Technology, Travel,


CNW Group               Media,                                                        Wire Service,                           Canada           1


Newport Buzz            Auto, Broadcast, Consumer Products, Energy,                   Blogger,                                United States    1
                        Entertainment, Environment, Features, Financial Services,
                        General Business, Healthcare, Heavy Industry, Media,
                        Other, Public Issues, Sports, Technology, Transportation,
                        Travel,

Total                                                                                                                                         86
       Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 125 of 178 PageID #:
                                           1912

Freelancer                Broadcast, Consumer Products, Entertainment,                  Consumer Periodicals,                  India            1
                          Environment, Features, Financial Services, General            Freelance/Writer, Newspaper, Trade
                          Business, Healthcare, Media, Public Issues, Technology,       Periodicals,
                          Transportation, Travel,


Express Computer          Auto, Broadcast, Consumer Products, Energy,                   Freelance/Writer,                      India            1
                          Entertainment, Features, Financial Services, Healthcare,
                          Media, Other, Public Issues, Sports, Technology,
                          Transportation, Travel,


PRESS TRUST OF INDIA      Auto, Broadcast, Consumer Products, Energy,                   Wire Service,                          India            1
                          Entertainment, Features, Financial Services, Healthcare,
                          Media, Other, Public Issues, Sports, Technology,
                          Transportation, Travel,


The Times of India        Auto, Broadcast, Consumer Products, Energy,                   Newspaper,                             India            1
                          Entertainment, Features, Financial Services, Healthcare,
                          Media, Other, Public Issues, Sports, Technology,
                          Transportation, Travel,


MarketWatch               Financial Services,                                           Web/On-Line Service,                   United States    1


Latitudes & Attitudes     Features, Financial Services, General Business, Public        Blogger, Consumer Periodicals,         France           1
                          Issues, Technology, Travel,                                   Freelance/Writer, Trade Periodicals,
                                                                                        Web/On-Line Service,


Indo-Asian News Service   Auto, Broadcast, Consumer Products, Energy,                   Wire Service,                          India            1
                          Entertainment, Environment, Features, Financial Services,
                          General Business, Healthcare, Heavy Industry, Media,
                          Other, Public Issues, Sports, Technology, Transportation,
                          Travel,


www.BackgroundNow.com     Consumer Products, Entertainment, Environment, Features,      Blogger, Freelance/Writer,             India            1
                          Financial Services, General Business, Healthcare, Heavy
                          Industry, Media, Public Issues, Technology, Transportation,
                          Travel,


Dow Jones Newswires       Features, Financial Services, Media, Public Issues,           Wire Service,                          United States    1


WNBC.com                  Auto, Broadcast, Consumer Products, Energy,                   Web/On-Line Service,                   United States    1
                          Entertainment, Features, Financial Services, Healthcare,
                          Media, Other, Public Issues, Sports, Technology,
                          Transportation, Travel,


Wolters Kluwer Health     Healthcare,                                                   Trade Periodicals,                     United States    1


Mealey Publications       Other,                                                        Trade Periodicals,                     United States    1


ResourceShelf.Com         Entertainment, Financial Services, Media, Other,              Web/On-Line Service,                   United States    1
                          Technology,


HCI, INC.                 Other,                                                        Other,                                 United States    1
(WPHM,WBTI,WHYT)


The Woman's Newspapers    Auto, Broadcast, Consumer Products, Energy,                   Newspaper,                             United States    1
                          Entertainment, Features, Financial Services, Healthcare,
                          Media, Other, Public Issues, Sports, Technology,
                          Transportation, Travel,


Silver Marketing Group    Auto, Broadcast, Consumer Products, Energy,                   Consumer Periodicals, Newspaper,       United States    1
                          Entertainment, Features, Financial Services, Healthcare,      Trade Periodicals, Web/On-Line
                          Media, Other, Public Issues, Sports, Technology,              Service,
                          Transportation, Travel,


National Underwriter      Financial Services, Healthcare,                               Trade Periodicals,                     United States    1


TMC                       Media, Technology,                                            Trade Periodicals, Web/On-Line         United States    1
                                                                                        Service,


self                      Other,                                                        Freelance/Writer,                      United States    1


Sampark Public Reations   Auto, Broadcast, Consumer Products, Energy,                   Other,                                 India            1
                          Entertainment, Environment, Features, Financial Services,
                          General Business, Healthcare, Heavy Industry, Media,
                          Public Issues, Sports, Technology, Transportation, Travel,


Total                                                                                                                                          86
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 126 of 178 PageID #:
                                         1913

Women in Business            Consumer Products, Entertainment, Environment, Features,     Blogger, Consumer Periodicals,        United States     1
magazine                     General Business, Healthcare, Media, Other, Public Issues,   Freelance/Writer, Other, Trade
                             Technology,                                                  Periodicals, Web/On-Line Service,


agriculturenewsline          Consumer Products, Environment, Financial Services,          Web/On-Line Service,                  India             1
                             General Business, Other, Public Issues, Technology,


Castleford Media Pty Ltd     Auto, Broadcast, Consumer Products, Energy,                  Web/On-Line Service,                  Australia         1
                             Entertainment, Environment, Features, Financial Services,
                             General Business, Healthcare, Heavy Industry, Media,
                             Other, Public Issues, Sports, Technology, Transportation,
                             Travel,


Newsquest                    Auto, Consumer Products, Energy, Environment, Features,      Blogger, Consumer Periodicals,        United Kingdom    1
                             Financial Services, General Business, Heavy Industry,        Freelance/Writer, Newspaper, Trade
                             Media, Public Issues, Technology, Transportation, Travel,    Periodicals, Web/On-Line Service,


www.pluggd.in                Auto, Broadcast, Consumer Products, Entertainment,           Web/On-Line Service,                  India             1
                             Environment, Features, Financial Services, General
                             Business, Media, Other, Public Issues, Technology, Travel,


UNI TV                       Auto, Broadcast, Consumer Products, Energy,                  Television,                           India             1
                             Environment, Features, Financial Services, General
                             Business, Healthcare, Heavy Industry, Media, Public
                             Issues, Technology, Transportation,


WOOD RADIO                   Auto, Broadcast, Consumer Products, Energy,                  Radio,                                United States     1
                             Entertainment, Environment, Features, Financial Services,
                             General Business, Healthcare, Heavy Industry, Media,
                             Other, Public Issues, Sports, Technology, Transportation,
                             Travel,


Quartz Business Media        Auto, Consumer Products, Energy, Environment, Features,      Trade Periodicals,                    United Kingdom    1
                             General Business, Media, Technology, Transportation,


www.pinkooo.com              Auto, Consumer Products, Energy, Entertainment,              Web/On-Line Service,                  India             1
                             Environment, Features, Financial Services, General
                             Business, Healthcare, Heavy Industry, Media, Other, Public
                             Issues, Sports, Technology, Transportation, Travel,


TelecomLead.com              Auto, Broadcast, Consumer Products, Energy,                  Consumer Periodicals, Wire Service,   India             1
                             Entertainment, Environment, Features, Financial Services,
                             General Business, Healthcare, Heavy Industry, Media,
                             Public Issues, Sports, Technology, Transportation, Travel,


Next-finance                 Financial Services,                                          Web/On-Line Service,                  France            1


www.currentnewsaffairs.com   Broadcast, Energy, Entertainment, Environment, Financial     Other, Web/On-Line Service,           India             1
                             Services, General Business, Healthcare, Media, Public
                             Issues, Technology,


Times of India Gujarat       Auto, Broadcast, Consumer Products, Energy,                  Newspaper,                            India             1
                             Entertainment, Environment, Features, Financial Services,
                             General Business, Healthcare, Heavy Industry, Media,
                             Other, Public Issues, Sports, Technology, Transportation,
                             Travel,


NA                           Financial Services, Other, Public Issues, Technology,        Other,                                India             1


IB Times                     Auto, Consumer Products, Energy, Entertainment,              Newspaper,                            India             1
                             Environment, Features, Financial Services, General
                             Business, Healthcare, Heavy Industry, Media, Public
                             Issues, Technology, Transportation,


Myiris.com                   Auto, Broadcast, Consumer Products, Energy,                  Web/On-Line Service,                  India             1
                             Entertainment, Environment, Features, Financial Services,
                             General Business, Healthcare, Heavy Industry, Media,
                             Other, Public Issues, Sports, Technology, Transportation,
                             Travel,


Spenta Multimedia            Auto, Broadcast, Consumer Products, Energy,                  Newspaper,                            India             1
                             Entertainment, Environment, Features, Financial Services,
                             General Business, Healthcare, Heavy Industry, Media,
                             Other, Public Issues, Sports, Technology, Transportation,
                             Travel,

Total                                                                                                                                            86
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 127 of 178 PageID #:
                                          1914

 Business Standard                        Auto, Consumer Products, Energy, Environment, Features,      Newspaper,                                         India                      1
                                          Financial Services, General Business, Healthcare, Heavy
                                          Industry, Public Issues, Transportation, Travel,


 American Ship Review                     General Business, Heavy Industry, Transportation,            Trade Periodicals,                                 United States              1


 Global Legal Group                       Financial Services, General Business,                        Trade Periodicals,                                 United Kingdom             1

 Total                                                                                                                                                                              86




Organization Views
See which organizations have viewed your release
                                                                                                                                                                                  Views
 Organization                                Headquarters                                   Country   Location        Parent Organization                   Industry                 


 THE BUFFALO COMPANY LLC                     90 COMMERCE ST                                 US        UNITED                                                                         8
                                                                                                      STATES


 PetSmart, Inc.                              19601 N. 27th Avenue                           US        UNITED          PetSmart, Inc.                        Retail                   8
                                                                                                      STATES


 Jasper Technologies Inc                     1735 Lundy Ave                                 US        UNITED          Jasper Technologies Inc               Software & Internet      7
                                                                                                      STATES


 BHN TPA Division                            1218 Millennium Parkway Customer Address:      US        UNITED                                                                         6
                                                                                                      STATES


 TPA-Division - CFL                          1218 Millennium Parkway                        US        UNITED                                                                         6
                                                                                                      STATES


 The Pennsylvania State University           105 USB 2                                      US        UNITED          Penn State University                 Education                6
                                                                                                      STATES


 A.G. Edwards & Sons, Inc.                   One North Jefferson                            US        UNITED                                                                         6
                                                                                                      STATES


 ORG-GENER-72                                                                                         UNITED                                                                         5
                                                                                                      STATES


 Department of Veterans Affairs              810 Vermont Ave., NW                           US        UNITED          US Department of Veterans Affairs     Government               5
                                                                                                      STATES


 Headquarters, USAISC                        NETC-ANC CONUS TNOSC                           US        UNITED          Army Network Enterprise               Government               5
                                                                                                      STATES          Technology Command (NETCOM)


 Com-South                                   250 Broad Street                               US        UNITED          COMSOUTH                              Telecommunications       5
                                                                                                      STATES          TELECOMMUNICATIONS INC


 National Aeronautics and Space              IS05/Office of the Chief Information Officer   US        UNITED          National Aeronautics and Space        Government               5
 Administration                                                                                       STATES          Administration (NASA)


 Mayer Brown LLP                             71 S. Wacker                                   US        UNITED          Mayer Brown Rowe & Maw LLP            Law Firms & Legal        4
                                                                                                      STATES                                                Services


 State Farm Mutual Automobile Insurance      3 State Farm Plaza South                       US        UNITED          State Farm Mutual Automobile          Insurance                4
 Company                                                                                              STATES          Insurance Company


 Musicam USA                                 670 North Beers Street Bldg. #4                US        UNITED          MUSICAM USA                           Manufacturing            4
                                                                                                      STATES


 Ford Motor Company                          P.O. Box 2053, RM E-1121                       US        UNITED          Ford Motor Company                    Manufacturing            4
                                                                                                      STATES


 State of Maryland                           45 Calvert Street, Rm 418                      US        UNITED          State Highway                         Government               4
                                                                                                      STATES


 Sonoma State University                     1801 East Cotati Avenue                        US        UNITED          Sonoma State University               Education                4
                                                                                                      STATES



 SMART CARPET INC                            1913 ATLANTIC AV                               US        UNITED          SMART Carpet Inc                      Retail                   4
                                                                                                      STATES


 754th Electronic Systems Group              501 E. Moore Drive                             US        UNITED          United States Air Force               Government               4
                                                                                                      STATES


 Georgia Institute of Technology             258 Fourth St NW Rich Building                 US        UNITED          Georgia Institute of Technology       Education                4
                                                                                                      STATES


 Total                                                                                                                                                                              988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 128 of 178 PageID #:
                                         1915

Eclipse (TX)                                                                                      UNITED                                                              4
                                                                                                  STATES


COPA-CENTRAL SERVICES CO                     1 TECHNOLOGY PARK                               US   UNITED   Commonwealth of Pennsylvania      Government               4
                                                                                                  STATES


The St. Paul Travelers Companies, Inc.       385 Washington Street Mail Code 515A            US   UNITED   Travelers Companies               Insurance                4
                                                                                                  STATES


IMS TRADING CORP                             34 PASSAIC ST                                   US   UNITED                                                              3
                                                                                                  STATES


Social Security Administration               6401 Security Boulevard                         US   UNITED   Social Security Administration.   Real Estate &            3
                                                                                                  STATES                                     Construction


Administrative Office of The United States   Hosting Center Address                               UNITED                                                              3
Courts SID-19043                                                                                  STATES


University of California, Davis              One Shields Avenue                              US   UNITED                                     Education                3
                                                                                                  STATES


City of Wyandotte                            Hosting Center Address                          US   UNITED   Wyandotte LLC                     Transportation &         3
                                                                                                  STATES                                     Storage


Wells Fargo & Company                        420 Montgomery ST                               US   UNITED   Wells Fargo & Company             Financial Services       3
                                                                                                  STATES


GLBB Japan KK                                                                                JP   JAPAN                                                               3


Purdue University                            Information Technology 155 S. Grant Street      US   UNITED   Purdue University                 Education                3
                                                                                                  STATES


Frankfort Plant Board                        PO Box 308                                      US   UNITED   Frankfort Plant Board Cable       Telecommunications       3
                                                                                                  STATES


Hewitt Associates                            100 Half Day Road                               US   UNITED   Hewitt Associates LLC             Financial Services       3
                                                                                                  STATES


Wilbur-Ellis-Company                         16300 Christensen Rd, Suite 135                 US   UNITED                                                              3
                                                                                                  STATES


Michigan State Government                    DMB Office of Information                       US   UNITED   State of Michigan                 Government               3
                                                                                                  STATES


Liberty Mutual Group                         225 Borthwick Avenue                            US   UNITED   Liberty Mutual Inc                Insurance                3
                                                                                                  STATES


CBS Corporation                              524 West 57th Street                            US   UNITED   CBS News                          Media & Entertainment    3
                                                                                                  STATES


HCA Hospital Corporation of America          2555 Park Plaza                                 US   UNITED   HCA Inc.                          Healthcare,              3
                                                                                                  STATES                                     Pharmaceuticals, &
                                                                                                                                             Biotech


Anadarko Petroleum Corporation               1201 Lake Robbins Dr.                           US   UNITED   Anadarko Petroleum Corporation    Energy & Utilities       3
                                                                                                  STATES


Apple Inc.                                   20400 Stevens Creek Blvd., City Center Bldg 3   US   UNITED   Apple Inc.                        Manufacturing            3
                                                                                                  STATES


ThinkTech, Inc                               4211 South 102nd Street                         US   UNITED                                                              3
                                                                                                  STATES


SunTrust Service Corporation                 250 Piedmont Ave. NE                            US   UNITED   SunTrust Banks , Inc.             Financial Services       3
                                                                                                  STATES


R.R. Donnelley & Sons Company                4101 Winfield Road                              US   UNITED   R.R. Donnelley & Sons Company     Business Services        3
                                                                                                  STATES


Adam Chesler06292011081945241                Hosting Center Address                               UNITED                                                              3
                                                                                                  STATES


Wellstar Health System                       805 Sandy Plains Road                           US   UNITED   WellStar Health System Inc        Healthcare,              3
                                                                                                  STATES                                     Pharmaceuticals, &
                                                                                                                                             Biotech


McLain & Merritt PC                          3445 PEACHTREE RD NESuite 500                   US   UNITED   McLain & Merritt P.C              Law Firms & Legal        3
                                                                                                  STATES                                     Services


FedEx                                        70 FedEx Parkway                                US   UNITED   FedEx Corporation                 Transportation &         3
                                                                                                  STATES                                     Storage


FOX ROTHSCHILD LLP                           2000 Market Street, 20th Floor                  US   UNITED   Fox Rothschild LLP                Law Firms & Legal        3
                                                                                                  STATES                                     Services


Total                                                                                                                                                                988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 129 of 178 PageID #:
                                          1916

INC GLOBESPEC                               370 S MAIN PL                                    US   UNITED                                                              3
                                                                                                  STATES


Arapahoe County                             5334 S Prince St                                 US   UNITED   Arapahoe Community College         Education               3
                                                                                                  STATES


CommSpeed LLC                               7411 E. Addis Ave                                US   UNITED   CommSpeed LLC                      Software & Internet     3
                                                                                                  STATES


MetLife                                     27-01 Queens Plaza North                         US   UNITED   Metropolitan Life Insurance        Insurance               3
                                                                                                  STATES   Company


Cargill, Inc.                               9380 Excelsior Boulevard                         US   UNITED   Cargill Incorporated               Agriculture & Mining    3
                                                                                                  STATES


Texas Christian University                  2200 S. University Blvd.                         US   UNITED   Texas Christian University         Education               3
                                                                                                  STATES


PEPPERCOM                                   470 Park Avenue South                            US   UNITED   Peppercom Inc                      Business Services       2
                                                                                                  STATES


Generator Media 353 LexingtonNYC            353 Lexington                                    US   UNITED                                                              2
                                                                                                  STATES


JPMorgan Chase & Co.                        120 Broadway                                     US   UNITED   JPMorgan Chase & Co.               Financial Services      2
                                                                                                  STATES


State University of New York, Health        750 East Adams Street                            US   UNITED                                                              2
Science Center at Syracuse                                                                        STATES


Mayo Foundation for Medical Education and   200 First Street Southwest                       US   UNITED   Mayo Foundation for Medical        Non-Profit              2
Research                                                                                          STATES   Education and Research


Marsh Inc.                                  1166 Avenue of the Americas                      US   UNITED   Marsh Inc                          Financial Services      2
                                                                                                  STATES


Facebook Inc                                1601 Wilow Road                                  US   UNITED   Facebook                           Business Services       2
                                                                                                  STATES


LexisNexis                                  9333 Springboro Pike                             US   UNITED                                      Business Services       2
                                                                                                  STATES


HiPoint Technology Services, Inc            5533 Lincoln Avenue                              US   UNITED   HiPoint Technology Services Inc.   Software & Internet     2
                                                                                                  STATES


Vellore                                                                                      IN   INDIA                                                               2


Northrop Grumman Corp.                      Northrop Grumman Corporation 925 South Oyster    US   UNITED   Northrop Grumman Corporation       Manufacturing           2
                                            Bay Road                                              STATES


Consolidated Edison Co. of New York, Inc.   4 Irving Place                                   US   UNITED   Consolidated Edison Company Of     Energy & Utilities      2
                                                                                                  STATES   New York, Inc.


BANK W HOLDINGS                                                                              US   UNITED                                                              2
                                                                                                  STATES


University of Michigan                      IT Communications Services 4251 Plymouth Road,   US   UNITED                                      Education               2
                                            Suite 2-2200                                          STATES


Lowe's Companies, Inc.                      1000 Lowe's Blvd                                 US   UNITED   Lowe's Companies, Inc.             Retail                  2
                                                                                                  STATES


Union Pacific Railroad Company              1400 DOUGLAS ST                                  US   UNITED   Union Pacific Railroad Company     Business Services       2
                                                                                                  STATES


Corporate Express                           1 Environmental Way                              US   UNITED   Staples Business Advantage         Retail                  2
                                                                                                  STATES


U.S. House of Representatives               2nd and D St SW                                  US   UNITED   U.S. House of Representatives      Manufacturing           2
                                                                                                  STATES


Lebanon Valley College                      101 North College Avenue                         US   UNITED   Lebanon Valley College             Education               2
                                                                                                  STATES


UNIQUE SYSTEMS                              4 SADDLE RD                                      US   UNITED   Unique Systems Inc                 Software & Internet     2
                                                                                                  STATES


University of Colorado                      Office of Information Technology PO Box 6508     US   UNITED   University of Colorado             Education               2
                                                                                                  STATES


KeyBank National Association                127 Public Square                                US   UNITED   Key companies                      Financial Services      2
                                                                                                  STATES


U.S. BANCORP                                One Meridian Crossings Mail Station: EP-MN-      US   UNITED   U.S. Bank                          Financial Services      2
                                            MS7N                                                  STATES


Total                                                                                                                                                                988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 130 of 178 PageID #:
                                          1917

HOTWIRE-ORG                                                                                    UNITED                                                                2
                                                                                               STATES


Bank of America                         2000 Clayton Road 100 N. Tryon St.                US   UNITED   Bank of America Corporation         Financial Services       2
                                                                                               STATES


Orange County Department of Education   200 Kalmus Drive                                  US   UNITED   Orange County Department of         Education                2
                                                                                               STATES   Education


The Goldman Sachs Group, Inc.           200 West Street                                   US   UNITED   Goldman Sachs                       Financial Services       2
                                                                                               STATES


Amazon Corporate LLC                    535 Terry Ave N                                   US   UNITED   Amazon.com Inc                      Consumer Services        2
                                                                                               STATES


Columbus Regional Health                2400 East 17th Street                             US   UNITED   Columbus Regional Health            Healthcare,              2
                                                                                               STATES                                       Pharmaceuticals, &
                                                                                                                                            Biotech


CSX Technology                          550 Water Street                                  US   UNITED   CSX Corporation                     Transportation &         2
                                                                                               STATES                                       Storage


COTTINGHAM & BUTLER                     1 CORPORATE DR SUIT 502                           US   UNITED                                                                2
                                                                                               STATES


PROFIT RECOVERY PARTNERS                18231 MC DURMOTT WEST                             US   UNITED   Profit Recovery Partners LLC        Business Services        2
                                                                                               STATES


Fidelity Investments                    82 Devonshire St.                                 US   UNITED   Fidelity Investments                Financial Services       2
                                                                                               STATES


CITY OF GAITHERSBURG                    31 SOUTH SUMMIT AVE.                              US   UNITED   City of Gaithersburg                Government               2
                                                                                               STATES


DOMINION DIGITAL INC                    4101 COX                                          US   UNITED   Dominion Digital, Inc.              Software & Internet      2
                                                                                               STATES


Oklahoma State Regents for Higher       655 Research Parkway                              US   UNITED   Oklahoma Municipal Retirement       Financial Services       2
Education                                                                                      STATES   Fund


OPGEN, INC.                             708 QUINCE ORCHARD RD                             US   UNITED   OpGen, Inc.                         Healthcare,              2
                                                                                               STATES                                       Pharmaceuticals, &
                                                                                                                                            Biotech


Armstrong World Industries, Inc.        AITS P.O. Box 3511 2500 Columbia Ave.             US   UNITED   Armstrong World Industries , Inc.   Manufacturing            2
                                                                                               STATES


Intermountain Health Care               4646 West Lake Park Blvd Fl. 22                   US   UNITED   Intermountain Health Care, Inc.     Healthcare,              2
                                                                                               STATES                                       Pharmaceuticals, &
                                                                                                                                            Biotech


Denison University                      100 West College Street                           US   UNITED   Denison University                  Education                2
                                                                                               STATES


Viacom Inc.                             1515 Broadway                                     US   UNITED   Viacom Inc.                         Media & Entertainment    2
                                                                                               STATES


Baycare Health System                   16255 Bay Vista Drive                             US   UNITED   BayCare Health System               Healthcare,              2
                                                                                               STATES                                       Pharmaceuticals, &
                                                                                                                                            Biotech


General Motors Corporation              100 Renaissance Center Internal Mail Code: 482-   US   UNITED   General Motors Corp.                Manufacturing            2
                                        A27-B24                                                STATES


University of Pennsylvania              3401 Walnut Street Suite 221A                     US   UNITED   University of Pennsylvania          Education                2
                                                                                               STATES


The University of Georgia               Computer Services Annex                           US   UNITED   UGA                                 Education                2
                                                                                               STATES


IBM                                     3039 Cornwallis Road                              US   UNITED   IBM Corporation                     Software & Internet      2
                                                                                               STATES



University of Rochester                 University IT 44 Celebration Drive, Suite 3.100   US   UNITED   University of Rochester             Education                2
                                                                                               STATES


Cooper University Hospital              1 Cooper Plaza                                    US   UNITED   Cooper University Hospital          Healthcare,              2
                                                                                               STATES                                       Pharmaceuticals, &
                                                                                                                                            Biotech


Bristol-Myers Squibb Company            P.O. Box 5400                                     US   UNITED   Bristol-Myers Squibb Company        Healthcare,              2
                                                                                               STATES                                       Pharmaceuticals, &
                                                                                                                                            Biotech


Total                                                                                                                                                               988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 131 of 178 PageID #:
                                          1918

AireBeam                                  PO BOX 2672                                        US   UNITED                                                              2
                                                                                                  STATES


US Dept of Justice                        P.O. Box 59110                                     US   UNITED   Department of Justice               Government             2
                                                                                                  STATES


Honeywell International Inc.              101 Columbia Road                                  US   UNITED   Honeywell International Inc         Manufacturing          2
                                                                                                  STATES


Georgia-Pacific                           133 Peachtree St. NE                               US   UNITED   Georgia-Pacific Corp.               Manufacturing          2
                                                                                                  STATES


JOINK                                     1362 WABASH AVE                                    US   UNITED   Joink LLC                           Software & Internet    2
                                                                                                  STATES


H. Lee Moffitt Cancer Center & Research   12902 Magnolia Dr                                  US   UNITED   Moffitt Cancer Center               Healthcare,            2
Institute, Inc.                                                                                   STATES                                       Pharmaceuticals, &
                                                                                                                                               Biotech


American Express Company                  19640 N. 31st Ave.                                 US   UNITED   American Express Company            Financial Services     2
                                                                                                  STATES


SPINE &SPORTS N.Y.                        2008 EASTCHESTER RD                                US   UNITED                                                              2
                                                                                                  STATES


University of Massachusetts at Boston     IT Communication and Infrastructure Services 100   US   UNITED   Massachusetts Office of Dispute     Education              2
                                          Morrissey Bvld.                                         STATES   Resolution


Pierce County                             Information Technology Department 615 South 9th    US   UNITED   Pierce County Arts Commission       Government             2
                                          Street                                                  STATES


Rushton, Stakely, Johnston & Garrett PA   184 COMMERCE ST                                    US   UNITED   Rushton , Stakely , Johnston &      Law Firms & Legal      2
                                                                                                  STATES   Garrett , P.A.                      Services


MEGAHERTZ COMPUTER-FASTWAVE               440 EL MOLINO BLVD FLR 1 RM SERVER                 US   UNITED   WORKPLACE SOLUTIONS                 Business Services      2
                                                                                                  STATES


Prince George's County Maryland           9201 Basil Ct ste 250                              US   UNITED                                                              2
                                                                                                  STATES


INTELLIGENT MFG CORP                                                                         US   UNITED                                                              2
                                                                                                  STATES


STI                                                                                               UNITED                                                              2
                                                                                                  STATES


The Boeing Company                        The Boeing Company                                 US   UNITED   The Boeing Company                  Manufacturing          2
                                                                                                  STATES


HARDER MECHANICAL                         4500 S DOBSON RD                                   US   UNITED                                                              2
                                                                                                  STATES


City of Wichita Falls                     1300 7th St Room 201 Information Systems           US   UNITED                                                              2
                                                                                                  STATES


Lawyers Title Insurance Corp.             101 Gateway Centre Parkway                         US   UNITED   LandAmerica Financial Group Inc     Real Estate &          2
                                                                                                  STATES                                       Construction


SNOW CONTRACT MELVILLE                    434 OLD SUFFOLK AV                                 US   UNITED                                                              2
                                                                                                  STATES


Willingboro Board of Education            440 Beverly Rancocas Rd                            US   UNITED   Willingboro Board of Education      Non-Profit             2
                                                                                                  STATES


CAPT NEM AQUARIUM STOR                                                                       US   UNITED                                                              2
                                                                                                  STATES


Lafayette Consolidated Government         1314 Walker Road P.O. Box 4017-C                   US   UNITED   Lafayette Consolidated Government                          2
                                                                                                  STATES


GREEN ROOM PR                             333 MAIN ST                                        US   UNITED                                                              2
                                                                                                  STATES


Louisiana Dept. of Public Safety          Information Services 8001                          US   UNITED   Louisiana                           Government             2
                                                                                                  STATES



Carolinas Healthcare System               1000 BLYTHE BLVD                                   US   UNITED   Carolinas HealthCare System         Healthcare,            2
                                                                                                  STATES                                       Pharmaceuticals, &
                                                                                                                                               Biotech


SBS - MASON                               2 CORPORATE DR # 200                               US   UNITED   Siemens Business Services           Telecommunications     2
                                                                                                  STATES


FirstEnergy                               76 South Main St.                                  US   UNITED   FirstEnergy Corp.                   Energy & Utilities     2
                                                                                                  STATES


Total                                                                                                                                                                988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 132 of 178 PageID #:
                                         1919

LEFF ELECTRIC                              4700 SPRING RD                                 US   UNITED   Leff Electric Corp                                            2
                                                                                               STATES


Dow Corning Corporation                    P.O. Box 994                                   US   UNITED   Dow Corning Corporation              Manufacturing            2
                                                                                               STATES


FULTON FINANCIAL CORPORA                   ONE PENN SQUARE                                US   UNITED   Fulton Financial Corporation         Financial Services       2
                                                                                               STATES


Aldine Independent School District         14910 Aldine Westfield RD.                     US            Aldine Independent School District   Education                2


First Advantage Membership Services INC.   12395 FIRST AMERICAN WAY                       US   UNITED                                                                 2
                                                                                               STATES


ARCELORMITTAL USA INC.                     1 SOUTH DEARBORN, 19TH FLOOR                   US   UNITED   ArcelorMittal SA                     Agriculture & Mining     2
                                                                                               STATES


Fairfield University                       1073 North Benson Road                         US   UNITED   Fairfield University                 Education                2
                                                                                               STATES


Brookhaven National Laboratory             61 Brookhaven Ave Bldg. 515                    US   UNITED   Brookhaven National Laboratory       Government               2
                                                                                               STATES


Johnson & Johnson                          1003 U.S. Highway 202                          US   UNITED   Johnson & Johnson                    Healthcare,              2
                                                                                               STATES                                        Pharmaceuticals, &
                                                                                                                                             Biotech


DBS INTERNATIONAL                          3949 Schelden Circle                           US   UNITED   DBS International Inc                Telecommunications       2
                                                                                               STATES


GREATER PHILADELPHIA CHAMBER                                                                   UNITED                                                                 1
OF COMMERCE (336206-1)                                                                         STATES


PB SERVICES INC                            410 COMMERCE BLVD # / 1                        US   UNITED                                                                 1
                                                                                               STATES


The County of Erie                         Division of Information and Support Services   US   UNITED   County of Erie                       Media & Entertainment    1
                                                                                               STATES


Lee Enterprises, Inc.                      201 N. Harrison St. Suite 600                  US   UNITED   Lee Enterprises, Incorporated        Media & Entertainment    1
                                                                                               STATES


New York Life Insurance Company            51 Madison Avenue                              US   UNITED   New York Life Insurance Company      Financial Services       1
                                                                                               STATES


Jefferson Parish School Board              4600 River Road                                US   UNITED   Jefferson Parish School Board        Education                1
                                                                                               STATES


BroadPlex, LLC                             100 E. Meeting Street                          US   UNITED                                        Healthcare,              1
                                                                                               STATES                                        Pharmaceuticals, &
                                                                                                                                             Biotech


SkyWerx Industries, LLC                    135 Country Center Dr Suite F PMB 214          US   UNITED                                                                 1
                                                                                               STATES


Abraham Baldwin Agricultural College       2802 Moore Highway                             US   UNITED   Abraham Baldwin Agricultural         Education                1
                                                                                               STATES   College


Entouch                                    11011 Richmond Ave Suite 400                   US   UNITED   En-touch Systems Inc                 Financial Services       1
                                                                                               STATES


MIDWEST LABORATORIES                       13611 B ST                                     US   UNITED   Midwest Laboratories Inc             Business Services        1
                                                                                               STATES


TRAM INC                                                                                  US   UNITED                                                                 1
                                                                                               STATES


McClure Engineering                        4545 Oleatha Ave                               US   UNITED                                                                 1
                                                                                               STATES


Taunton Municipal Lighting Plant           55 Weir St                                     US   UNITED   Taunton Municipal Lighting Plant     Energy & Utilities       1
                                                                                               STATES


BUSINESS MARKETERS GROUP, INC              W24720 N CORPORATE CIR                         US   UNITED   Business Marketers Group, Inc.                                1
                                                                                               STATES


Independent Health Association, Inc.       511 Farber Lakes Drive                         US   UNITED                                                                 1
                                                                                               STATES


MessageLabs Inc.                           C/O Symantec Corporation 350 Ellis Street      US   UNITED                                        Telecommunications       1
                                                                                               STATES


World Net Inc-100219184529                 Hosting Center Address                              UNITED                                                                 1
                                                                                               STATES


Total                                                                                                                                                                988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 133 of 178 PageID #:
                                         1920

Texas Tech University                       Telecommunications Department 2500 Broadway   US   UNITED                                     Education              1
                                                                                               STATES


SALLY BEAUTY                                3001 COLORADO BLVD FL 2 data center           US   UNITED   Sally Beauty, LLC                 Retail                 1
                                                                                               STATES


Seabury Group                                                                             UK   UNITED                                                            1
                                                                                               STATES


JetBlue Airways Corporation                 6322 S. 3000 E., Suite G10                    US            JetBlue Airways Corporation       Travel, Recreation,    1
                                                                                                                                          and Leisure


Steward Health Care System LLC              2120 Dorchester Ave                           US   UNITED                                                            1
                                                                                               STATES


KUTAK ROCK                                  1801 CALIFORNIA ST STE 3100                   US   UNITED   Kutak Rock LLP                    Business Services      1
                                                                                               STATES


HOSA TECHNOLOGY INC                         6650 CABALLERO BL                             US   UNITED   Hosa Technology Inc               Manufacturing          1
                                                                                               STATES


McNeese State University                    P. O. Box 91575                               US   UNITED   McNeese State University          Education              1
                                                                                               STATES


MARINER FINANCE LLC                         3301 BOSTON ST                                US   UNITED   Mariner Finance LLC               Financial Services     1
                                                                                               STATES


MIKE JIZMEJIAN                              1477 E SHAW AV                                US   UNITED                                                            1
                                                                                               STATES


Viad Corp                                   1850 North Central Ave. Ste 1900              US   UNITED   Viad Corp.                        Business Services      1
                                                                                               STATES


ENGELMANN BECKER CORP                                                                     US   UNITED                                                            1
                                                                                               STATES


NOOKCO LLC                                  480 MARLBOROUGH RD                            US   UNITED                                                            1
                                                                                               STATES


SC                                          125 Broad Street                                   UNITED                                                            1
                                                                                               STATES


EPSILON                                     199 WATER STSuite 1500                        US   UNITED   Epsilon                           Software & Internet    1
                                                                                               STATES


White County Video, Inc.                    1927 Beebe-Capps Expressway                   US   UNITED   White County Video Inc.           Business Services      1
                                                                                               STATES


State of Washington                         P.O. 42445                                    US   UNITED   State of Washington (USA)         Real Estate &          1
                                                                                               STATES                                     Construction


TechSpace, Inc.                             65 Enterprise                                 US   UNITED   Tech Space                        Business Services      1
                                                                                               STATES


The District Apts of Morgantown             1424 Van Voorhis Road                         US   UNITED                                                            1
                                                                                               STATES


SUNY College at New Paltz                   75 South Manheim Blvd                         US   UNITED                                     Education              1
                                                                                               STATES


ROSE PROPERTY GROUP, LLC                    8986 NAVIGATOR DR                             US   UNITED   Rose Property Group, L.L.C.       Real Estate &          1
                                                                                               STATES                                     Construction


Beamspeed                                   2481 E. Palo Verde St                         US   UNITED   Beamspeed, LLC                    Government             1
                                                                                               STATES


Magic Valley Regional Medical Center Inc.   550 Addison Rd                                US   UNITED   Magic Valley Regional Medical     Non-Profit             1
                                                                                               STATES   Center


Baptist Healthcare System                   4007 Kresge Way                               US   UNITED   Baptist Healthcare System, Inc.   Healthcare,            1
                                                                                               STATES                                     Pharmaceuticals, &
                                                                                                                                          Biotech


FedEx Office & Print Services Inc.          Three Galleria Tower Suite 1600               US   UNITED   FedEx Corporation                 Transportation &       1
                                                                                               STATES                                     Storage


SYSTEMS METHODS INC                         13526 NACOGDOCHES RD                          US   UNITED   Systems & Methods Inc             Software & Internet    1
                                                                                               STATES


OTTO KAISER MEMORIAL                        3349 S HWY 181                                US   UNITED   Otto Kaiser Memorial Hospital     Healthcare,            1
                                                                                               STATES                                     Pharmaceuticals, &
                                                                                                                                          Biotech


Co-Mo Comm Inc                              PO Box 220                                    US                                                                     1


Total                                                                                                                                                           988
       Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 134 of 178 PageID #:
                                           1921

PCS Health Systems                           9501 East Shea Blvd.                             US   UNITED   CVS Caremark Corporation           Healthcare,             1
                                                                                                   STATES                                      Pharmaceuticals, &
                                                                                                                                               Biotech


Arrowpoint Capital                           3600 Arco Corporate Drive                        US   UNITED   Arrowpoint Capital Corp            Insurance               1
                                                                                                   STATES


State of Missouri Office of Administration   Information Technology Systems Division, Suite   US   UNITED                                      Business Services       1
                                             280                                                   STATES


Trinity Information Services                 20555 Victor Parkway                             US   UNITED                                                              1
                                                                                                   STATES


Marathon Oil Corporation                     5500 San Felipe                                  US   UNITED   Marathon Oil Corporation           Manufacturing           1
                                                                                                   STATES


Palmetto Primary Care Physicians, LLC        2500 Elms Center Road                            US                                                                       1


ATMC                                         P.O. Box 3198                                    US   UNITED   ATMC INC                           Telecommunications      1
                                                                                                   STATES


Maricopa County                              301 W. Jefferson                                 US   UNITED   Maricopa County, Arizona           Real Estate &           1
                                                                                                   STATES                                      Construction


Katy Independent School District             6301 South Stadium Lane                          US            Katy Independent School District   Education               1


Glenwood                                     1425 N University Ave                            US   UNITED   Glenwood Intermountain Prprts      Real Estate &           1
                                                                                                   STATES                                      Construction


Genzyme Corporation                          500 Kendall Street                               US   UNITED   Genzyme Corporation                Healthcare,             1
                                                                                                   STATES                                      Pharmaceuticals, &
                                                                                                                                               Biotech


SHARP CORPORATION                            7451 KEEBLER WAY                                 US   UNITED                                                              1
                                                                                                   STATES


Oregon State University                      Network Services Milne Hall 217                  US   UNITED   Oregon State University            Education               1
                                                                                                   STATES


State of Rhode Island                        One Capitol Hill 2nd Floor - DOIT                US   UNITED   State of Rhode Island              Travel, Recreation,     1
                                                                                                   STATES                                      and Leisure


PriceWaterhouseCoopers, LLP                  4040 West Boy Scout Blvd                         US   UNITED   PricewaterhouseCoopers LLP         Business Services       1
                                                                                                   STATES


Sodo                                         100 W. Grant St                                  US   UNITED                                                              1
                                                                                                   STATES


Smyth Technology Group dba SmythNet          116 Broad St                                     US   UNITED                                                              1
                                                                                                   STATES


Main Line Health, Inc.                       1180 W. Swedesford Road                          US   UNITED   Main Line Health                   Healthcare,             1
                                                                                                   STATES                                      Pharmaceuticals, &
                                                                                                                                               Biotech


Mumbai India                                                                                  IN   INDIA                                                               1


Nestle USA, Inc.                             800 N. Brand Blvd                                US   UNITED   Nestlé USA, Inc.                   Manufacturing           1
                                                                                                   STATES


Metrolina Eye Associates                     6237 CAROLINA COMMONS DR                         US   UNITED                                                              1
                                                                                                   STATES



Tulane University                            6823 St. Charles Ave.                            US   UNITED                                      Education               1
                                                                                                   STATES


Exec-PC BBS                                  2105 South 170th Street                          US   UNITED                                                              1
                                                                                                   STATES


Bayer Corporation                            100 Bayer Road                                   US   UNITED   Bayer Corporation                  Agriculture & Mining    1
                                                                                                   STATES


NBA Events                                   601 Biskayne Blvd                                US   UNITED                                                              1
                                                                                                   STATES


Northern Pipeline                            1 W Deer Valley Rd                               US   UNITED   Northern Pipeline                  Real Estate &           1
                                                                                                   STATES                                      Construction


NEWS MEDIA CORP                                                                               US   UNITED   Citizen News Media Corp                                    1
                                                                                                   STATES


Spectrum Health                              100 Michigan St NE                               US   UNITED   Spectrum Health                    Healthcare,             1
                                                                                                   STATES                                      Pharmaceuticals, &
                                                                                                                                               Biotech


Total                                                                                                                                                                 988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 135 of 178 PageID #:
                                         1922

University of Michigan Business and            3014 Fleming Administration Building 503               US   UNITED                                         Education              1
Finance Division                               Thompson Street                                             STATES


NATIONAL INSTRUMENTS                           27555 EXECUTIVE DR                                     US   UNITED      National Instruments Corporation   Software & Internet    1
                                                                                                           STATES


Nemont                                         61 Hwy 13 S PO Box 600                                 US   UNITED                                         Telecommunications     1
                                                                                                           STATES


Weil, Gotshal & Manges LLP                     P.O. Box 5623, Tangoe - Weil                                UNITED                                                                1
                                                                                                           STATES


Electric Plant Board of the City of Glasgow,   100 Mallory Dr.                                        US   UNITED                                                                1
Kentucky                                                                                                   STATES


CUMMINS BUSINESS SERVICESATTN                  3770 S PERKINS RD                                      US   UNITED                                                                1
                                                                                                           STATES


webband.com                                    23403 E Mission Ave                                    US   UNITED                                                                1
                                                                                                           STATES


BALDWIN BOYLE SHAND LTD                                                                               SG   SINGAPORE                                                             1


Pittsburgh Supercomputing Center               300 S Craig St                                         US   UNITED      Pittsburgh Supercomputing Center   Other                  1
                                                                                                           STATES


Bow Street LLC                                 1140 Avenue of the Americas                                 UNITED                                                                1
                                                                                                           STATES


Georgia Bank and Trust - AGS                   4487 Columbia Rd                                       US   UNITED                                                                1
                                                                                                           STATES


HEALTHCARE MANAGEMENT ADV                      790 HOLIDAY                                            US   UNITED                                                                1
                                                                                                           STATES


Time Inc.                                      1271 Avenue of the Americas                            US   UNITED      Time Magazine                      Manufacturing          1
                                                                                                           STATES


New York State Unified Court System            125 Jordan Rd                                          US   UNITED      New York State Unified Court       Business Services      1
                                                                                                           STATES      System


BARLOW CHEVROLET                                                                                      US   UNITED                                                                1
                                                                                                           STATES


MISS STATE OF EDUCATION                        11072 HWY 49                                           US   UNITED                                                                1
                                                                                                           STATES


California Technology Agency                   P.O. Box 1810                                          US   UNITED                                                                1
                                                                                                           STATES


INLAND BANK AND TRUST                          1100 S RAND RD                                         US   UNITED                                                                1
                                                                                                           STATES


National City Corporation                      4100 West 150th Street                                 US   UNITED      National City Corporation          Business Services      1
                                                                                                           STATES


Ohio State University                          Office of the Chief Information officer 1121 Kinnear   US   UNITED      The Ohio State University          Education              1
                                               Rd                                                          STATES


ABB Asea Brown Boveri Ltd                                                                             SE   UNITED      ABB Group                          Business Services      1
                                                                                                           STATES


Cleveland State University Computer            2121 Euclid Ave Information Services and               US   UNITED                                         Education              1
Services                                       Technology                                                  STATES


Longwood Medical and Academic Area             60 Oxford Street Suite 132                             US   UNITED                                                                1
(LMA)                                                                                                      STATES


KATZ MEDIA                                     125 W 55TH ST BLDG W55 FL 5 TELCO RM                   US   UNITED      Katz Media Group, Inc.             Business Services      1
                                                                                                           STATES


University of Alaska                           910 Yukon Drive, Suite 103                             US   UNITED                                         Education              1
                                                                                                           STATES


Baker, Donelson, Bearman, Caldwell &           165 Madison Ave Suite 2000                             US                                                                         1
Berkowitz, PC


Emota Inc                                      3911 5TH AVE STE 210                                   US   UNITED                                                                1
                                                                                                           STATES


Tenzing Global                                 388 market                                                  UNITED                                                                1
                                                                                                           STATES


OACYS.COM INCORPORATED                         767 N Porter Rd                                        US   UNITED                                                                1
                                                                                                           STATES


Total                                                                                                                                                                           988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 136 of 178 PageID #:
                                         1923

Ann Ichord02212013191538486               Hosting Center Address                            UNITED                                                                 1
                                                                                            STATES


HARDI MIDWEST INC                         1500 W 76 ST                                 US   UNITED   Hardi North America Inc.             Manufacturing            1
                                                                                            STATES


The Dow Chemical Company                  2020 DOW Center                              US   UNITED   Dow Chemical Company                 Manufacturing            1
                                                                                            STATES


HEFFLER RADETICH & SAITTA, L.L.P.         1515 MARKET ST                               US   UNITED                                                                 1
                                                                                            STATES


Coast Community College District          1370 Adams Ave.                              US   UNITED   Coast Community College District     Education                1
                                                                                            STATES


BENNETT PLESS INC                         47 PERIMETER CENTER EAST                     US   UNITED                                                                 1
                                                                                            STATES


California State University at Fresno     2225 E. San Ramon Ave                        US   UNITED                                        Education                1
                                                                                            STATES


SKADDEN, ARPS, SLATE, MEAGHER             360 Hamilton Ave                             US   UNITED                                                                 1
and FLOM LLP                                                                                STATES


MELLO SMELLO                                                                           US   UNITED   Mello Smello LLC                     Telecommunications       1
                                                                                            STATES


Toronto Catholic District School Board    80 Sheppard Ave East                         CA   CANADA   Toronto Catholic District School     Education                1
                                                                                                     Board


Deloitte Services LP                      1633 Broadway                                US   UNITED   Deloitte & Touche LLP                Business Services        1
                                                                                            STATES


Information Access Center                 10 Presidents Landing                        US   UNITED                                                                 1
                                                                                            STATES


Georgetown University                     37th and O Streets, NW                       US   UNITED                                        Education                1
                                                                                            STATES


NBCUniversal                              30 ROCKEFELLER CENTER                        US   UNITED   NBCUniversal, Inc.                   Media & Entertainment    1
                                                                                            STATES


WPP Group - J. Walter Thompson Co         500 TOWN CENTER DR                           US   UNITED                                                                 1
                                                                                            STATES


University of Texas                       6333 Harry Hines Boulevard                   US   UNITED                                        Education                1
                                                                                            STATES


SCHOOL SOUTHFIELD                                                                      US   UNITED                                                                 1
                                                                                            STATES


Dept. Foreign Affairs and International   125 Sussex Drive                             CA   CANADA   Department of Foreign Affairs and    Government               1
Trade                                                                                                International Trade


SOUTHERN AE LLC                           7951 TROON CIR SW                            US   UNITED                                                                 1
                                                                                            STATES


TOURS ROCKY MTN HOLIDAY                   4223 S MASON ST                              US   UNITED                                                                 1
                                                                                            STATES


G2 Satellite Solutions Corporation        8870 Monard Drive                            US   UNITED                                                                 1
                                                                                            STATES


Full Channel Inc.                         57 Everett Street                            US   UNITED                                                                 1
                                                                                            STATES


THE STANDARD AT BATON ROUGE               740 W CHIMES ST                              US   UNITED                                                                 1
                                                                                            STATES


vanoppen.biz LLC                          C/O Spectrum Networks Operations Suite 905   US   UNITED                                                                 1
                                                                                            STATES


Mankuta Gallagher & Associates            8333 w McNabb Rd                             US   UNITED   Mankuta Gallagher & Associates Inc   Business Services        1
                                                                                            STATES


Boston Scientific Corporation             1 Boston Scientific Place Mail Stop C1       US   UNITED   Boston Scientific Corporation        Healthcare,              1
                                                                                            STATES                                        Pharmaceuticals, &
                                                                                                                                          Biotech


HOLLAND & KNIGHT-CHICAGO CHI -75          131 S DEARBORN ST                            US   UNITED                                                                 1
                                                                                            STATES


ATMOS ENERGY CORPORATION                  4155 INDUSTRIAL DR                           US   UNITED   Atmos Energy Corporation             Energy & Utilities       1
                                                                                            STATES


Total                                                                                                                                                             988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 137 of 178 PageID #:
                                          1924

McAfee Inc.                               5000 Headquarters Drive                     US   UNITED    McAfee, Inc.                      Software & Internet    1
                                                                                           STATES


Memphis Zoo                               2000 Prentiss Place                         US   UNITED    Memphis Zoo                       Travel, Recreation,    1
                                                                                           STATES                                      and Leisure


Moody's Investors Service                 7 World Trade Center 250 Greenwich Street   US   UNITED    Moody's Investors Service         Financial Services     1
                                                                                           STATES


Missouri State University                 901 S. National                             US   UNITED                                      Education              1
                                                                                           STATES


NACCE                                                                                 US   UNITED                                                             1
                                                                                           STATES


Deere & Company                           One John Deere Place                        US   UNITED    John Deere Company                Manufacturing          1
                                                                                           STATES


United States Fire Insurance Company      305 Madison Avenue                          US   UNITED                                                             1
                                                                                           STATES


SOUTHEAST MISSOURI HOSPITAL               1702 LACEY                                  US   UNITED                                                             1
ASSOCIATION                                                                                STATES


General Dynamics Advanced Information     2305 Mission College Blvd                   US   UNITED                                      Manufacturing          1
Systems, Inc.                                                                              STATES


MASONITE                                  400 N TAMPA ST                              US   UNITED    Masonite Corporation              Manufacturing          1
                                                                                           STATES


Progressive Rural                         890 Simpson Ave                             US   UNITED    Laurens County                    Education              1
                                                                                           STATES


SAINT MARY'S HALL                         9401 STARCREST DR                           US   UNITED    Saint Mary's Hall                 Education              1
                                                                                           STATES


RB&B ARCHITECTS INC                       315 E MOUNTAIN AVE UNIT 100                 US   UNITED                                                             1
                                                                                           STATES


Fleishman Hillard                         Hosting Center Address                           UNITED    Omnicom                           Business Services      1
                                                                                           STATES


Lyft Inc.                                 2300 Harrison St.                           US   UNITED                                                             1
                                                                                           STATES


Robert Bosch GmbH                                                                     DE   GERMANY   Robert Bosch GmbH                 Manufacturing          1


Apparatus, Inc.                           1401 N. Meridian Street                     US   UNITED    Apparatus, Inc.                   Computers &            1
                                                                                           STATES                                      Electronics


CURTIS, MALLET-PROVOST,                   101 PARK AVE                                US   UNITED                                                             1
                                                                                           STATES


Southwest General Health Center           18697 Bagley Road                           US   UNITED    Southwest General Health Center   Healthcare,            1
                                                                                           STATES                                      Pharmaceuticals, &
                                                                                                                                       Biotech


Step-by-Step, Inc.                        69 Public Square, Suite 1400                US   UNITED    Step-By-Step , Inc.               Non-Profit             1
                                                                                           STATES


Intel Corporation                         2200 Mission College Blvd, P.O. Box 58119   US   UNITED    Intel Corporation                 Computers &            1
                                                                                           STATES                                      Electronics


UBS AG                                    677 Washington Boulevard                    US   UNITED    UBS Global Asset Management       Financial Services     1
                                                                                           STATES


East Stroudsburg University of            Computer Center ESU Campus Mail             US   UNITED    East Stroudsburg University of    Education              1
Pennsylvania                                                                               STATES    Pennsylvania


SCPS Showrig                              2845 COLEMAN ST                             US   UNITED                                                             1
                                                                                           STATES


Proskauer Rose LLP                        Eleven Times Square                         US   UNITED    Proskauer Rose LLP                Business Services      1
                                                                                           STATES


ASAP PRINTING                                                                         US   UNITED                                                             1
                                                                                           STATES


Plant TiftNet                             PO Box 187                                  US   UNITED    Plant TiftNet Inc                 Telecommunications     1
                                                                                           STATES


New Jersey Department of Transportation   1 Schwartzkopf Drive                        US   UNITED                                                             1
                                                                                           STATES


Total                                                                                                                                                        988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 138 of 178 PageID #:
                                         1925

Tractor Supply Company                  5401 Virginia Way                                  US   UNITED   Tractor Supply Company               Agriculture & Mining    1
                                                                                                STATES


Indiana University                      4201 Grant Line Road                               US   UNITED   Indiana University                   Education               1
                                                                                                STATES


Children's Mercy Hospital               2401 Gillham Rd                                    US   UNITED   Children's Mercy Hospital            Healthcare,             1
                                                                                                STATES                                        Pharmaceuticals, &
                                                                                                                                              Biotech


University of Texas at San Antonio      One UTSA Circle Office of Information Technology   US   UNITED   University of Texas at San Antonio   Education               1
                                                                                                STATES


IDEXX                                   1 IDEXX DR                                         US   UNITED                                                                1
                                                                                                STATES


County of Ventura                       800 South Victoria Avenue                          US   UNITED   County of Ventura                    Business Services       1
                                                                                                STATES


GOOD SAM RGNL MED CTR                   3600 NW SAMARITAN DR                               US   UNITED                                                                1
                                                                                                STATES


CMC Biologics, Inc.                     22021 20TH AVE SE                                  US   UNITED                                                                1
                                                                                                STATES


Intentional Software Corporation        3075 112TH AVE NESuite 100                         US   UNITED   Intentional Software Corporation     Software & Internet     1
                                                                                                STATES


Gilardi and Co, LLC                     Hosting Center Address                                  UNITED                                                                1
                                                                                                STATES


New York State Office of the Attorney   200 Broadway 5th Floor                             US   UNITED                                                                1
General                                                                                         STATES


Eaton Corporation                       1000 Eaton Boulevard                               US   UNITED                                        Computers &             1
                                                                                                STATES                                        Electronics


INC RESEARCH, INC                       3012 HIGHWOODS BLVDBldg TWC COMMU,                 US   UNITED                                                                1
                                        Flr 3                                                   STATES


UNITED CENTER JOINT VENTURE             1901 W MADISON                                     US   UNITED   United Center Joint Venture          Travel, Recreation,     1
                                                                                                STATES                                        and Leisure


Torys DBA Toryco Services               1114 Avenue of the Americas 23rd Floor             US   UNITED                                                                1
                                                                                                STATES


City of Albuquerque                     One Civic Plaza, NW Room 2061 Information          US   UNITED                                                                1
                                        Systems Division                                        STATES


Anthem Blue Cross Blue Shield           120 Monument Circle                                US   UNITED                                                                1
                                                                                                STATES


EWBANK, HUNTER, MARTIN & CO             16475 DALLAS PARKWAY                               US   UNITED   Ewbank Hunter Martin & Co            Business Services       1
                                                                                                STATES


Toronto Dominion Bank                   Toronto Dominion Tower - 29th Floor                CA   CANADA   TD Bank, N.A.                        Financial Services      1


Fenwal, Inc.                            3 Corporate Dr.                                    US   UNITED                                                                1
                                                                                                STATES


OCCIDENTAL PETROLEUM CORP               PO BOX 1390 MC HOUPHON                             US   UNITED                                                                1
                                                                                                STATES


COMERICA, INC.                          39200 6 MILE RD                                    US   UNITED   Comerica Incorporated                Financial Services      1
                                                                                                STATES


CRC Services LLC                        11109 RIVER RUN BLVD                               US   UNITED   CRC Services LLC                                             1
                                                                                                STATES


Silpada                                 11550 RENNER BLVD                                  US   UNITED                                                                1
                                                                                                STATES


COMMERCE BANCSHARES                     17330 W 119TH 1701 Rt. 70 East                     US   UNITED   TD Bank                              Real Estate &           1
                                                                                                STATES                                        Construction


SULLIVAN HIGDON SINK                    255 N MEAD                                         US   UNITED   Sullivan Higdon & Sink Inc.          Business Services       1
                                                                                                STATES


University of Kansas                    1 University of Kansas                             US   UNITED   University of Kansas                 Education               1
                                                                                                STATES


TECH SUPPORT AND SOLUTIONS              123 W MADISON ST                                   US   UNITED                                                                1
                                                                                                STATES


Total                                                                                                                                                                988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 139 of 178 PageID #:
                                          1926

PIVOT                                      PO BOX 289                                           US   UNITED                                     Other                  1
                                                                                                     STATES


Aera Energy.180                            10000 Ming Ave                                       US   UNITED   Aera Energy LLC                   Energy & Utilities     1
                                                                                                     STATES


Memorial Sloan Kettering                   1275 York Avenue                                     US   UNITED   Memorial Sloan-Kettering Cancer   Education              1
                                                                                                     STATES   Center


Whatley, Drake and Kallas, LLC             2001 PARK PL STE 1000                                US   UNITED   Whatley Drake L.L.C.              Business Services      1
                                                                                                     STATES


THE CLIMATE CORPORATION                    201 3RD ST                                           US   UNITED   The Climate Corporation           Software & Internet    1
                                                                                                     STATES


BAX GLOBAL                                 928 Quail St                                         US   UNITED                                     Transportation &       1
                                                                                                     STATES                                     Logistics


University of Tennessee                    Office of Information Technology 2332 Dunford Hall   US   UNITED   University of Tennessee           Education              1
                                                                                                     STATES


Ball State University                      University Computing Services 2000 University        US   UNITED                                     Education              1
                                           Avenue                                                    STATES


University of California San Francisco     Room 602 1855 Folsom Street                          US   UNITED                                     Education              1
                                                                                                     STATES


Login, Inc.                                4003 E Speedway Ste 119                              US   UNITED   Login, Inc                        Software & Internet    1
                                                                                                     STATES


STATE OF DELAWARE                          Department of Technology and Information             US   UNITED   State of Delaware                 Business Services      1
                                                                                                     STATES


Contegix                                   210 N. Tucker Blvd. Suite 600                        US   UNITED   Contegix LLC                      Telecommunications     1
                                                                                                     STATES


SEWELL VILLAGE-CADILLAC                    400 S AKARD ST                                       US   UNITED   Sewell Automotive Companies       Retail                 1
                                                                                                     STATES


Ingram Micro Inc.                          1600 EAST SAINT ANDREW PLACE                         US   UNITED   Ingram Micro, Inc.                Computers &            1
                                                                                                     STATES                                     Electronics


Fountain - Fort Carson School District     10665 Jimmy Camp Road                                US   UNITED   Fountain Middle School            Education              1
                                                                                                     STATES


GoDaddy.com, LLC                           14455 N Hayden Road Suite 226                        US   UNITED   Go Daddy                          Software & Internet    1
                                                                                                     STATES


Davenport Schools                                                                                    UNITED                                                            1
                                                                                                     STATES


MOMENTUM TRANSPORTATION-USA,               4901 BELFORT RD                                      US   UNITED                                                            1
                                                                                                     STATES


PRS CONSULTANTS                            201 DEPOT ST                                         US   UNITED   PRS Consultants Inc                                      1
                                                                                                     STATES


Royal Bermuda                              1802 E Quiet Canyon Dr                               US   UNITED                                                            1
                                                                                                     STATES


AT Kearney                                                                                      DE   FRANCE                                                            1


Mid America Arts Alliance                  2018 Baltimore Ave                                   US   UNITED                                                            1
                                                                                                     STATES


Monmouth University                        Information Management 400 Cedar Avenue              US   UNITED   Monmouth University               Education              1
                                                                                                     STATES


Harris Corporation                         Mail Stop 57                                         US   UNITED   Harris Corporation                Telecommunications     1
                                                                                                     STATES


New England Telehealth Consortium          262 Harlow St.                                       US   UNITED   New England Telehealth            Non-Profit             1
                                                                                                     STATES   Consortium


Commonwealth of Kentucky                   101 Cold Harbor Dr                                   US   UNITED                                                            1
                                                                                                     STATES


Flagstar Bank                              2600 Telegraph Road                                  US   UNITED   Flagstar Bank Inc                 Financial Services     1
                                                                                                     STATES


Virginia Information Technologies Agency   11751 Meadowville Lane                               US   UNITED   Department of Professional and    Non-Profit             1
(VITA)                                                                                               STATES   Occupational Regulation


Boston HelpDesk                            803 Summer Street Ste 1                              US   UNITED   Boston HelpDesk                   Software & Internet    1
                                                                                                     STATES


Total                                                                                                                                                                 988
       Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 140 of 178 PageID #:
                                           1927

Virginia Polytechnic Institute and State Univ.   Communications Network Services                       US   UNITED   Virginia Tech Inc.              Education              1
                                                                                                            STATES


CSAA Insurance Exchange                          3055 Oak Road                                         US   UNITED                                                          1
                                                                                                            STATES


ADESA Inc.                                       13085 Hamilton Crossing Blvd                          US   UNITED   ADESA , Inc.                    Business Services      1
                                                                                                            STATES


Merck and Co., Inc.                              126 East Lincoln Avenue                               US   UNITED   Merck & Co. , Inc.              Healthcare,            1
                                                                                                            STATES                                   Pharmaceuticals, &
                                                                                                                                                     Biotech


RLI INSURANCE COMPANY                            2970 CLAIRMONT RD NE                                  US   UNITED   RLI Insurance Company           Insurance              1
                                                                                                            STATES


Southern Polytechnic State University            1100 South Marietta Parkway                           US   UNITED   Southern Polytechnic State      Education              1
                                                                                                            STATES   University


Board of Regents of the University System        2500 Daniells Bridge Rd Building 300                  US   UNITED   University System of Georgia    Education              1
of Georgia                                                                                                  STATES


University of Wisconsin Madison                  1210 W Dayton B332                                    US   UNITED   University of Wisconsin -       Education              1
                                                                                                            STATES   Whitewater


Tycko & Zavareei LLP                             2000 L St NW, Suite 808                               US   UNITED   Tycko & Zavareei LLP            Law Firms & Legal      1
                                                                                                            STATES                                   Services


PPDI                                             929 North Front St                                    US   UNITED   PPD , Inc.                      Software & Internet    1
                                                                                                            STATES


University of San Diego                          University of San Diego 5998 Alcala Park              US   UNITED   University of South Dakota      Education              1
                                                                                                            STATES


Sparton Electronics                              5612 Johnson lake Road                                US   UNITED   Sparton Corporation             Manufacturing          1
                                                                                                            STATES


AFFINITY CONSULTING GROUP                        1550 OLD HENDERSON RDSuite 150                        US   UNITED   Affinity Consulting Group LLC   Law Firms & Legal      1
                                                                                                            STATES                                   Services


SEIDLER OIL & GAS LP                             7140 E FM 917                                         US   UNITED   Seidler Oil & Gas LP            Energy & Utilities     1
                                                                                                            STATES


State of Minnesota                               Office of Enterprise Technology, State of Minnesota   US   UNITED   Minnesota Department of                                1
                                                                                                            STATES   Commerce


CUST CUST-131003202307                           Hosting Center Address                                     UNITED                                                          1
                                                                                                            STATES


CREST AMBULANCE                                  940 REMSEN AV                                         US   UNITED                                                          1
                                                                                                            STATES


University of Kansas Medical Center              University of Kansas Medical Center 3901              US   UNITED   University of Kansas            Education              1
                                                 Rainbow Blvd                                               STATES


Nicoletta Turner                                 43 MacGhee Road                                       US   UNITED                                                          1
                                                                                                            STATES


Joseph Gunnar & Co., LLC                         30 Broad Street                                       US   UNITED   Joseph Gunnar & Co. LLC         Financial Services     1
                                                                                                            STATES


Morehouse School of Medicine                     720 Westview Drive                                    US   UNITED   Morehouse School of Medicine    Education              1
                                                                                                            STATES


ITS                                              P. O. Box 17209                                       US   UNITED   Division of Air Quality                                1
                                                                                                            STATES


HONOR TRANSPORTATION INC                         1212 HILLSIDE GARDENS LN                              US   UNITED                                                          1
                                                                                                            STATES


American Management Systems, Inc.                4050 Legato Road                                      US   UNITED                                                          1
                                                                                                            STATES


Wantagh School District (N/A)                                                                               UNITED                                                          1
                                                                                                            STATES


PHYSICIA RECOMMENDED N                           502 W GERMANTOWN PIKE                                 US   UNITED                                                          1
                                                                                                            STATES


MBO Video, LLC                                   P.O. Box 575                                          US   UNITED   MBO Video                                              1
                                                                                                            STATES


Omnicity, Inc.                                   PO Box 8                                              US   UNITED   Omnicity Inc                    Telecommunications     1
                                                                                                            STATES


Total                                                                                                                                                                      988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 141 of 178 PageID #:
                                         1928

ALDI INC.                                  1200 N KIRK RD                    US   UNITED   Aldi Inc.                         Retail                  1
                                                                                  STATES


ARKANSAS CHILDRENS HOSPITAL                804 WOLFE ST                      US   UNITED                                                             1
                                                                                  STATES


Hamilton County                            733 West Henry Street             US   UNITED                                                             1
                                                                                  STATES


ARCHER DANIELS MIDLAND                     4666 E FARIES PKWY                US   UNITED   Archer Daniels Midland Company    Agriculture & Mining    1
                                                                                  STATES


County Of Schenectady                      620 STATE ST                      US   UNITED   Schenectady County Community      Education               1
                                                                                  STATES   College


Hub International Ltd                      55 E. Jackson                     US   UNITED                                                             1
                                                                                  STATES


Government of the District of Columbia     441 4th Street NW, Suite 930S     US   UNITED   OFFICE OF CITIZEN                 Government              1
                                                                                  STATES   COMPLAINT REVIEW


Galaxy 7                                   1529 Queen Ann                    US   UNITED                                                             1
                                                                                  STATES


Agency for Health Care Policy & Research   HHS/ASA/OCIO 5600 Fishers Lane    US   UNITED                                                             1
                                                                                  STATES


Lawrence Bros. Pharmacy-Roswell            900 W 2nd st                      US   UNITED                                                             1
                                                                                  STATES


Burr Foreman, LLP                          3102 W END AVE                    US   UNITED                                                             1
                                                                                  STATES


The Cosmopolitan of Las Vegas              3708 Las Vegas Boulevard South    US   UNITED   The Cosmopolitan of Las Vegas     Travel, Recreation,     1
                                                                                  STATES                                     and Leisure


Litestream Holdings, LLC.                  500 S Australian Ave, Suite 120   US   UNITED   Litestream Holdings LLC           Telecommunications      1
                                                                                  STATES


WECOM INC                                  2332 Kingman Ave.                 US            Wecom Inc                         Telecommunications      1


PSINET/DeKalb Regional Healthcare          2701 N. Decatur Rd.               US   UNITED   DeKalb Regional Healthcare        Healthcare,             1
System                                                                            STATES   System                            Pharmaceuticals &
                                                                                                                             Biotech


WHITE MOUNTAIN IMAGING                     PO BOX 216                        US   UNITED   White Mountain Imaging            Manufacturing           1
                                                                                  STATES


LA County Office Education                 15959 East Gale Ave               US   UNITED                                                             1
                                                                                  STATES


PROS Revenue Management                    3100 Main, Suite 900              US   UNITED   PROS Revenue Management Inc       Software & Internet     1
                                                                                  STATES


U.S. Environmental Protection Agency       NC 54 at Alexander Drive NW       US   UNITED   Environmental Protection Agency   Government              1
                                                                                  STATES


Computer Sciences Corp - NTIS              3170 Fairview Park Dr             US   UNITED                                                             1
                                                                                  STATES


ENA-2                                                                             UNITED                                                             1
                                                                                  STATES


TRENDSETTER ENGINEERING                    10430 RODGERS RD                  US   UNITED   Trendsetter Engineering Inc       Energy & Utilities      1
                                                                                  STATES


hub at Tucson                              1011 N TYNDALL AVE                US   UNITED                                                             1
                                                                                  STATES


CONSUMERS UNION                                                              US   UNITED   Consumers Union                   Non-Profit              1
                                                                                  STATES


American Medical Association               330 N. Wabash Ave.                US   UNITED   American Medical Association      Non-Profit              1
                                                                                  STATES


InZone Holdings                            2859 Paces Ferry Rd Suite 2100    US   UNITED                                                             1
                                                                                  STATES


PepsiCo, Inc.                              700 Anderson Hill Road            US   UNITED   PepsiCo , Inc.                    Manufacturing           1
                                                                                  STATES


MTPCS LLC                                  1170 Devon Park Drive             US   UNITED                                                             1
                                                                                  STATES


Hess Corporation                           1501 McKinney Street              US            Hess Corporation                  Manufacturing           1


Total                                                                                                                                               988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 142 of 178 PageID #:
                                         1929

CAPITOL CARPET FLOORING                                                                         US   UNITED                                                                 1
                                                                                                     STATES


The Trustees of Columbia University in the   630 West 168th Street PH-18 Room 106               US   UNITED                                                                 1
City of New York                                                                                     STATES


THINC ACTIONWEAR                             4611 SE 26TH AVE                                   US   UNITED                                                                 1
                                                                                                     STATES


Home Box Office                              1100 Avenue of the Americas                        US   UNITED   HBO                                  Telecommunications       1
                                                                                                     STATES


Arylessence                                  1091 Lake Drive                                    US   UNITED   Arylessence Inc                      Manufacturing            1
                                                                                                     STATES


Broward County                               2601 W Broward Blvd                                US   UNITED   Broward County , Inc.                Non-Profit               1
                                                                                                     STATES


Bloomberg Financial Market                   731 Lexington Avenue                               US   UNITED   Bloomberg L.P.                       Media & Entertainment    1
                                                                                                     STATES


FIDELITY SOUTHERN CORPORATION                3 CORPORATE BLVD NE BLDG 3 FLR 4 RM                US   UNITED   FIDELITY SOUTHERN CORP               Financial Services       1
                                             COMPUTER                                                STATES


ACCO MATERIAL                                                                                   US   UNITED   ACCO Material                        Manufacturing            1
                                                                                                     STATES


THRESHOL GROUP                               50 S 16TH ST                                       US   UNITED                                                                 1
                                                                                                     STATES


DIRECTORY ADVERTISING                        Not Defined                                        CA   CANADA                                                                 1
CONSULTANTS LTD


The University Of Texas M.D. Anderson        1155 Pressler Street                               US   UNITED   MD Anderson Cancer Center            Healthcare,              1
Cancer Center                                                                                        STATES                                        Pharmaceuticals, &
                                                                                                                                                   Biotech


California Polytechnic State University      1 Grand Avenue                                     US   UNITED   Cal Poly State University            Education                1
                                                                                                     STATES


Quintairos, Prieto, Wood & Boyer, P.A.       9200 S DADELAND BLVD,STEPH-825                     US   UNITED   Quintairos Prieto Wood & Boyer P.A   Law Firms & Legal        1
                                                                                                     STATES                                        Services


Highbridge Capital Management, LLC.          40 West 57th Street 32nd fl                        US   UNITED                                                                 1
                                                                                                     STATES


SAP America Inc.                             3999 West Chester Pike                             US   UNITED   SAP AG                               Software & Internet      1
                                                                                                     STATES


Federal Express Corp.                        Federal Express Corp. Integrated Network           US   UNITED                                                                 1
                                             Planning and Engineering P.O. Box 727                   STATES


CI - Computer Generated Solutions SID-       200 VESEY ST                                       US   UNITED                                                                 1
20268                                                                                                STATES


ENERGY SERVICES                              512 W 5TH AVE                                      US   UNITED                                                                 1
                                                                                                     STATES


MITEL NETSOLUTIONS, INC. HQ                                                                          UNITED                                                                 1
(320617-1)                                                                                           STATES


CAESARS ENTERTAINMENT                        1 RIVERBOAT DR                                     US   UNITED                                                                 1
OPERATING                                                                                            STATES


Healthsource, Inc.                           P.O. Box 2041                                      US   UNITED   Vision Healthsource Inc              Financial Services       1
                                                                                                     STATES


Georgia Department of Education              1970 Twin Tower East 205 Jesse Hill Jr. Drive SE   US   UNITED   Georgia Department of Education      Education                1
                                                                                                     STATES


GENERAL ELECTRIC COMPANY                     8700 GOVERNORS HILL                                US   UNITED   General Electric Company             Manufacturing            1
                                                                                                     STATES


Maven Wave Partners, LLC                     550 W Washington St                                US   UNITED   Maven Wave Partners LLC              Software & Internet      1
                                                                                                     STATES


Commonwealth of Massachusetts                Massachusetts Office of Information Technology     US   UNITED                                                                 1
                                             Suite 2100                                              STATES


North American Signs, Inc.                   3601 W. Lathrop                                    US   UNITED                                                                 1
                                                                                                     STATES


Florida Department of Insurance              200 East Gaines Street                             US   UNITED   Florida Department of Insurance                               1
                                                                                                     STATES


Total                                                                                                                                                                      988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 143 of 178 PageID #:
                                         1930

NYLCare Corp.                          1000 Middle Street                                US              UNITED        Aetna Inc                            Insurance               1
                                                                                                         STATES


University of Calgary                  Information Technologies, University of Calgary   CA              CANADA        University of Calgary                Education               1
                                       2500 University Drive NW


Madonna University                     36600 Schoolcraft Road                            US              UNITED        Madonna University                   Education               1
                                                                                                         STATES


State of Washington - Department of    P.O. Box 42450                                    US              UNITED        Washington State Department          Government              1
Information Services                                                                                     STATES


STM TECHNOLOGY INC                     60 TAYLOR                                         US              UNITED                                                                     1
                                                                                                         STATES


The School Board of Brevard County     2700 Judge Fran Jamieson Way                      US              UNITED                                                                     1
                                                                                                         STATES


Green Mountain Coffee Roasters         5 Pilgram Park Rd                                 US              UNITED        Green Mountain Coffee Roasters ,     Manufacturing           1
                                                                                                         STATES        Inc.


Georgia Dept. of Technical and Adult   1800 Century Place Suite 590                      US              UNITED        Technical College System of          Education               1
Education                                                                                                STATES        Georgia


AUGUST WEST CHIMNEY                                                                      US              UNITED        August West Chimney LLC              Real Estate &           1
                                                                                                         STATES                                             Construction


Realogy Group LLC                      175 Park Ave                                      US              UNITED                                                                     1
                                                                                                         STATES


Tacomalink, LLC                        800 5th ave #101-289                              US              UNITED                                                                     1
                                                                                                         STATES


Peak 10, Inc.                          8910 Lenox Pointe Dr. Suite A                     US              UNITED        Peak 10 Inc                          Software & Internet     1
                                                                                                         STATES


DEF INFO SYS AG 90DI                   11600 Springfield Road 1st Floor                  US              UNITED                                                                     1
                                                                                                         STATES


LOGIS                                  5750 Duluth Street                                US              UNITED        LOGIS                                Software & Internet     1
                                                                                                         STATES


Carbon Lehigh Intermediate Unit 21     4210 Independence Drive                           US              UNITED        Carbon Lehigh Intermediate Unit 21   Education               1
                                                                                                         STATES


Report Services, Inc                   333 W Wacker Drive                                                UNITED                                                                     1
                                                                                                         STATES


INGLESID HOMES INC                     1005 N FRANKLIN ST                                US              UNITED                                                                     1
                                                                                                         STATES


Lincoln Investment Planning            218 GLENSIDE AVE                                  US              UNITED        Lincoln Investment Planning , Inc.   Financial Services      1
                                                                                                         STATES


Brown Brothers Harriman & Co.          525 Washington Blvd                               US              UNITED        Brown Brothers Harriman & Co.        Financial Services      1
                                                                                                         STATES


Wilkes University                      84 West South Street                              US              UNITED        Wilkes University                    Education               1
                                                                                                         STATES


Bruce Layne                            1107 KENTUCKY FRFLD                               US                                                                                         1


Lion Resources, Inc.                   375 Hudson St.                                    US              UNITED        Taia Lion Resources Inc              Agriculture & Mining    1
                                                                                                         STATES


State Bar of Georgia                   104 Marietta St NW Suite 100                      US              UNITED        State Bar of Georgia                 Non-Profit              1
                                                                                                         STATES


Precision Images                       1106 SW Burnside                                  US              UNITED        Precision Images                     Retail                  1
                                                                                                         STATES


DIGITALPATH, INC                       1065 Marauder St                                  UNITED STATES   UNITED                                                                     1
                                                                                                         STATES


Anonymizer, Inc.                                                                         US              NETHERLANDS   Anonymizer Inc                       Software & Internet     1


Baptist Health South Florida, Inc.     6855 Red Road Suite 400                           US              UNITED        Baptist Health South Florida Inc     Healthcare,             1
                                                                                                         STATES                                             Pharmaceuticals, &
                                                                                                                                                            Biotech


State Street Bank and Trust Company    1776 Heritage Drive Mail Stop JAB4NE              US              UNITED        State Street Corporation             Financial Services      1
                                                                                                         STATES


Department of Education                2 Metrotech Center Suite 3600                     US              UNITED        New York City Department of          Government              1
                                                                                                         STATES        Education


Total                                                                                                                                                                              988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 144 of 178 PageID #:
                                         1931

WEYMOUTH SCHOOL ADMIN                                                                          US   UNITED                                                            1
                                                                                                    STATES


CITISTREET                                   30 Braintree Hill Office Park                     US   UNITED   CitiStreet LLC                    Insurance              1
                                                                                                    STATES


United States Senate                         2 MASSACHUSETTS AVENUE, N.E. 6TH                  US   UNITED   United States Senate              Government             1
                                             FLOOR                                                  STATES


Lincoln National Corporation                 Lincoln National Corporation 1500 Market St Ste   US   UNITED   Lincoln Financial Group           Insurance              1
                                             3900W                                                  STATES


Automated Benefit Services, Inc              8220 IRVING RD                                    US   UNITED   Automated Benefit Services Inc    Insurance              1
                                                                                                    STATES


Robert Bosch LLC                             1800 West Central Road                            US   UNITED   Robert Bosch GmbH                 Manufacturing          1
                                                                                                    STATES


GENERAL ELECTRIC CO                          1649 W FRANKFORD RD                               US   UNITED                                                            1
                                                                                                    STATES


New York University                          726 Broadway, 8th Floor - ITS                     US   UNITED   New York University               Education              1
                                                                                                    STATES


PUBLIC LIBR INDAIN PRAIRIE                                                                     US   UNITED                                                            1
                                                                                                    STATES


Triple E Machinery, El Monte                 3301 Gilman Rd                                    US   UNITED   TRIPLE-E MACHINERY MOVING         Transportation &       1
                                                                                                    STATES   INC                               Storage


Stantec Consulting Ltd                       Edmonton HO -300, 10160 112 St                    CA   CANADA   Stantec Inc.                      Real Estate &          1
                                                                                                                                               Construction


Ole Ben Franklin                             9711 Kingston Pike                                US   UNITED                                                            1
                                                                                                    STATES


STARGEL OFFICE SYSTEMS, INC.                 4700 BLALOCK RD                                   US   UNITED                                                            1
                                                                                                    STATES


University of Oregon                         UO Information Services 1225 Kincaid Street       US   UNITED   University of Oregon              Education              1
                                                                                                    STATES


University of North Carolina at Greensboro   1000 Spring Garden Street                         US   UNITED   University of North Carolina at   Education              1
                                                                                                    STATES   Greensboro


Virtua Health                                301 Lippincott Dr.                                US   UNITED   Virtua Health Inc                 Healthcare,            1
                                                                                                    STATES                                     Pharmaceuticals, &
                                                                                                                                               Biotech


Bucks County Intermediate Unit #22           705 N. Shady Retreat Road                         US   UNITED   Bristol Township School Dist      Education              1
                                                                                                    STATES


CITY OF REYNOLDSBURG                         7240 E MAIN ST                                    US   UNITED                                                            1
                                                                                                    STATES


DRS LLC                                      1343 Belmont Avenue                               US   UNITED   DRS LLC                           Software & Internet    1
                                                                                                    STATES


Ocean Spray Cranberries, Inc.                One Ocean Spray Drive                             US   UNITED   Ocean Spray Inc.                  Manufacturing          1
                                                                                                    STATES


Target Corporation                           1000 Nicollet TPS 3165                            US   UNITED   Target Corporation                Retail                 1
                                                                                                    STATES


New Pig Corp                                 1 Pork Ave.                                       US   UNITED   New Pig Corporation               Manufacturing          1
                                                                                                    STATES


University of Maryland at Baltimore          601 W. Lombard St                                 US   UNITED   University of Maryland            Education              1
                                                                                                    STATES


Millhouse Electronics                        3133 Bluff Place                                  US   UNITED   Millhouse Electronics Inc         Retail                 1
                                                                                                    STATES


AIROOM INC                                   6825 N LINCOLN AVE                                US   UNITED                                                            1
                                                                                                    STATES


Temple University                            3rd floor Telecommunications 1101 W               US   UNITED   Temple University                 Education              1
                                             Montgomery Avenue                                      STATES


CONEMAUGH VALLEY MEMORIA                     1086 FRANKLIN ST.                                 US   UNITED   Conemaugh Health System           Healthcare,            1
                                                                                                    STATES                                     Pharmaceuticals, &
                                                                                                                                               Biotech


GALLAGHE BRIODY BUTLER                                                                         US   UNITED                                                            1
                                                                                                    STATES


Total                                                                                                                                                                988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 145 of 178 PageID #:
                                          1932

Colgate-Palmolive Company           909 River Road                                 US   UNITED   Colgate-Palmolive Company          Manufacturing          1
                                                                                        STATES


Skyline Membership Corp.            PO Box 759                                     US   UNITED                                                             1
                                                                                        STATES


Avidex                              13555 Bel-Red Road Suite 226                   US   UNITED   Avidex                             Software & Internet    1
                                                                                        STATES


State Street IMS                    46 Discovery                                   US   UNITED                                                             1
                                                                                        STATES


RightNow Ministries International   3304 ESSEX DR                                  US   UNITED                                                             1
                                                                                        STATES


Huntington Bancshares Inc.          41 south high street                           US   UNITED   Huntington National Bank           Financial Services     1
                                                                                        STATES


Douglas County Schools              14200 E JEWELL AVE                             US   UNITED                                                             1
                                                                                        STATES


CS Technologies                     125 N Second St.                               US   UNITED                                                             1
                                                                                        STATES


JEFF PLATT                          44 STONE MOUNTAIN                              US   UNITED                                                             1
                                                                                        STATES


City of Phoenix                     251 W Washington                               US   UNITED   Phoenix Fire Department            Government             1
                                                                                        STATES


University of Texas at Austin       ITS - Telecommunications and Networking 1      US   UNITED   University of Texas at Austin      Education              1
                                    University Station, C2900                           STATES


Endicott College                    376 Hale Street                                US   UNITED   Endicott College                   Education              1
                                                                                        STATES


PSP GROUP LLC                       17197 LAUREL PARK DR N                         US   UNITED                                                             1
                                                                                        STATES


GOOCHLAND COUNTY                    1800 SANDY HOOK RD                             US   UNITED   Goochland County                   Real Estate &          1
                                                                                        STATES                                      Construction


MOGEL SPIEDEL BOBB                                                                 US   UNITED                                                             1
                                                                                        STATES


Project Consulting Services, Inc.   3300 W ESPLANADE AVE                           US   UNITED   Project Consulting Services Inc    Real Estate &          1
                                                                                        STATES                                      Construction


Kentucky Department of Education    15 Fountain Place                              US   UNITED   Kentucky Department of Education   Government             1
                                                                                        STATES


Arialink                            230 N Washington Square                        US   UNITED   Arialink LLC                       Telecommunications     1
                                                                                        STATES


Trinity Industries, Inc.            Technical Services                             US   UNITED   Trinity Industries , Inc.          Manufacturing          1
                                                                                        STATES


SHORE MA NUFACTURING                100 COMMERCE DR                                US   UNITED                                                             1
                                                                                        STATES


Scott Cars Inc                      3333 Lehigh St                                 US   UNITED                                                             1
                                                                                        STATES


North Carolina State University     Avent Ferry Technology Center, Box 7208 2114   US   UNITED   North Carolina State University    Education              1
                                    Avent Ferry Road                                    STATES


BROOKDALE SENIOR LIVING             111 WESTWOOD PL                                US   UNITED   Brookdale Living Communities Inc                          1
                                                                                        STATES


East Carolina University            East Fifth Street                              US   UNITED   East Carolina University           Education              1
                                                                                        STATES


WINSLOW AUTOMATICS                                                                 US   UNITED   Winslow Automatics Inc             Manufacturing          1
                                                                                        STATES


Euro-Pro Operating LLC              180 Wells Ave                                       UNITED                                                             1
                                                                                        STATES


CI - ITT EDUCATIONAL SERVICE INC    13000 N Meridian St                            US   UNITED                                                             1
SID-22001                                                                               STATES


Air Advantage LLC                   465 N. Franklin Suite A                        US   UNITED   Air Advantage LLC                  Telecommunications     1
                                                                                        STATES


Total                                                                                                                                                     988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 146 of 178 PageID #:
                                         1933

Superior Mailing Services                                                                  UNITED                                                                  1
                                                                                           STATES


HUGHES E NVIRONMENTAL                 14 LEIGHTON PL                                  US   UNITED                                                                  1
                                                                                           STATES


PREMIER DISTRIBUTING COMPNY           4321 YALE BLVD NE BLDG MAIN FLR 1 RM            US   UNITED    Premier Distributing Company                                  1
                                      SERVER                                               STATES


DEPARTMENT OF HOMELAND                Department of Homeland Security 300 7th St SW   US   UNITED    Department of Homeland Security        Government             1
SECURITY                                                                                   STATES


GAMESTOP, INC.                        6125 Westport Parkway                           US   UNITED    GameStop Corp.                         Retail                 1
                                                                                           STATES


Leidos, Inc.                          11951 Freedom Drive                             US   UNITED    Leidos Inc                             Software & Internet    1
                                                                                           STATES


KELLEY CADILLAC                                                                       US   UNITED    Tom Kelley Cadillac                    Retail                 1
                                                                                           STATES


Temple Etz Chaim                      1080 E JANSS RD                                 US   UNITED    Temple Etz Chaim                       Non-Profit             1
                                                                                           STATES


Gwinnett County Public Schools        437 Old Peachtree Road NW                       US   UNITED    Gwinnett County Public Schools         Education              1
                                                                                           STATES


GATEHOUSE MEDIA, INC -                511 LENOX ST                                    US   UNITED                                                                  1
STROUDSBURG, PA                                                                            STATES


Heidelberger Druchmaschinen AG                                                        DE   GERMANY   Heidelberg USA, Inc.                   Manufacturing          1


FISHER SCIENTIFIC                     600 Business Center Drive                       US   UNITED    Fisher Scientific Company              Manufacturing          1
                                                                                           STATES


Abacus Group LLC                      767 Third Avenue                                US   UNITED    Abacus Group LLC                       Business Services      1
                                                                                           STATES


Nik Entertainment                     274 N. Goodman St.                              US   UNITED    Nik Entertainment Co                   Travel, Recreation,    1
                                                                                           STATES                                           and Leisure


Alentus Corporation                   180 E Broad Street Suite 808                    US   UNITED    Alentus Corporation                    Telecommunications     1
                                                                                           STATES


LAKELAND BANCORP INC                  5716 BERKSHIRE VALLEY RD                        US   UNITED    LAKELAND BANCORP INC                   Financial Services     1
                                                                                           STATES


University of California, San Diego   Administrative Computing & Telecommunications   US   UNITED    University of California , San Diego   Healthcare,            1
                                      Attn: Hostmaster                                     STATES                                           Pharmaceuticals, &
                                                                                                                                            Biotech


SAM SILVERMAN DVM PHD ASSO                                                            US   UNITED                                                                  1
                                                                                           STATES


Brodigan and Gardner LLP              40 Broad St                                     US   UNITED                                                                  1
                                                                                           STATES


OCEAN COUNTY                          101 HOOPER AVE na na                            US   UNITED    Ocean County College                   Education              1
                                                                                           STATES


US TAX COURT                          400 2ND ST NW # G-24A                           US   UNITED                                                                  1
                                                                                           STATES


Jeanine Williams10192012161209645     Hosting Center Address                               UNITED                                                                  1
                                                                                           STATES


Ernst and Young LLP                   200 Plaza Drive                                 US   UNITED                                                                  1
                                                                                           STATES


Fourway Computer Products, Inc.       51601 State Road 933 N                          US   UNITED    Fourway Computer Products Inc          Telecommunications     1
                                                                                           STATES


Oklahoma State University             407 Whitehurst Oklahoma State University        US   UNITED    Oklahoma State University              Education              1
                                                                                           STATES


CSAUH Cleveland                       2351 East 22nd Street                           US   UNITED                                                                  1
                                                                                           STATES


The Home Depot Inc.                   2455 Paces Ferry Road                           US   UNITED    The Home Depot Inc.                    Retail                 1
                                                                                           STATES


McAfee, Inc.                          2821 Mission College Blvd.                      US   UNITED    McAfee , Inc.                          Manufacturing          1
                                                                                           STATES


Total                                                                                                                                                             988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 147 of 178 PageID #:
                                         1934

Wake Forest University Baptist Medical   Information Services Medical Center Blvd.   US   UNITED   Wake Forest Institute for         Healthcare,           1
Center                                                                                    STATES   Regenerative Medicine             Pharmaceuticals, &
                                                                                                                                     Biotech


VILLAGE FLOWER HILL V                    1 BONNIE HEIGHTS                            US   UNITED   villageflowerhill.com             Government            1
                                                                                          STATES


AMERICA WEST AIRLINES                    1930 W UNIVERSITY DR                        US   UNITED   US Airways Inc                    Transportation &      1
                                                                                          STATES                                     Storage


Columbus Regional Hospital               2400 E. 17th Street                         US   UNITED   Columbus Regional Hospital        Healthcare,           1
                                                                                          STATES                                     Pharmaceuticals, &
                                                                                                                                     Biotech


JOSEPH STADELMAN ELECTR CO                                                           US   UNITED                                                           1
                                                                                          STATES


Safeway Inc                              5918 Stoneridge Mall Rd.                    US   UNITED   Safeway Inc.                      Retail                1
                                                                                          STATES


MIKE'S FEED FARM                         90 HAMBURG TP                               US   UNITED                                                           1
                                                                                          STATES


WAYNE COUNTY AIRPORT                     601 ROGELL DR                               US   UNITED   Wayne County Airport Authority    Transportation &      1
AUTHORITY                                                                                 STATES                                     Storage


The CIT Group                            CIT Drive                                   US   UNITED   CIT Group Inc.                    Financial Services    1
                                                                                          STATES


Ernst & Young LLP                        200 Plaza Drive                             US   UNITED   Ernst & Young LLP                 Business Services     1
                                                                                          STATES


Johnson Outdoors Inc.                    555 Main St.                                US   UNITED   Johnson Outdoors Inc.             Retail                1
                                                                                          STATES


THE GARDEN CITY GROUP                    420 LEXINGTON AVE                           US   UNITED   The Garden City Group Inc         Law Firms & Legal     1
                                                                                          STATES                                     Services


LAW OFFICE CLIFFORD ENTEN                50 S STEELE ST UNIT 875                     US   UNITED                                                           1
                                                                                          STATES


ORADELL ANIMAL HOSPIT                    580 WINTERS AV                              US   UNITED                                                           1
                                                                                          STATES


MOTORVILLE, INC                          5515 RACETRACK RD                           US   UNITED   Motorville Inc                    Retail                1
                                                                                          STATES


Texas Workforce Commission               Room 0316 101 E 15th St                     US   UNITED   Texas Workforce Commission        Government            1
                                                                                          STATES


TROIL ENTERPRISES                        2485 STATE ST EXT                           US   UNITED   Troil Enterprises LLC             Real Estate &         1
                                                                                          STATES                                     Construction


WERMER ROGERS DORAN RUZON                                                            US   UNITED                                                           1
                                                                                          STATES


Johnson & Wales University               8 Abbott Park Place                         US   UNITED   Johnson & Wales University        Education             1
                                                                                          STATES


Life Technologies Corp.                  7305 Executive Way                          US   UNITED   Life Technologies Corporation     Healthcare,           1
                                                                                          STATES                                     Pharmaceuticals, &
                                                                                                                                     Biotech


Dominion Virginia Power                  701 E. Cary St. P.O. Box 26666              US   UNITED                                                           1
                                                                                          STATES


MECNET CO                                                                            US   UNITED                                                           1
                                                                                          STATES


Potlatch Corporation                     23403 E Mission Ave                         US   UNITED   Potlatch Corporation              Manufacturing         1
                                                                                          STATES


ITT Hartford                             Hartford Plaza                              US   UNITED   Woodbury Financial Services Inc   Financial Services    1
                                                                                          STATES


Talecris Biotherapeutics Inc             8368 US Hwy 70 W                            US   UNITED   Talecris Biotherapeutics Inc      Healthcare,           1
                                                                                          STATES                                     Pharmaceuticals, &
                                                                                                                                     Biotech


Capital Area Intermediate Unit           P.O. Box 489                                US   UNITED   Capital Area Intermediate Unit    Education             1
                                                                                          STATES


Oleane SA                                                                            FR   FRANCE                                                           1


Total                                                                                                                                                     988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 148 of 178 PageID #:
                                         1935

Vital Images Inc.                      5480 FELTL                                   US   UNITED   Vital Images Inc                     Software & Internet    1
                                                                                         STATES


ATLINK SERVICES, LLC                   13431 N. Broadway Ext., Suite 120            US            AtLink Services LLC                  Telecommunications     1


Metropolitan Airports Commission       6040 28th Ave. South                         US   UNITED   Metropolitan Airports Commission     Government             1
                                                                                         STATES


CROWLEY NORMAN LLP                     3 RIVERWAY                                   US   UNITED   Crowley Norman LLP                   Law Firms & Legal      1
                                                                                         STATES                                        Services


Providence Health & Services           1801 Lind Ave.                               US   UNITED   Providence Health System             Healthcare,            1
                                                                                         STATES                                        Pharmaceuticals, &
                                                                                                                                       Biotech


MILLER BROTHERS, INC.                  7587 CAPITOL WAY                             US   UNITED                                                               1
                                                                                         STATES


Southwest Gas Corporation              5241 Spring Mountain Road                    US   UNITED   Southwest Gas Corporation            Energy & Utilities     1
                                                                                         STATES


TEA FORTE                                                                           US   UNITED                                                               1
                                                                                         STATES


METRA-RAIL                             547 W JACKSON BL                             US   UNITED                                                               1
                                                                                         STATES


STATE OF NEW JERSEY                    25 MARKET ST                                 US   UNITED   NJ Department of Education                                  1
                                                                                         STATES


First National Bank and Trust of the   973 SE Federal Hwy                           US   UNITED                                                               1
Treasure Coast - BCT LAN                                                                 STATES


SDSO                                   5555 Overland Ave Bldg. 12                   US   UNITED                                                               1
                                                                                         STATES


Federal Aviation Administration        William J Hughes Technical Center AJA-1423   US   UNITED   Federal Aviation Administration      Government             1
                                                                                         STATES


BHN CFL Division                       1218 Millenium Parkway                       US   UNITED                                                               1
                                                                                         STATES


BUZZ OATES BOMS 200-0950               555 CAPITOL MALL                             US   UNITED                                                               1
                                                                                         STATES


State of Arkansas                      Department of Computer Services              US   UNITED   Arkansas , Inc.                      Government             1
                                                                                         STATES


University of Maryland                 System Administration 3300 Metzerott Road    US   UNITED   University System of Maryland        Education              1
                                                                                         STATES


Nationwide Mutual Insurance Company    One Nationwide Plaza                         US   UNITED   Nationwide Insurance Company         Insurance              1
                                                                                         STATES


Greater Orlando Aviation Authority     9000 Airport Blvd                            US   UNITED   Greater Orlando Aviation Authority   Transportation &       1
                                                                                         STATES                                        Storage


Chubb & Son                            I/T Governance                               US   UNITED   The Chubb Corporation                Insurance              1
                                                                                         STATES


DOUGLAS PRESS, INC.                    2810 MADISON                                 US   UNITED   Douglas Press Inc                    Travel, Recreation,    1
                                                                                         STATES                                        and Leisure


MAINE BUREAU OF TAXATION               OIT NETWORK SERVICES DIVISION STATE          US   UNITED   Maine Department of Transportation   Government             1
                                       HOUSE STATION 145                                 STATES


Stormsource, LLC dba AppointmentPlus   15300 N 90th Street Suite 100                US   UNITED                                                               1
                                                                                         STATES


Valley Transit Authority               3331 North First Street                      US   UNITED   Antelope Valley Transit Authority    Transportation &       1
                                                                                         STATES                                        Storage


I P CALLISON & SONS, INC               2400 CALLISON RD NE                          US   UNITED   I.P. Callison & Sons                                        1
                                                                                         STATES


Florida Water Products, Inc.           5069 SAVARESE CIR                            US   UNITED   Florida Water Products , Inc.                               1
                                                                                         STATES


Mid State Bank                         398 Sunrise Terrace                          US   UNITED   Rabobank                             Financial Services     1
                                                                                         STATES


Texas State Comptrollers of Public     LBJ State Office Building                    US   UNITED                                                               1
Accounts                                                                                 STATES


Total                                                                                                                                                        988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 149 of 178 PageID #:
                                         1936

County of Orange                       1400 S. Grand Ave.                       US   UNITED   Orange County Public Library    Cultural                 1
                                                                                     STATES


United Technologies Research Center    United Technologies Corporation          US   UNITED   United Technologies Corp.       Manufacturing            1
                                                                                     STATES


DigitalPath Inc.                       1100 N Market Street                          UNITED                                                            1
                                                                                     STATES


NiSource Corporate Services Company    801 E 86th Ave                           US   UNITED   NiSource Corporate Services     Energy & Utilities       1
                                                                                     STATES   Company


Arvest                                 Hosting Center Address                        UNITED                                                            1
                                                                                     STATES


UAW-LEGAL SERVICES PLAN-               Hosting Center Address                        UNITED                                                            1
110413122510                                                                         STATES


IVYTech Community College of Indiana   9301 East 59th Street                    US   UNITED                                   Education                1
                                                                                     STATES


WILLIAM PATERSON UNIVERSITY            300 POMPTON ROAD                         US   UNITED   William Paterson University     Education                1
                                                                                     STATES


MEDCOR, INC.                           1 PIERCE PL                              US   UNITED   Medcor Inc                      Healthcare,              1
                                                                                     STATES                                   Pharmaceuticals, &
                                                                                                                              Biotech


GUESS, INC.                            1444 s. Alameda                          US   UNITED   Guess? , Inc.                   Retail                   1
                                                                                     STATES


Bank of Oklahoma                       Plaza 1 Williams Center                  US   UNITED   BOKF                            Financial Services       1
                                                                                     STATES


The Vanguard Group, Inc.               100 Vanguard Blvd. V26                   US   UNITED   Vanguard                        Financial Services       1
                                                                                     STATES


REED ELSEVIER                          9333 SPRINGBORO PIKE                     US   UNITED   LexisNexis Company              Media & Entertainment    1
                                                                                     STATES


CLEAN HARBORS ENVIRONMENTAL            42 LONGWATER DR                          US   UNITED   Clean Harbors Inc               Energy & Utilities       1
                                                                                     STATES


TEXAS ASSOCIATION OF SCHOOL            12007 RESEARCH BLVD                      US   UNITED                                                            1
BOARD                                                                                STATES


VILLAGE LLOYD HARBOR                   32 MIDDLE HLLW RD                        US   UNITED                                                            1
                                                                                     STATES


Brown & Riding Insurance Inc           777 S Figueroa St                             UNITED                                                            1
                                                                                     STATES


University of Iowa                     Information Technology Services 416 NH   US   UNITED   University of Iowa              Education                1
                                                                                     STATES


Dis Org                                2560 Bancroft Way                        US   UNITED                                                            1
                                                                                     STATES


County of Placer                       Placer County IT                         US   UNITED   Placer Co.                      Government               1
                                                                                     STATES


Glass Lewis & Co., LLC                 One Sansome street Suite 3300            US                                                                     1


Central Virginia Community Services    2241 Langhorne Rd                        US   UNITED   Central Virginia Community      Healthcare,              1
                                                                                     STATES   Services                        Pharmaceuticals, &
                                                                                                                              Biotech


INFOR GLOBAL SOLUTIONS                 2211 Old Earhart Road Suite 250          US   UNITED   Infor Inc                       Software & Internet      1
(MICHIGAN), INC.                                                                     STATES


Kimberly-Clark Corp.                   Kimberly-Clark Corp. 401 N. Lake St.     US   UNITED   Kimberly-Clark Corporation      Manufacturing            1
                                                                                     STATES


Office Depot                           6600 N. Military Trail                   US   UNITED   Office Depot Inc                Retail                   1
                                                                                     STATES


Lifespan Corp.                         167 Point Street                         US   UNITED   Lifespan Corporation            Healthcare,              1
                                                                                     STATES                                   Pharmaceuticals, &
                                                                                                                              Biotech


Hallmark Cards Inc.                    2501 McGee Mail Drop 355                 US   UNITED   Hallmark Cards Nederland B.V.   Manufacturing            1
                                                                                     STATES


BCBS OF MI                             600 EAST LAFAYETTE                       US   UNITED   The BCBSM Foundation            Non-Profit               1
                                                                                     STATES


Total                                                                                                                                                 988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 150 of 178 PageID #:
                                         1937

PORT AUTHORITY OF NY NJ                  241 ERIE ST                                   US   UNITED    The Port Authority            Government             1
                                                                                            STATES


M ROTHMAN 7                              50 WILLIAMS DRIVE                             US   UNITED    M. Rothman & Company Inc.     Retail                 1
                                                                                            STATES


New Haven Public Schools                 165 Church Street                             US   UNITED    New Haven Public Schools      Education              1
                                                                                            STATES


RZB FINANCE LLC                          1133 Avenue of the Americas 16th floor        US   UNITED    RZB Finance LLC               Financial Services     1
                                                                                            STATES


International Paper                      3232 Players Club Parkway                     US   UNITED    International Paper Company   Manufacturing          1
                                                                                            STATES


Ptera Inc.                               POB 135                                       US   UNITED    Ptera Inc                     Telecommunications     1
                                                                                            STATES


Arizona State Government                 100 N. 15th Ave., Suite 400                   US   UNITED    Arizona Lottery               Travel, Recreation,    1
                                                                                            STATES                                  and Leisure


MAXIMUS INC.                             3130 KILGORE RD                               US   UNITED    MAXIMUS Inc                   Software & Internet    1
                                                                                            STATES


Quik Trip Corporation                    4705 S. 129th East Ave                             UNITED                                                         1
                                                                                            STATES


Alteva Inc                               47 Main St                                    US   UNITED    ALTEVA, INC.                  Telecommunications     1
                                                                                            STATES


DirectLink, LLC.                         43217 London Avenue                           US   UNITED    DirectLink LLC                Telecommunications     1
                                                                                            STATES


RALLS TECHNOLOGIES, LLC                  17594 Highway 19                              US             Ralls Technologies LLC                               1


Fulbright & Jaworski                     1301 McKinney St                                   UNITED                                                         1
                                                                                            STATES


Affinity Health Plan                     2500 Halsey St                                US   UNITED    Affinity Health Plan Inc      Insurance              1
                                                                                            STATES


DPR Construction                         1450 Veterans Blvd                            US   UNITED    DPR Foundation                Non-Profit             1
                                                                                            STATES


ANZ Investment Bank                                                                    UK   UNITED                                                         1
                                                                                            KINGDOM


MIDCAP AND COMPANY-090526111102          Hosting Center Address                             UNITED                                                         1
                                                                                            STATES


University of Minnesota                  2218 Univ Ave SE                              US   UNITED    University of Minnesota       Education              1
                                                                                            STATES


PRECISION CONVERSION LLC                 1900 NE 25TH AVE                              US   UNITED                                                         1
                                                                                            STATES


IDC Research, Inc.                       5 Speen Street                                US   UNITED    IDC Company                   Software & Internet    1
                                                                                            STATES


Harvard University                       HUIT Network Services Suite 132               US   UNITED    Harvard University            Education              1
                                                                                            STATES


KENNEY REALTY                            4712 MILGEN RD                                US   UNITED    KENNEY REALTY                 Real Estate &          1
                                                                                            STATES                                  Construction


Fullerton Community College              321 East Chapman Avenue                       US   UNITED                                  Education              1
                                                                                            STATES


BRICKER & ECKLER, LLP                    1001 LAKESIDE AVE ESuite 1350                 US   UNITED    Bricker & Eckler LLP          Law Firms & Legal      1
                                                                                            STATES                                  Services


The University of Alabama                A301 Gordon Palmer Hall Box 870346            US   UNITED    University of Alabama         Education              1
                                                                                            STATES


W B Doner (184496-2)                                                                        UNITED                                                         1
                                                                                            STATES


Santa Clara County Office of Education   Regional Technology Center 1290 Ridder Park   US   UNITED    SCCOE schools                 Education              1
                                         Drive                                              STATES


University of Oklahoma HSC               800 NE 15th                                   US   UNITED                                  Education              1
                                                                                            STATES


Fort Lewis College                       150A Admin. Bldg, Computer Center             US   UNITED    Fort Lewis College            Education              1
                                                                                            STATES


Total                                                                                                                                                     988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 151 of 178 PageID #:
                                         1938

SHOE CARNIVAL, INC.                     1956 OLD FORT PKWY                               US   UNITED   Shoe Carnival Inc                     Retail                 1
                                                                                              STATES


PHOENIX CHILDREN'S HOSPITAL             1919 E. Thomas Rd                                US   UNITED   Phoenix Children's Hospital           Healthcare,            1
                                                                                              STATES                                         Pharmaceuticals, &
                                                                                                                                             Biotech


American Airlines Incorporated          P.O.Box 619616 MD 5308                           US   UNITED   American Airlines , Inc.              Transportation &       1
                                                                                              STATES                                         Storage


Lafayette College                       High St                                          US   UNITED   Lafayette College                     Education              1
                                                                                              STATES


Friedkin Companies, Inc.                1375 Enclave Parkway                             US   UNITED                                                                1
                                                                                              STATES


University of Southern California       3434 South Grand Avenue Information Technology   US   UNITED   University of Southern California     Education              1
                                        Services                                              STATES


Texas Health and Human Services         701 W. 51st Street Building C - 1st Floor        US   UNITED   Texas Health and Human Services       Government             1
Commission                                                                                    STATES   Commission


Borough of Kutztown                     45 Railroad Street                               US   UNITED   Borough                               Government             1
                                                                                              STATES


CARMAX                                  12800 TUCKAHOE CREEK PKWY                        US   UNITED   CarMax , Inc.                         Retail                 1
                                                                                              STATES


Milwaukee Area Technical College        700 West State Street                            US   UNITED   Milwaukee Area Technical College      Education              1
                                                                                              STATES


ROCKWELL AUTOMATION                     1201 SOUTH 2ND STREET                            US   UNITED   Rockwell Automation, Inc.             Software & Internet    1
                                                                                              STATES


South Coast Air Quality Management      21865 Copley Drive                               US   UNITED   AQMD                                  Government             1
District                                                                                      STATES


APEX WIND ENERGY                        212 E HIGH ST                                    US   UNITED                                                                1
                                                                                              STATES


K1 Speed                                17221 VON KARMAN AVE                             US   UNITED   K1 Speed INC                          Travel, Recreation,    1
                                                                                              STATES                                         and Leisure


Simply Bits, LLC                        5225 N. Sabino Canyon Rd.                        US   UNITED   Simply Bits LLC                       Software & Internet    1
                                                                                              STATES


Weather Channel - ALYGA                                                                                                                                             1


Morehead State University               110 Ginger Hall                                  US   UNITED   Morehead State University             Education              1
                                                                                              STATES


American Collegiate Marketing           4440 HAGADORN RD                                 US   UNITED   American Collegiate Marketing, Inc.   Business Services      1
                                                                                              STATES


Georgia Aquarium - AEP LAN              3065 Main Street                                 US   UNITED                                                                1
                                                                                              STATES


Charles Schwab & Co., Inc.              211 Main Street                                  US   UNITED   The Charles Schwab Corporation        Financial Services     1
                                                                                              STATES


Maryland Administrative Office of the   2661 Riva Road, Suite 900                        US   UNITED                                                                1
Courts (AOC)                                                                                  STATES


St. Peter's Healthcare Services         2215 BURDETT AVE                                 US   UNITED                                                                1
                                                                                              STATES


AURORA UNIVERSITY                       347 S GLADSTONE AVE                              US   UNITED   Aurora University                     Education              1
                                                                                              STATES


University of Virginia                  University of Virginia, ITC P.O. Box 400324      US   UNITED   University of Virginia                Education              1
                                                                                              STATES


Northwestern University                 Leverone Hall #G-166 2001 Sheridan Rd            US   UNITED   Northwestern University               Education              1
                                                                                              STATES


SOLUTIONS PCS STRUCTURAL                                                                 US   UNITED                                                                1
                                                                                              STATES


Stan's Office Technologies              1375 S Eastwood Drive                            US   UNITED   Stan's Office Technologies Inc        Telecommunications     1
                                                                                              STATES


KINBER                                  5775 Allentown Blvd, Suite 101                   US   UNITED   KINBER                                Non-Profit             1
                                                                                              STATES


Total                                                                                                                                                              988
     Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 152 of 178 PageID #:
                                         1939

Lion Resources, Inc                         33 Arch St.                                   US   UNITED   Taia Lion Resources Inc        Agriculture & Mining     1
                                                                                               STATES


TORNIER INC                                 10801 NESBITT AVE S                           US   UNITED   Tornier Inc                    Healthcare,              1
                                                                                               STATES                                  Pharmaceuticals, &
                                                                                                                                       Biotech


Capital One Financial Corporation           1680 Capital One Drive                        US   UNITED                                                           1
                                                                                               STATES


Kinecta Federal Credit Union                1440 Rosecrans Ave                            US   UNITED   Kinecta Federal Credit Union   Financial Services       1
                                                                                               STATES


LAKEWAY PUBLISHERS, IN                      1608 W 1ST NORTH ST                           US   UNITED                                                           1
                                                                                               STATES


Involta                                     5055 REC DR                                   US   UNITED   Involta LLC                    Software & Internet      1
                                                                                               STATES


State of Wyoming                            Enterprise Technology Services 2001 Capitol   US   UNITED   Wyoming Company                Government               1
                                            Avenue                                             STATES


Sarasota County Government                  1660 Ringling Boulevard 5th Floor, EIT        US   UNITED   Sarasota County Government     Government               1
                                                                                               STATES


Moelis & Company                            1999 Avenue of the Stars                      US   UNITED   Moelis & Company               Financial Services       1
                                                                                               STATES


Oklahoma Office of Management &             3115 N. Lincoln Blvd.                         US   UNITED                                                           1
Enterprise Services                                                                            STATES


Clark County Information Systems            IT Department 500 S. Grand Central Pky        US   UNITED                                                           1
                                                                                               STATES


Federal Energy Regulatory Commission        888 First Street NE                           US   UNITED   Federal Energy Regulatory      Government               1
                                                                                               STATES   Commission


COSTAR GROUP INC                            1331 L St, NW                                 US   UNITED   CoStar Group Inc                                        1
                                                                                               STATES


SCG Services, LLC                           535 Scherers Ct                               US   UNITED                                                           1
                                                                                               STATES


Wilson County IT & Emergency Services       1817 Glendale Dr.                             US   UNITED                                                           1
                                                                                               STATES


Medcost                                     165 KIMEL PARK DR                             US   UNITED   Medcost Inc                    Healthcare,              1
                                                                                               STATES                                  Pharmaceuticals, &
                                                                                                                                       Biotech


MCCLATCHY MANAGEMENT                        2100 Q STREET                                 US   UNITED   The McClatchy Company          Media & Entertainment    1
SERVICES, INC.                                                                                 STATES


State of Washington/Department of Ecology   Dept. of Ecology P.O. Box 47600               US   UNITED   Washington State Department    Government               1
                                                                                               STATES


Widener University                          One University Place                          US   UNITED   Widener University             Education                1
                                                                                               STATES


ORG-Island_View_Casino                                                                         UNITED                                                           1
                                                                                               STATES


Beta Systems, Inc.                          350 North Sunny Slope Road                    US   UNITED   Thomson Reuters Corporation    Media & Entertainment    1
                                                                                               STATES


Kirk & Teff LLP                             10 Westbrook Ln                               US   UNITED                                                           1
                                                                                               STATES


Child Psychiatry Assiciates                 939 Office Park Road                          US   UNITED                                                           1
                                                                                               STATES


DIVERSIFIED COMPANIES                       300 BROADACRES                                US   UNITED                                                           1
                                                                                               STATES


Mary Washington Hospital, Inc.              1001 Sam Perry Blvd                           US   UNITED   Mary Washington Hospital       Healthcare,              1
                                                                                               STATES                                  Pharmaceuticals, &
                                                                                                                                       Biotech


HARRISON GYPSUM COMPANY                     1550 DOUBLE C DR                              US   UNITED                                                           1
                                                                                               STATES


Imerys Pigments                             100 Mansell Court East, Suite 300             US                                                                    1


County of Lake                              18 North County Street                        US   UNITED   Lake County Discovery Museum   Government               1
                                                                                               STATES


Total                                                                                                                                                          988
      Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 153 of 178 PageID #:
                                          1940

 MCCLEARY GERMAN ARCHITEC                                                     US   UNITED                                                           1
                                                                                   STATES


 Lake Geauga Computer Association         8221 Auburn Road                    US   UNITED   Lake & Geauga Computer           Non-Profit             1
                                                                                   STATES   Association


 LUKE OIL CO                              3592 N HOBART RD                    US   UNITED   Luke Oil Co.                                            1
                                                                                   STATES


 SPECTRUM ASSET MANAGEMENT                310 Orange Street                   US   UNITED   Spectrum Asset Management        Financial Services     1
                                                                                   STATES


 UniFund CCR Partners                     10625 TECHWOODS CIR                 US   UNITED                                                           1
                                                                                   STATES


 University of Kentucky                   123 McVey Hall                      US   UNITED   University of Kentucky           Education              1
                                                                                   STATES


 East West Bank.751                       415 Huntington Drive                US   UNITED   East West Bank Limited           Financial Services     1
                                                                                   STATES


 Liberty Healthcare Corporation           401 E. City Ave.                    US   UNITED   Liberty Healthcare Corporation   Healthcare,            1
                                                                                   STATES                                    Pharmaceuticals, &
                                                                                                                             Biotech


 Taconic Technology Corp                  24 Thomas St                        US   UNITED                                                           1
                                                                                   STATES


 Covenant Health                          1410 Centerpoint Blvd Information   US   UNITED   Fort Sanders Health & Fitness    Travel, Recreation,    1
                                          Services/Telecommunications              STATES   Center                           and Leisure


 CALENCE                                  30 S MCKEMY AVE                     US   UNITED   Calence , LLC                    Manufacturing          1
                                                                                   STATES


 Terrebonne Parish School - MSY           201 Stadium Dr                      US   UNITED                                                           1
                                                                                   STATES


 Health Alliance Plan 1154752             2850 W GRAND BLVD                   US   UNITED   Health Alliance Plan             Insurance              1
                                                                                   STATES


 Humboldt County                          Hosting Center Address                   UNITED                                                           1
                                                                                   STATES


 Andrews & Kurth, LLP                     600 Travis Suite 4200               US   UNITED   Andrews Kurth LLP                Law Firms & Legal      1
                                                                                   STATES                                    Services


 City of Sandy                            39250 Pioneer Blvd.                 US   UNITED   City of Sandy                    Government             1
                                                                                   STATES


 Purdue University Calumet                2200 169th St.                      US   UNITED   Purdue University                Education              1
                                                                                   STATES


 AmwareLogistics                          4505 Newpoint Place                 US   UNITED                                                           1
                                                                                   STATES


 JC MACELROY                              91 ETHEL RD                         US   UNITED                                                           1
                                                                                   STATES


 Total                                                                                                                                             988




Twitter Audience
The twitter accounts that have engaged with your release. See the tweets in the Engagement tab.
Total Followers: 509


                          A La Mode PR @AlaModePR
                          341 Followers




                          nicole troyan @nicoletroyan
                          4 Followers
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 154 of 178 PageID #:
                                    1941

      Peggy Phillips @cuxugiqecivu
      1 Followers




      Positively Canine @PCanine
      163 Followers
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 155 of 178 PageID #:
                                     1942




Engagement

         2,195                                              2,052                                               139                                         4
  Total Engagement                                         Click-throughs                                       Shares                                     Tweets
        Actions



Engagement Summary

Engagement Timeline
See when your audience engaged with your release.
 10000



  1000


       112                                                                                    134
                                                                                            119
                                                                                                8973
   100   61
        75                                                                                         5147495342
                                                                                                            37
           252330                       25                                      29       29                          29
                                                      18  19     16            19 161720                      2019
                1512                     8             1512 141215        1313
                                                                             13           12 131                 14
                                                   9 8               11                            47              10
    10 35           8                  8     7 8 8                       8              7
             20                      6     5        5              5474                                  52
                                   4                     9                        14                             12
                                     4        353             10
                                                                             12
                                                                         7
                          25                                                          20                      20
         1                      12                 9 8      14                            12
                                       8 5                         5                            5 4
                                              3 3                      4
                2
                               1   1                                       1 1 1 1                      1 1        1

         0
             2016-01-15



                               2016-01-21



                                            2016-01-27



                                                            2016-02-02



                                                                         2016-02-08



                                                                                      2016-02-14



                                                                                                   2016-02-20



                                                                                                                    2016-02-26



                                                                                                                                 2016-03-03



                                                                                                                                              2016-03-09




                           Cumulative                    Click-throughs               Shares                    Tweets           Downloads




Engagement Details
A break down of click-throughs, shares and other engagement actions.


Click-throughs
The number of times your release sent visitors to the pages you linked to
 URL                                                                                                                                                         Click-throughs


 http://www.petfoodsettlement.com/                                                                                                                                   1,948


 https://www.petfoodsettlement.com/                                                                                                                                     58


 Total                                                                                                                                                               2,052
 Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 156 of 178 PageID #:
                                     1943
 URL                                                                                               Click-throughs


 https://www.petfoodsettlement.com                                                                            46


 Total                                                                                                     2,052




Shares
A breakdown of the types of sharing your release generated.
 Type of share                                                                                            Shares


 Facebook                                                                                                     38


 Twitter                                                                                                      32


 PrintThis                                                                                                    31


 EmailThis                                                                                                    28


 Google+                                                                                                       7


 LinkedIn                                                                                                      3


 Total Shares                                                                                                139




Tweets
Your release was mentioned in 4 tweets so far, with an estimated total audience of 509 followers.


                 A La Mode PR
                 @AlaModePR | 341 Followers
   #PressRelease If you purchased Blue Buffalo pet foods or treats, you may be entitled to a Cash Refund
   from a c... https://t.co/vgRHjDUoxp | View on Twitter

   Posted on 2016-01-15 09:41:59




                 nicole troyan
                 @nicoletroyan | 4 Followers
   If you purchased Blue Buffalo pet foods or treats, you may be entitled to a Cash Refund from a...
   https://t.co/nyScXUzN4L | View on Twitter

   Posted on 2016-03-07 17:09:43




                 Peggy Phillips
                 @cuxugiqecivu | 1 Followers
  Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 157 of 178 PageID #:
                                                     1944
   If you purchased Blue #Buffalo pet foods or treats, you may be entitled to a Cash Refund from a ...
    https://t.co/iOXtb8ZcMY | View on Twitter

    Posted on 2016-01-15 16:00:52




               Positively Canine
               @PCanine | 163 Followers
    If you purchased Blue Buffalo pet foods or treats, you may be entitled to a Cash Refund from a
    https://t.co/fzDzcAklad | View on Twitter

    Posted on 2016-03-22 10:57:19




About PR Newswire    Contact PR Newswire        PR Newswire's Terms of Use Apply    Careers   Privacy   Site Map
                                                 RSS Feeds Blog




                       Copyright PR Newswire Association LLC. All Rights Reserved. © 2016
                                             A UBM plc company.

                                        PR Newswire's Terms of Use Apply
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 158 of 178 PageID #:
                                    1945




            Blue Buffalo Settlement Media Pickup
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 159 of 178 PageID #:
                                    1946
                            Blue Notice Press Coverage
                      DAY        WEEK       MONT H


            125




            100




             75




             50




             25




              0
              1/14/16-1/17/16       2/08/16-2/14/16      3/07/16-3/13/16      4/04/16-4/10/16
   ANALYSIS | Blue Buffalo over 1/14/16 - 4/14/16


   Large press coverage spikes included t hese t op art icles:
   1/15/16: If you purchased Blue Buffalo pet foods or t reat s, you may be ent it led t o a Cash
   Refund from a class act ion set t lement
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 160 of 178 PageID #:
                                    1947
                           Settlement Social Amplification

                                                                                      9 8 16




          4




             16




              16 0




          0




          8


         0k           1k     2k     3k        4k       5k   6k   7k          8k   9k   10k

                                  Total Shares                   10,004

                                        Facebook                9 ,8 16

                                         Click count                    0

                                         Comment count           2 ,57 1

                                         Like count              3,32 2

                                         Share count              3,9 31

                                        Twitter                        4

                                        Google Plus                   16

                                        LinkedIn                     16 0

                                        StumbleUpon                    0

                                        Pinterest                      8

   ANALYSIS | Blue Buffalo over 1/14/16 - 4/22/16


   The chart above shows which social media plat forms were responsible for driving t he most
   engagement .
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 161 of 178 PageID #:
                                    1948
                             Top Settlement Articles
             Fast Company                                                     


          A Guide To Navigat ing The Alt ernat ive Pet Food
          Aisle | Fast Company | Business + Innovat ion
          by Sarah Lawson     March 21, 2016


            Sentiment         Viewership      Shares      Ad Equivalency

            neutral          1105500          95           2078




             www.examiner.com                                                 


          Blue Buffalo pet food cust omers can claim cash
          from lawsuit set t lement | Examiner.com
          by To Author     March 17, 2016



            Sentiment         Viewership      Shares      Ad Equivalency

            neutral          1138825          14           2140




             Petf ood Industry                                                


          Most popular Pet foodIndust ry.com st ories for week
          ending March 4
          March 07, 2016



            Sentiment         Viewership      Shares      Ad Equivalency

            neutral          10750            -            20




             Petf ood Industry                                                


          Pet foodIndust ry.com hot t opics for t he week
          ending March 2
          March 02, 2016



            Sentiment         Viewership      Shares      Ad Equivalency

            neutral          11000            2            20
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 162 of 178 PageID #:
                                    1949
              iHeartDog s.com                                                 


          BREAKING NEWS: Blue Buffalo’s False Advert ising
          Set t lement Awards $32 Million To Cust omers
          by Kristina Lotz   February 23, 2016


            Sentiment        Viewership         Shares    Ad Equivalency

            neutral         472500              2980       888




              WSB-AT L (ABC)

          Ch 2 Act ion News @ 6
          by WSB     February 22, 2016

            Sentiment        Audience       Cost per Minute

            neutral         1421008         -




              WSB-AT L (ABC)

          Ch 2 Act ion News @ 5
          by WSB     February 22, 2016

            Sentiment        Audience       Cost per Minute

            neutral         168012          -




              WSB-AT L (ABC)

          Ch 2 Act ion News @ 4:30
          by WSB     February 22, 2016

            Sentiment        Audience       Cost per Minute

            neutral         67587           -
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 163 of 178 PageID #:
                                    1950
                T he Dog ing ton Post                                          


            If You Purchased Blue Buffalo Pet Food in t he Past 7
            Years, You May be Due a Cash Refund
            by Brandy Arnold      February 17, 2016

               Sentiment          Viewership     Shares    Ad Equivalency

               neutral           42844           6758       80




                ABC15.com                                                      


            Lawsuit set t lement s could mean money for you!
            by Joe Ducey    January 26, 2016



               Sentiment          Viewership     Shares    Ad Equivalency

               neutral           206529          0          388




   ANALYSIS | 1/14/16 - 4/22/16


   The cont ent above have been ident ified as t op cont ent .
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 164 of 178 PageID #:
                                    1951
                                 Highest Readership
          1     Yahoo! Finance                                               


          If you purchased Blue Buffalo pet foods or t reat s,
          you may be ent it led t o a Cash Refund from a class
          act ion set t lement
          January 15, 2016


            Sentiment        Viewership     Shares      Ad Equivalency

            neutral         14790710        0            27806




          2     www.bloomberg .com                                           


          If you purchased Blue Buffalo pet foods or t reat s,
          you may be ent it led t o a Cash Refund from a class
          act ion set t lement
          January 15, 2016


            Sentiment        Viewership     Shares      Ad Equivalency

            neutral         10368880        0            19493




          3     www.reuters.com                                              


          If you purchased Blue Buffalo pet foods or t reat s,
          you may be ent it led t o a Cash Refund from a class
          act ion set t lement
          January 15, 2016


            Sentiment        Viewership     Shares      Ad Equivalency

            neutral         5555599         -            10444




          4     www.marketwatch.com                                          


          If you purchased Blue Buffalo pet foods or t reat s,
          you may be ent it led t o a Cash Refund from a class
          act ion set t lement
          by Staff   January 15, 2016


            Sentiment        Viewership     Shares      Ad Equivalency

            neutral         2962149         -            5568
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 165 of 178 PageID #:
                                    1952
             5    www.bizjournals.com                                                      


            If you purchased Blue Buffalo pet foods or t reat s,
            you may be ent it led t o a Cash Refund from a class
            act ion set t lement …
            by Get Afternoon Edition    January 15, 2016

               Sentiment        Viewership         Shares     Ad Equivalency

               neutral         1711750             0           3218




   ANALYSIS | Blue Buffalo over 1/14/16 - 4/22/16


   Highest readership art icles are based on t he readership of each publicat ion (how many
   people pot ent ially read an art icle based on unique visit ors t o t he publicat ion’s websit e) and
   how many t imes your keyword(s) appear in each art icle.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 166 of 178 PageID #:
                                    1953
                                            Sentiment
     100



       75



       50



       25



        0




   ANALYSIS | Blue Buffalo over 1/14/16 - 4/22/16


   Sent iment analysis is performed by measuring t he t onalit y of t he keywords seen in t he
   headlines and bodies of each art icle.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 167 of 178 PageID #:
                                    1954
                                         Key Messages

         Class Action Sett...                                                         13 5


         If you purchased ...                                               115


                Cash Ref und                                               114


            1(844) 245-3772                                               110


        Blue Buf f alo Sett...                      40


                   $32 Million                      40


           False Advertising             16


     Petf oodsettlement...           3

                                 0        25             50   75   100          125          150

   ANALYSIS | Blue Buffalo over 1/14/16 - 4/22/16


   Key message pull t hrough shows how many t imes keywords or phrase were included in t he
   press coverage.
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 168 of 178 PageID #:
                                    1955




                    Exhibit I
              Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 169 of 178 PageID #:
                                                  1956



Total Media Picku[ 182

   Date       Media Type Media Outlet                      Title                                                           Readership Shares

    4/2/16        Blog     Terrierman's Daily Dose         Dog Food and the Devolution of Human Intelligence                     2500      0
   3/29/16        Blog     Top Class Actions               Top Class Actions & Lawsuits Newsletter March 29, 2016               62500      0
                  Blog     RefundCents Daily
   3/23/16                                                   Blue Buffalo Lawsuit Filing Deadline: 4/14/16 -- Up To $200         1600      0
                                                             A Guide To Navigating The Alternative Pet Food Aisle | Fast
                 News      Fast Company
   3/21/16                                                   Company | Business + Innovation                                  1105500     95
                                                             Free Sample for Class Action Settlement for Blue Buffalo
                  Blog     Freebie Chest
   3/19/16                                                   Products                                                             425      0
   3/19/16        Blog     incrediblyfreefreebies.yuku.com/directory
                                                             Blue Buffalo Pet Food Class Action Settlement                                 0
   3/19/16        Blog     Free Stuff Times                  Blue Buffalo Class Action Settlement                               65000      2
                                                             Blue Buffalo pet food customers can claim cash from
                 News      DailyMe.Com
   3/17/16                                                   lawsuit settlement                                                  1850      0
                                                             Blue Buffalo pet food customers can claim cash from
                 News      www.examiner.com
   3/17/16                                                   lawsuit settlement | Examiner.com                                1138825     14
                                                             Conn. Pet Food Maker Locks Horns With Kmart in
                 News      Connecticut Law Tribune
     3/9/16                                                  Intellectual Property Case                                          2472      0
                                                             Most popular PetfoodIndustry.com stories for week
                 News      Petfood Industry
     3/7/16                                                  ending March 4                                                     10750    N/A
                                                             Why Bad News for Blue Buffalo Is Good News for
                 News      moderndogmagazine.com
     3/4/16                                                  Independent Pet Retailers | Modern Dog magazine                    27500     59
     3/3/16       Blog     Its All Free Online - Free SamplesBlue Buffalo Pet Food Settlement                                    2500      3
     3/3/16       Blog     Its All Free Online - Free SamplesBlue Buffalo Pet Food Settlement                                    2500     18
     3/3/16       Blog     Smiley Dog News                   Blue Buffalo Settles Lawsuit                                         325      0
                                                             PetfoodIndustry.com hot topics for the week ending
                 News      Petfood Industry
     3/2/16                                                  March 2                                                            11000      2
                                                             Abercrombie, Ford or HSBC Might Owe You Money! Here's
                  Blog     The Penny Hoarder
     3/2/16                                                  How to Find Out                                                   352903      4
     3/2/16    Broadcast   KWTV-OKC (CBS)                    News 9 This Morning                                                38880    N/A
     3/2/16    Broadcast   KOTV (CBS)                        News on 6 Morning Update                                           51749    N/A
                                                             Customers to get some money back in Blue Buffalo
                 News      Petfood Industry
   2/29/16                                                   settlement                                                         11250      0
                                                             Why Bad News for Blue Buffalo Is Good News For
                 News      Pet Product News
   2/29/16                                                   Independent Pet Retailers                                           2500      0
   2/26/16       News      www.parentherald.com              Nens Bolilan : Parent Herald                                      163450      0
   2/24/16       News      Petfood Industry                  The case for pet food class action lawsuits                        10000      5
                                                             Blue Buffalo Agrees To Pay Consumers $32 Million Over
                 News      Lawyer Herald
   2/23/16                                                   False Advertising                                                    875    N/A
                                                             BREAKING NEWS: Blue Buffalo's False Advertising
                  Blog     iHeartDogs.com
   2/23/16                                                   Settlement Awards $32 Million To Customers                        472500   2980
   2/22/16       News      Pet Product News                  Blue Buffalo to Give Consumers Money Back                           2500     10
   2/22/16     Broadcast   WSB-ATL (ABC)                     Ch 2 Action News @ 6                                              211684    N/A
   2/22/16     Broadcast   WSB-ATL (ABC)                     Ch 2 Action News @ 5                                              168012    N/A
   2/22/16     Broadcast   WSB-ATL (ABC)                     Ch 2 Action News @ 4:30                                            67587    N/A
   2/21/16     Broadcast   WSB-ATL (ABC)                     Ch 2 Action News @ 9                                              135190    N/A
   2/21/16     Broadcast   WSB-ATL (ABC)                     Ch 2 Action News @ 6                                               42065    N/A
                                                             Pet Food Maker Blue Buffalo Owes Buyers After
                 News      www.parentherald.com
   2/21/16                                                   Settlement On Case Of Mislabeling And False Advertising           163450      1
                                                             Blue Buffalo Reaches $32 Million Settlement | How To Get
                 News      News For Shoppers
   2/20/16                                                   Your Money Back | News For Shoppers                                 5000     11
                                                             Bought Blue Buffalo? $32 million lawsuit settlement means
                 News      myinforms.com
   2/20/16                                                   pet food maker may owe you money                                  126496      0
                                                             Bought Blue Buffalo? $32 million lawsuit settlement means
                 News      AL.com
   2/20/16                                                   pet food maker may owe you money                                 1069984      0
   2/20/16     Broadcast   Global Toronto                                                                                                N/A
   2/20/16       Blog      Free Republic                     Blue Buffalo settles lawsuit over ingredients                     307500      0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 170 of 178 PageID #:
                                              1957


2/19/16    Broadcast   WSB-ATL (ABC)                 Ch 2 Action News @ 5pm                                         173151    N/A
                                                     If You Purchased Blue Buffalo Pet Food in the Past 7 Years,
             Blog      The Dogington Post
2/17/16                                              You May be Due a Cash Refund                                    42844    6758
2/16/16    Broadcast   KLAS-LV (CBS)                 8 News Now at 6 AM                                              26381     N/A
2/16/16      News      KLAS-TV                       8 On Your Side: Class Action Money For You                      50928       0
2/15/16    Broadcast   KLAS-LV (CBS)                 8 News Now at 6 PM                                              40782     N/A
2/12/16      News      Consumer Affairs              Blue Buffalo class action settlement instructions              669799       0
2/11/16      News      Lexology                      Advertising Law Snapshots                                      127750       1
                                                     Blue Buffalo, VW and Whirlpool Might Owe You Money!
             Blog      The Penny Hoarder
2/10/16                                              Here's How to Find Out                                         317371      2
 2/9/16      Blog      Young and Frugal in Virginia! Class Action Settlement: Stevia in the Raw                        325      0
                                                     Class-Action Clock May Be Ticking For Ava Anderson Non
            News       Tan Sheet
 2/3/16                                              Toxic                                                            7500      0
                                                     New! Class-Action Clock May Be Ticking For Ava Anderson
            News       Tan Sheet
 2/2/16                                              Non Toxic                                                         7500     0
 2/1/16      Blog      Hustler Money Blog            Blue Buffalo Pet Food Ingredients Class Action Lawsuit           70500     0
 2/1/16    Broadcast   KTNV-LV (ABC)                 Action News @ 6pm                                                35960   N/A
                                                     Blue Buffalo to pay $32 million to settle lawsuits by pet
            News       Consumer Affairs
 2/1/16                                              owners                                                         669799      0
 2/1/16     News       asiaprnews.com                The Business Of Saving Lives Down Under                           250      0
                                                     United States: True Green For True Blue: Blue Buffalo
            News       Mondaq
 2/1/16                                              Promises $32 Million Settlement - Proskauer Rose LLP           150380    N/A
1/31/16      Blog      HealthFreedoms                Who's Enforcing Pet Food Regulations? Lawyers                   27000      0
                                                     True Green for True Blue: Blue Buffalo Promises $32
            News       Topix
1/30/16                                              Million Settlement                                             1165064     0
                                                     True Green for True Blue: Blue Buffalo Promises $32
            News       Proskauer
1/29/16                                              Million Settlement                                               8801    N/A
                                                     True Green for True Blue: Blue Buffalo Promises $32
             Blog      The National Law Forum
1/29/16                                              Million Settlement                                               1450      1
                                                     True Green for True Blue: Blue Buffalo Promises $32
            News       National Law Review
1/29/16                                              Million Settlement                                               55000     0
                                                     True Green for True Blue: Blue Buffalo Promises $32
             Blog      Proskauer on Advertising Law
1/29/16                                              Million Settlement                                                100      0
1/26/16      Blog      Top Class Actions             Top Class Actions & Lawsuits Newsletter January 26, 2016        72500    N/A
1/26/16    Broadcast   KNXV-PHX (ABC)                ABC15 News at 5:00AM                                            31333    N/A
1/26/16      News      ABC15.com                     Lawsuit settlements could mean money for you!                  206529      0
1/25/16    Broadcast   KNXV-PHX (ABC)                ABC15 News at 6PM                                               73649    N/A
1/21/16      Blog      Young and Frugal in Virginia! Blue Buffalo Class Action Settlement                              325      0
                                                     PetfoodIndustry.com hot topics for the week ending
            News       Petfood Industry
1/20/16                                              January 20                                                       10000     2
                                                     Blue Buffalo Pet Food Ingredients Class Action Lawsuit
             Blog      Top Class Actions
1/19/16                                              Settlement                                                       72500     0

            News       www.cw-gabama.com              If you purchased Blue Buffalo pet foods or treats, you may
1/16/16                                               be entitled to a Cash Refund from a class action settlement       675     0
1/16/16     News       Pocono Record                  Some New Year's resolutions for the animals                     37500     0
                                                      Blue Buffalo Class Action Suit No Proof Required to Receive
             Blog      GimmieFreebies
1/16/16                                               up to $10                                                       13750     10

            News       Review Seeker                  If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                               be entitled to a Cash Refund from a class action settlement     1750      0

            News       www.tutorialfinder.com         If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                               be entitled to a Cash Refund from a class action settlement     1250      0

            News       www.kswo.com                   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                               be entitled to a Cash Refund from a class action settlement     19750     0

            News       WMCTV.com                      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                               be entitled to a Cash Refund from a class action settlement   107500      0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 171 of 178 PageID #:
                                              1958



            News   WMBF                   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    40973     0

            News   lifestyle.kstc45.com   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement     1075     0

            News   www.nbcrightnow.com    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    25000     0

            News   www.waff.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    64576   N/A

            News   www.newswest9.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    15250     0

            News   www.wandtv.com         If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    14250     0

            News   www.kuam.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    14250   N/A

            News   www.ksla.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    44161     0

            News   www.wflx.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    11000     0

            News   www.news9.com          If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement   104230     0

            News   www.fox19.com          If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    63804     0

            News   www.wlox.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    53443     0

            News   www.ktre.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    30000     0

            News   www.kxxv.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    19000     0

            News   Tucsonnewsnow          If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    72742   N/A

            News   www.wsfx.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement     825    N/A

            News   KFVE                   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement     2500     0

            News   www.14news.com         If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    83046     0

            News   www.wrcbtv.com         If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement    61750     0

            News   www.fox14tv.com        If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                   be entitled to a Cash Refund from a class action settlement     6000     0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 172 of 178 PageID #:
                                              1959



            News   www.newson6.com   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement   139707     0

            News   KLTV 7            If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement   102500     0

            News   www.newson6.com   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement   139707     0

            News   WDAM-TV           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    37500     0

            News   www.wboc.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    32643     0

            News   www.wfmj.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    32500     0

            News   www.abc6.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    14508     0

            News   www.khq.com       If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    75750     0

            News   www.kusi.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    35000     0

            News   www.wect.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    56729     0

            News   www.klkntv.com    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    13250     0

            News   State Journal     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement     6435     0

            News   Wdrb              If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement   113012     0

            News   www.cbs8.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement   102500     0

            News   www.abc40.com     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement     2250     0

            News   www.kxnet.com     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    21500   N/A

            News   19 Action News    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    62848   N/A

            News   www.kten.com      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    15000     0

            News   www.kcentv.com    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement    50500     0

            News   WTOL-TV           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                              be entitled to a Cash Refund from a class action settlement       50     0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 173 of 178 PageID #:
                                              1960



            News   KPLC TV                      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   36615     0

            News   www.wtvm.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   30000     0

            News   www.wafb.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   69068     0

            News   www.wsfa.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   70391     0

            News   www.tickertech.com           If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   1750      0

            News   WLTZ 38                      If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   2500      0

            News   www.newschannel6now.com If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                    be entitled to a Cash Refund from a class action settlement        7750      0

            News   Kait 8                       If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   27269     0

            News   www.walb.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   47500     0

            News   www.myfoxtallahassee.com     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   1625      0

            News   www.wtoc.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   43802     0

            News   www.wave3.com                If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   92500     0

            News   Live 5 WCSC                  If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   92500     0

            News   www.msnewsnow.com            If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   54791     0

            News   KFVS12                       If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   42901     0

            News   www.wxtx.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   2500      0

            News   www.mygtn.tv                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   6500    N/A

            News   www.kcbd.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   30000     0

            News   www.nebraska.tv              If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   9000      0

            News   WBOY                         If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   30000     0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 174 of 178 PageID #:
                                              1961



            News   www.kiiitv.com                  If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement     16250      0

            News   WVNS                            If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement     12000      0

            News   www.ktvn.com                    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement     43439      0

            News   www.wistv.com                   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement    152607      0

            News   www.cwrichmond.tv               If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement      1475    N/A

            News   www.12newsnow.com               If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement     41000      0

            News   WTRF                            If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement     37500      0

            News   www.nbc12.com                   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement    116205      0

            News   www.cbs19.tv                    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement     28500      0

            News   www.erietvnews.com              If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement      7731      0

            News   KHNL News 8                     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement    172500      0

            News   Virtualization Conference & ExpoIf you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement      2000      0

            News   www.prnewswire.com              If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement   1305000    N/A
                                                   If You Purchased Blue Buffalo Pet Foods Or Treats, You
            News   www.thestreet.com               May Be Entitled To A Cash Refund From A Class Action
1/15/16                                            Settlement                                                    1380931    N/A

            News   Indianapolis Business Journal   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement       125      0

            News   Yahoo! Finance                  If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement   14790710     0

            News   MoneyShow.com                   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement      1409      0

            News   Pettinga Financial Advisors     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement       750      0

            News   www.reuters.com                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement   5555599    N/A

            News   Marketplace                     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                            be entitled to a Cash Refund from a class action settlement      1863      0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 175 of 178 PageID #:
                                              1962



            News   Fat Pitch Financials         If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement     1800      0

            News   www.bloomberg.com            If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   7672175     0

            News   BioSpace                     If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement      875      0

            News   Industrial Info Financials   If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement               0

            News   Wallstreetselect             If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement     2250    N/A

            News   World Net Daily              If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement               0

            News   Minyanville                  If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement     1731      0

            News   Stock Nod                    If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement     1000      0
                                                IF YOU PURCHASED BLUE BUFFALO PET FOODS OR TREATS,
            News   Journal Online               YOU MAY BE ENTITLED TO A CASH REFUND FROM A CLASS
1/15/16                                         ACTION SETTLEMENT                                               11000     0
1/15/16     News   secure.globeadvisor.com      Blue Buffalo Class Action Settlement                             2700     0

            News   Today's News                 If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement              24
1/15/16     News   www.onenewspage.com          PR Newswire | One News Page                                     38250     0

            News   Spoke                        If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   113575      0
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   Boston                       be entitled to a Cash Refund from a class action settlement
1/15/16                                         | Boston.com                                                    6600      0

            News   www.marketwatch.com          If you purchased Blue Buffalo pet foods or treats, you may
1/15/16                                         be entitled to a Cash Refund from a class action settlement   2962149   N/A
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com          be entitled to a Cash Refund from a class action settlement
1/15/16                                         - Silicon Valley Business Journal                             1711750     0
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com          be entitled to a Cash Refund from a class action settlement
1/15/16                                         - Milwaukee - Milwaukee Business Journal                      1711750     0
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com          be entitled to a Cash Refund from a class action settlement
1/15/16                                         - New York Business Journal                                   1711750     0
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com          be entitled to a Cash Refund from a class action settlement
1/15/16                                         - Orlando Business Journal                                    1711750     0
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com          be entitled to a Cash Refund from a class action settlement
1/15/16                                         - St. Louis Business Journal                                  1711750     0
                                                If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com          be entitled to a Cash Refund from a class action settlement
1/15/16                                         - Minneapolis / St. Paul Business Journal                     1711750     0
          Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 176 of 178 PageID #:
                                              1963


                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - Washington Business Journal                                 1711750   0
                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - The Business Journals                                       1711750   0
                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - Houston Business Journal                                    1711750   0
                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - South Florida Business Journal                              1711750   0
                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - L.A. Biz                                                    1711750   0
                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - Jacksonville Business Journal                               1711750   0
                                         If you purchased Blue Buffalo pet foods or treats, you may
            News   www.bizjournals.com   be entitled to a Cash Refund from a class action settlement
1/15/16                                  - Nashville Business Journal                                  1711750   0
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 177 of 178 PageID #:
                                    1964




                               EXHIBIT J
Case: 4:14-md-02562-RWS Doc. #: 198-2 Filed: 05/12/16 Page: 178 of 178 PageID #:
                                        1965
    IN RE: BLUE BUFFALO COMPANY, LTD. MARKETING AND SALES PRACTICES LITIGATION
                             Case No. 14‐md‐02562‐RWS
                              REQUESTS FOR EXCLUSION
                           RECEIVED THROUGH MAY 9, 2016


    1. Michelle Harmon
       Rogersville, MO
       Class Member ID: 30859WJ5KJ3B1

    2. Barbi J. Dingman
       Grays Lake, IL
       Class Member: 308596F5MKXMV

    3. Kevin Stethem
       Kennewick, WA
       Class Member: 308596NYMJ9J2

    4. Gerry Driver
       Antelope, CA
       Class Member: 30859RJBCXZKZ

    5. Patricia Smith
       Lambertville, MI
       Class Member: 30859YSRNDTBR

    6. Bobby Flores
       Jenks, OK
       Class Member: 30859JGCV503R

    7. Greg & Sherri Van Campen
       North Richland Hills, TX
       Class Member: 3085947QYWHPM

    8. Travis Wehner
       Louisville, CO
       Class Member: 30859XVPXX7VB
